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                        Exhibit 2
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     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
     7
     8
     9                              __ __ __
   10                        Saturday, May 4, 2019
                                   __ __ __
   11
              HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   12                  CONFIDENTIALITY REVIEW
                              __ __ __
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   14
   15
   16            Videotaped Deposition of MEREDITH B.
           ROSENTHAL, Ph.D., held at Robins Kaplan LLP,
   17      800 Boylston Street, Suite 2500, Boston,
           Massachusetts, commencing at 8:04 a.m., on
   18      the above date, before Michael E. Miller,
           Fellow of the Academy of Professional
   19      Reporters, Registered Diplomate Reporter,
           Certified Realtime Reporter and Notary
   20      Public.
   21
   22
   23                            __ __ __
   24                   GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | fax 917.591.5672
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                                                                            Review
                                       Page 2                                                Page 4
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   24
                                                               Pharma Inc.
                                                        24
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                                               Page 3                                        Page 5
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    1              PROCEEDINGS                          1       A. Yes.
    2           (May 4, 2019 at 8:04 a.m.)              2       Q. And if for some reason you
    3           THE VIDEOGRAPHER: We're now on          3   don't understand one of my questions, you'll
    4      record. My name is Vince Rosica. I'm         4   ask me for clarification?
    5      a videographer for Golkow Litigation         5       A. Yes, I will.
    6      Services. Today's date is May 4th,           6       Q. Okay. I'm going to start by
    7      2019 and the time is 8:04 a.m.               7   marking as Exhibit 1 to your deposition your
    8           This video deposition is being          8   expert report, and I'm also going to
    9      held in Boston, Massachusetts in the         9   simultaneously give you Exhibit 2, which is
   10      matter of National Prescription Opiate      10   the errata sheet we received on Thursday
   11      Litigation, MDL No. 2804, for the           11   night.
   12      Northern District of Ohio, Eastern          12            (Whereupon, Deposition Exhibit
   13      Division Court. The deponent is             13       Rosenthal-1, 3/25/19 Expert Report,
   14      Meredith Rosenthal.                         14       was marked for identification.)
   15           Counsel will be noted on the           15            (Whereupon, Deposition Exhibit
   16      stenographic record. The court              16       Rosenthal-2, Errata to Expert Report,
   17      reporter is Mike Miller and will now        17       was marked for identification.)
   18      swear in the witness.                       18   BY MR. ROTH:
   19       MEREDITH B. ROSENTHAL, Ph.D.,              19       Q. So first, if you could look at
   20         having been duly sworn,                  20   Exhibit 1 and just confirm that that appears
   21         testified as follows:                    21   to be your expert report in this case along
   22              EXAMINATION                         22   with Attachments A through D.
   23   BY MR. ROTH:                                   23       A. It is correct.
   24      Q. Good morning, Professor                  24       Q. And if you look at page 75, is
   25   Rosenthal.                                     25   that your signature on the report?
                                             Page 11                                             Page 13
    1       A. Good morning.                            1       A. Yes, it is.
    2       Q. My name is Martin Roth. We met           2       Q. Exhibit 2 is a memo dated
    3   off the record. I'll be taking your             3   May 2nd from Forrest McCluer at GMA to
    4   deposition here today.                          4   yourself and Mr. Tom Sobol, your -- the
    5            Can you please state your full         5   attorney sitting with you; is that correct?
    6   name for the record?                            6       A. That's correct.
    7       A. Meredith Beaven Rosenthal.               7       Q. And GMA is Greylock McKinnon?
    8       Q. And do you understand you're             8       A. That's correct.
    9   testifying under oath here today?               9       Q. And who is Mr. McCluer?
   10       A. I do.                                   10       A. Mr. McCluer is a senior
   11       Q. And you've testified at                 11   economist there who worked with me on this
   12   depositions and in court and before Congress   12   matter.
   13   in the past?                                   13       Q. And I take it, given that
   14       A. I have.                                 14   Mr. McCluer went through the report to error
   15       Q. Approximately how many times            15   check, that you believe that your report,
   16   altogether have you testified?                 16   along with the errata sheet, is accurate as
   17       A. Perhaps 30 or 35.                       17   of today?
   18       Q. There's nothing that would              18       A. I do.
   19   prevent you from testifying truthfully here    19       Q. You didn't see any other errors
   20   today?                                         20   that aren't contained in the errata?
   21       A. There is not.                           21       A. I have not.
   22       Q. If I ask you a question and you         22       Q. And all of the opinions that
   23   give me an answer, I'm going to assume you     23   you plan to give at trial in this matter are
   24   understood my question.                        24   contained in your report as corrected by your
   25            Is that fair?                         25   errata?
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    1       A. That's correct.                           1   company regarding the meaning of FDA
    2       Q. Professor Rosenthal, you're a             2   regulations or regulatory requirements?
    3   healthcare economist; is that correct?           3       A. I have not.
    4       A. Yes, that's right.                        4       Q. You do understand that
    5       Q. You're not a medical doctor?              5   prescription opioids are FDA-approved
    6       A. I am not.                                 6   products?
    7       Q. You're not an expert in the               7       A. Yes, I do.
    8   treatment of addiction?                          8       Q. And, in fact, if you look at
    9       A. I am not.                                 9   your report, at paragraph 19, which is the
   10       Q. You're not an expert in opioid           10   bottom of page 15. Let me know when you're
   11   use disorder?                                   11   there.
   12       A. I am not.                                12       A. Yes.
   13       Q. And I looked at your CV. I               13       Q. You acknowledge that since 1962
   14   don't think you've published on either          14   the FDCA and related regulations have
   15   addiction or opioid use disorder; is that       15   required sponsors of new drug products to
   16   correct?                                        16   present scientific evidence of both efficacy
   17       A. I don't believe I have.                  17   and safety before a new product can be
   18       Q. You're not an expert in                  18   marketed.
   19   pharmacology?                                   19           Do you see that?
   20       A. I am not.                                20       A. Yes, I do.
   21       Q. You're not an expert in                  21       Q. And you cite to the FDA website
   22   epidemiology?                                   22   when you write that?
   23       A. I am not, although I do have             23       A. That's right.
   24   some knowledge of epidemiology.                 24       Q. And then turning the page, you
   25       Q. You've reviewed epidemiological          25   say in paragraph 20: By regulation,
                                             Page 15                                              Page 17
    1   studies, but you're not an epidemiologist?       1   prescription drug labels indicate the
    2       A. That's correct. An                        2   diseases, conditions and/or patients for
    3   epidemiology class was required for my Ph.D.,    3   which the sponsor has presented
    4   so I took an epidemiology class. I operate       4   scientifically required evidence to the FDA.
    5   in the environment of public health research     5            Right?
    6   where epidemiology is an important strand        6       A. Yes, that's what it says.
    7   that I frequently encounter, but I'm not an      7       Q. And for that proposition, you
    8   epidemiologist.                                  8   cite to a number of federal regulations in
    9       Q. And you're not a toxicologist?            9   footnote 31?
   10       A. I am not a toxicologist.                 10       A. I do.
   11       Q. You're not a pain management             11       Q. You're not an expert on drug
   12   physician?                                      12   labeling.
   13       A. I am not.                                13       A. I am not.
   14       Q. You don't diagnosis or treat             14       Q. In paragraph 21 of your report,
   15   pain?                                           15   you say: FDA regulations specify that
   16       A. No, I do not.                            16   promotional materials may only make claims
   17       Q. You're not an expert in the              17   that are supported by scientific
   18   FDA?                                            18   evidence, i.e., supported by studies meeting
   19       A. I am not an expert in the FDA,           19   scientific standards, and they may not be
   20   although, again, as you know, my work has       20   false or misleading.
   21   frequently concerned FDA rules.                 21            Did I read that correctly?
   22       Q. But you've never worked for the          22       A. You did.
   23   FDA?                                            23       Q. And you're not an expert on FDA
   24       A. I have not.                              24   regulations, are you?
   25       Q. And you've never consulted a             25       A. I am not.
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    1       Q. And then in paragraph 22 you              1        Q. Well, more than warning
    2   say: FDA oversight of drug promotion is          2   letters, the FDA may tell a manufacturer when
    3   intended to ensure that physicians and           3   it reviews draft promotional materials, for
    4   consumers understand both the benefits and       4   example, that it does not approve their
    5   risks of a drug. FDA regulations call for        5   dissemination.
    6   fair balance in all promotional claims and       6             Are you aware of that?
    7   materials. The risks as well as the benefits     7             MR. SOBOL: Objection, asked
    8   must be clearly identified and risks must be     8        and answered.
    9   given appropriate prominence.                    9        A. I guess I would have thought of
   10            Do you see that?                       10   that as similar -- again, not being a legal
   11       A. Yes, I do.                               11   expert -- similar to those warning letters
   12       Q. And there's another citation to          12   that say that you may not do this. The
   13   a Code of Federal Regulations section for       13   specifics of how the enforcement flows after
   14   that paragraph, correct?                        14   that, what the FDA can and can't do in terms
   15       A. Yes.                                     15   of enforcement, I'm a little less clear on.
   16       Q. You understand that the FDA              16   BY MR. ROTH:
   17   regulates labeling for prescription drugs,      17        Q. Okay. And I appreciate that
   18   based on what you've said in your report?       18   you're not a legal expert, but do you
   19       A. I do.                                    19   understand that in addition to issuing
   20       Q. And the FDA approves                     20   warning letters after materials may have gone
   21   prescription drugs even if they have known      21   out, the FDA, sometimes before materials are
   22   risks?                                          22   utilized, may give input and feedback to
   23       A. Yes.                                     23   manufacturers about the materials that they
   24       Q. Do you understand that the FDA           24   plan to use?
   25   also regulates promotional materials for        25        A. Yes, I believe that's true.
                                              Page 19                                              Page 21
    1   prescription drugs?                              1       Q. And you did not study which, if
    2             MR. SOBOL: Objection.                  2   any, of the promotional materials for
    3       A. Yes, I do.                                3   prescription opioids were submitted to FDA
    4   BY MR. ROTH:                                     4   for its review before they were used?
    5       Q. And the FDA has authority to              5             MR. SOBOL: Objection.
    6   police advertising that it believes would        6       A. I did not study that, no.
    7   result in prescription drugs being misbranded    7   BY MR. ROTH:
    8   under the federal regulations?                   8       Q. And you did not study which of
    9             MR. SOBOL: Objection.                  9   the detailing contacts in your regression
   10       A. I'm not sure exactly what you            10   models, which we'll talk about, involve
   11   mean by "police," but as I've described in my   11   promotional materials that had been submitted
   12   report, I understand that materials are         12   for FDA review?
   13   reviewed by the FDA.                            13             MR. SOBOL: Objection.
   14   BY MR. ROTH:                                    14       A. I did not, no.
   15       Q. And the FDA has the authority            15   BY MR. ROTH:
   16   to tell a drug manufacturer to either modify    16       Q. Do you agree that opioids have
   17   or refrain from using materials that it may     17   legitimate medical uses for certain diseases
   18   review?                                         18   and conditions?
   19       A. I just want to be careful that           19       A. Yes, I would say that's true.
   20   I don't try to convey any legal expertise       20   According to their label, yes.
   21   here, but I am aware that the FDA, for          21       Q. And you understand that the FDA
   22   example, issues warning letters pertaining to   22   has approved opioids for certain of these
   23   specific marketing tactics and messages. If     23   conditions in their labels?
   24   that's what you're referring to then, yes, I    24       A. Yes, I understand that the
   25   understand that.                                25   approved labels include those conditions for

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    1   which the FDA has deemed them appropriate.       1   those guidelines. As you know, as we just
    2       Q. Did you review any drug labels            2   discussed, I'm not a clinical expert or a
    3   in connection with your work in this case for    3   pharmacologist, but I'm certainly aware of
    4   prescription opioids?                            4   guidelines that talk about the appropriate
    5       A. I have looked at some of the              5   uses of opioids.
    6   drug labels, yes.                                6       Q. Do you know the most common
    7       Q. Do you recall which drug labels           7   uses of opioids for which health insurers and
    8   you reviewed?                                    8   federal Medicare or state Medicaid agencies
    9       A. I believe for OxyContin and               9   reimburse use?
   10   hydrocodone.                                    10            MR. SOBOL: Objection.
   11       Q. Did you review any labels                11       A. As I sit here, do I know which
   12   beyond that that you recall?                    12   uses are most prevalent across all those
   13       A. Not that I recall.                       13   payors? No. No, I do not.
   14       Q. And I've looked at                       14   BY MR. ROTH:
   15   Attachment B. I don't think I saw drug          15       Q. Do you know whether Medicare,
   16   labels on your reliance list; is that           16   for example, reimburses patients for the use
   17   correct?                                        17   of prescription opioids for the treatment of
   18       A. That's correct.                          18   chronic pain?
   19       Q. Do you understand that                   19            MR. SOBOL: Objection.
   20   prescription opioids are approved in their      20       A. Well, I think you would be
   21   labels for the treatment of chronic pain?       21   talking about Medicare Part D. Just to be
   22            MR. SOBOL: Objection.                  22   clear, those are private insurers that are
   23       A. As I sit here, I couldn't tell           23   acting in the service of Medicare
   24   you which drugs have approvals for chronic      24   beneficiaries, and each, of course, has a
   25   pain on their labels, no.                       25   different formulary and may use different
                                             Page 23                                               Page 25
    1   BY MR. ROTH:                                     1   mechanisms to ensure appropriate drug use.
    2        Q. Do you recall whether the                2            So I think it would be hard to
    3   OxyContin and hydrocodone labels you reviewed    3   characterize that as Medicare as a whole.
    4   contained approvals for chronic pain for         4   BY MR. ROTH:
    5   those drugs?                                     5        Q. Do you know whether any of the
    6              MR. SOBOL: Objection, scope.          6   Medicare Part D insurers approve the use of
    7        A. I do not.                                7   opioids on their formularies for the
    8              MR. SOBOL: Just give me a             8   treatment of chronic pain?
    9        little bit of a chance to get my            9            MR. SOBOL: Objection.
   10        objections in, Professor. Just a           10        A. I do not know one way or the
   11        nanosecond.                                11   other. I do not believe that -- I do not
   12        A. I do not recall.                        12   know one way or the other whether there are
   13   BY MR. ROTH:                                    13   restrictions relative to the uses of
   14        Q. Have you ever taken a                   14   particular drugs for particular indications.
   15   prescription opioid before?                     15   BY MR. ROTH:
   16        A. I have not.                             16        Q. Okay. I'm going to mark as
   17        Q. Have you reviewed any medical           17   Exhibit 3 to your deposition a document that
   18   literature or guidelines on which uses          18   I pulled from your reliance list. It's
   19   prescription opioids are FDA approved for?      19   titled Medicare Program Policies and
   20        A. In the context of my report, I          20   Procedures, and it was linked to the Excellus
   21   discuss some of the guidelines, so I -- and     21   Blue Cross Blue Shield page.
   22   I've certainly reviewed those, for example,     22            (Whereupon, Deposition Exhibit
   23   the CDC guidelines. I don't know if that's      23        Rosenthal-3, Medicare Program
   24   what you're referring to. I'm not               24        Policies & Procedures, was marked for
   25   specifically myself offering an opinion on      25        identification.)
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    1   BY MR. ROTH:                                     1   a prescription for greater than a seven-day
    2       Q. Do you see that document?                 2   supply is medically necessary to manage the
    3       A. I do.                                     3   patient's pain.
    4       Q. And do you recognize this                 4            Do you see that?
    5   document as one that you reviewed?               5        A. I do.
    6       A. I do.                                     6        Q. And so at least for Blue Cross
    7       Q. Okay. So why did you have your            7   Blue Shield, it appears in their formulary
    8   team pull this document and why did you          8   they have a mechanism for approving the use
    9   review it in your work in this case?             9   of opioids to treat pain for longer than
   10       A. I'd actually have to look in my          10   seven days?
   11   report to see what I cite it for                11            MR. SOBOL: Objection. Blue
   12   specifically.                                   12        Cross Blue Shield of? Question mark.
   13       Q. Okay. If you look on the first           13            THE WITNESS: Are you waiting
   14   page, it says: Summary of Formulary Level       14        for me to answer your question?
   15   Opioid POS for Calendar Year 2019.              15            MR. ROTH: I was.
   16             Do you see that?                      16        A. This -- in this Excellus
   17       A. I do. And just to be clear,              17   formulary, they do indicate -- obviously this
   18   this is a single Medicare Part D carrier.       18   is 2019. They do indicate that mechanism.
   19   This is not official Medicare policy per se.    19   You had asked me before about chronic pain.
   20       Q. Right.                                   20   I don't know if you're trying to infer that
   21       A. But yes.                                 21   anything longer than seven days is chronic.
   22       Q. So if you look at page 3 of              22   I think that's not exactly the definition of
   23   this document, it talks about the review        23   chronic pain, so...
   24   criteria for Blue Cross Blue Shield for         24   BY MR. ROTH:
   25   opioid, seven-day supply limits.                25        Q. We'll get there.
                                              Page 27                                              Page 29
    1             Do you see that?                       1      A.     Okay.
    2      A.      I do.                                 2      Q.     I promise.
    3             MR. SOBOL: Objection.                  3            MR. SOBOL: I'll write that
    4   BY MR. ROTH:                                     4       down.
    5        Q. And then the first bullet -- or          5   BY MR. ROTH:
    6   it says before the bullets: An exception to      6       Q. Your direct and indirect
    7   the seven-day quantity limit of a shorter        7   regressions do not make any attempt to
    8   long-acting opioid may be permitted in           8   differentiate legitimate prescriptions from
    9   patients who meet one of the following           9   medically unnecessary ones; is that correct?
   10   criteria, A through F below.                    10            MR. SOBOL: Objection.
   11             Do you see that?                      11       A. The goal of my analysis is to
   12        A. I do.                                   12   examine the impact of the alleged misconduct,
   13        Q. And then the first bullet says:         13   and so I appropriately quantify all
   14   Approval will be a 30-day override for          14   prescriptions caused by the alleged unlawful
   15   scenarios A, B, C, D and E below.               15   marketing.
   16             And then there's a second             16   BY MR. ROTH:
   17   bullet below that. Do you see that?             17       Q. You're not an expert in
   18        A. Yes.                                    18   pharmaceutical marketing practices, correct?
   19        Q. And it says: Approval will be           19       A. I am not an expert in
   20   a 30-day override for scenario F below.         20   pharmaceutical marketing practices, although,
   21             Do you see that?                      21   again, I have studied pharmaceutical
   22        A. I do.                                   22   marketing and its effects and so I have a
   23        Q. And then under that bullet is E         23   high degree of familiarity.
   24   where it says: The requesting physician         24       Q. But you're not opining on which
   25   provides a supporting statement/attests that    25   of defendants' marketing practices were

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    1            MR. SOBOL: Objection.                   1   defendants engineered a dramatic shift in how
    2       Objection, asked and answered.               2   and when opioids are prescribed by the
    3       A. I did not evaluate the                    3   medical community and used by patients.
    4   distributors' conduct, no.                       4            Do you see that?
    5   BY MR. ROTH:                                     5       A. I do.
    6       Q. So your models provide no                 6       Q. What do you understand to be
    7   analysis of causation by distributors or         7   the false and incomplete information that the
    8   pharmacies for what plaintiffs allege is the     8   alleged marketing campaign was premised on?
    9   opioid epidemic, correct?                        9       A. There are a number of
   10            MR. SOBOL: Objection, asked            10   components. At a high level, the main issue
   11       and answered.                               11   as I understand it as a health economist, not
   12       A. The distributors' conduct was            12   as a clinician, is -- was the -- that it was
   13   outside the scope of my report.                 13   conveyed to physicians and to the public that
   14   BY MR. ROTH:                                    14   opioids were safe; that the possibility of
   15       Q. I want to take a look at the             15   addiction was relatively low; that these
   16   complaints you site in footnote 18 and 19. I    16   drugs were effective, not just for cancer
   17   assume you looked at those complaints?          17   pain, but for a wide variety of acute and
   18       A. I did.                                   18   chronic pain.
   19       Q. Okay. So I'm going to mark as            19            And then there were other
   20   Exhibit 4...                                    20   messages that were conveyed that supported
   21       A. That is clearly not the whole            21   those general premises, including the fact
   22   complaint because I happen to know that it's    22   that extended release formulations of opioids
   23   several inches thick.                           23   would smooth out the peaks and valleys of
   24       Q. Correct. You're right. I'm               24   pain control; that as patients became
   25   going to mark as Exhibit 4 just the cover       25   tolerant to these drugs, that this was a
                                              Page 39                                             Page 41
    1   page and the paragraph I want to ask you         1   natural phenomenon and not a sign of
    2   about, from the Second Amended Complaint         2   addiction.
    3   filed by Summit County.                          3            There were certain notions such
    4            (Whereupon, Deposition Exhibit          4   as pseudoaddiction that were promoted through
    5       Rosenthal-4, Second Amended Complaint        5   communication by the marketing defendants.
    6       and Jury Demand, was marked for              6   And at the same time, it was also conveyed
    7       identification.)                             7   that physicians could identify some small
    8   BY MR. ROTH:                                     8   group of patients who might be more likely to
    9       Q. Do you have that in front of              9   abuse opioids and prevent and control abuse,
   10   you?                                            10   that this was an issue related to the
   11       A. I do.                                    11   individual characteristics and not to the
   12       Q. And if you look at                       12   products themselves.
   13   paragraph 10, which I excerpted from the        13       Q. Okay. What analysis did you do
   14   complaint. Do you see it?                       14   to test whether the detailing visits you
   15       A. Yes.                                     15   analyzed communicated that false and
   16       Q. It says: On the demand side,             16   incomplete information as you just described
   17   the crisis was precipitated by the defendants   17   it during those visits?
   18   who manufacture, sell and market prescription   18       A. Well, I think you misunderstand
   19   opioid painkillers, defined as the marketing    19   the entire premise here. As I noted earlier,
   20   defendants.                                     20   detailing, while it is the promotional tactic
   21            Do you see that?                       21   that I can best measure and use in my
   22       A. I do.                                    22   analysis, the allegations suggest that this
   23       Q. And then it says: Through a              23   campaign of misinformation permeated through
   24   massive marketing campaign premised on false    24   many other vehicles.
   25   and incomplete information, the marketing       25            And so it's not in my view,

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    1   again, as a health economist, a question of      1            MR. SOBOL: Objection.
    2   ascertaining what was in a particular detail,    2       A. Well, again, if that detailing
    3   but what was available in -- through key         3   is conveying false and misleading
    4   opinion leaders, what was available through      4   information, I understand -- I'm not a
    5   professional guidelines, all of that setting     5   lawyer, but I understand that it would be
    6   the context. So it's not so much about           6   unlawful. And so, you know, I do not -- I am
    7   looking for one co-mission as a much broader     7   not making an assumption that detailing in
    8   picture of what the information was that was     8   general is unlawful but that this detailing
    9   conveyed.                                        9   can be proved to be unlawful.
   10       Q. Okay. You've testified as a              10   BY MR. ROTH:
   11   causation or damages expert before, correct?    11       Q. A pharmaceutical rep going to a
   12            MR. SOBOL: Objection.                  12   doctor to drop off a pizza could be
   13       A. I have.                                  13   considered a detailing visit, correct?
   14   BY MR. ROTH:                                    14            MR. SOBOL: Objection.
   15       Q. And in general, you understand           15       A. A detailing visit generally
   16   that to opine on causation or damages, you      16   involves the conveyance of some information,
   17   have to tie the theory of liability to          17   maybe a pizza in addition, but the details
   18   damages?                                        18   that I'm looking at, there is a specific
   19            MR. SOBOL: Objection.                  19   product mentioned.
   20       A. Yes, and I have done that in my          20   BY MR. ROTH:
   21   report.                                         21       Q. But detailing visits can take
   22   BY MR. ROTH:                                    22   many forms, correct?
   23       Q. Okay. The complaint defines a            23            MR. SOBOL: Objection.
   24   theory of liability here as false and           24       A. Well, I'm not sure exactly what
   25   incomplete information, correct?                25   you mean by it. There's information conveyed
                                             Page 43                                              Page 45
    1        A. Yes, correct.                            1   about a product or a set of products, and
    2        Q. What have you done to confirm            2   detailing visits are face-to-face visits
    3   that the detailing visits you analyzed           3   between the salesperson and someone in the
    4   actually contained false and incomplete          4   physician's office.
    5   information as the complaint or you define       5   BY MR. ROTH:
    6   it?                                              6       Q. But you know that detailing
    7            MR. SOBOL: Objection, just              7   could just be the sales rep dropping off a
    8        asked and answered.                         8   placard with the product's label on it?
    9        A. As we talked about earlier,              9            MR. SOBOL: Objection.
   10   I've been asked to assume that counsel will     10       A. I think you misunderstand,
   11   prove that all or virtually all marketing       11   again, the interconnectedness of all of this.
   12   during the period from 1995 to the end of my    12   And so if a detail were something like you
   13   data was unlawful.                              13   just described -- I don't know about a
   14            So I have tested the                   14   placard, how about a coffee mug -- those
   15   reasonableness of that assumption in the        15   details are intended to reinforce messages
   16   review of the documents that we've talked       16   that have been conveyed in previous details
   17   about, in the review of other expert            17   that have been conveyed by key opinion
   18   opinions.                                       18   leaders.
   19            I have not, nor do I believe           19            I don't think it's appropriate
   20   it's necessary to make that causal step,        20   to pull these individual pieces out as if
   21   looked at individual details throughout the     21   they were not part of an integrated marketing
   22   period for my analysis.                         22   scheme, which is really precisely what
   23   BY MR. ROTH:                                    23   Dr. Perri talks about in his report.
   24        Q. You would agree that detailing          24   BY MR. ROTH:
   25   in and of itself is not unlawful?               25       Q. But you're not offering the
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    1   opinion that every time a sales rep detailed     1   that marketing since 1995 was unlawful.
    2   a doctor for an opioid product, that was         2   BY MR. ROTH:
    3   unlawful?                                        3       Q. Do you have any independent
    4             MR. SOBOL: Objection.                  4   understanding as to why that would be a good
    5        A. I am not offering any opinion            5   measuring date?
    6   about the unlawfulness of detailing, as we       6       A. As I sit here specifically, no.
    7   have spoken about before. I was asked to         7   It will get into the specific facts that I
    8   assume that plaintiffs' counsel would prove      8   describe in my report in terms of what is
    9   that marketing was unlawful.                     9   happening in opioid prescribing in the world
   10   BY MR. ROTH:                                    10   in 1995, and that is certainly a turning
   11        Q. We'll come back to this, but            11   point in the -- in opioid use, as you can see
   12   I'll give you a break from it.                  12   from the sales data I have.
   13             If you look back at                   13       Q. Is there a specific event that
   14   paragraph 7, you say in paragraph 7 of your     14   happened in 1995 that you believe was the
   15   report -- sorry: In this report I refer to      15   start of the unlawful marketing scheme
   16   the manufacturers' deceptive marketing          16   alleged in the complaint?
   17   strategy and tactics as manufacturer            17       A. As I sit here, I can't think of
   18   misconduct. This report does not address        18   anything specifically, no.
   19   nonmarketing misconduct.                        19       Q. Okay. I'm sure we'll talk
   20             Do you see that?                      20   about this later, but I know from sitting
   21        A. Yes.                                    21   through Professor McGuire's deposition and
   22        Q. What is your definition of              22   Professor Cutler's deposition, that as
   23   nonmarketing misconduct?                        23   Professor McGuire described it, there was a
   24        A. By that, I mean to describe             24   triumvirate of damages experts in this case?
   25   misconduct related to identifying and           25       A. Quadrumvirate.
                                              Page 47                                             Page 49
    1   intervening with suspicious shipments, the       1       Q. If you include Professor
    2   distributor misconduct, as I understand it,      2   Gruber?
    3   yes.                                             3       A. Yes.
    4       Q. Okay. And then in paragraph 8             4             MR. SOBOL: You can't forget
    5   you say: My assignment is to answer the          5       John.
    6   following questions framed by plaintiffs'        6   BY MR. ROTH:
    7   counsel.                                         7       Q. So you understand, I take it,
    8            Do you see that?                        8   that Professor Cutler calculates harms
    9       A. I do.                                     9   beginning in 2006?
   10       Q. And each of the bullets is               10       A. Yes.
   11   bounded -- I guess with the exception of the    11       Q. And did you review his report
   12   sensitivity -- each of the first three          12   before finalizing your report?
   13   bullets is bounded by the year 1995.            13       A. Before finalizing my report, I
   14            Do you see that?                       14   believe I did.
   15       A. Yes.                                     15       Q. And you had conversations with
   16       Q. So since 1995 I'm going to look          16   him about your models and I assume about his
   17   at causation.                                   17   models as well?
   18            Can you explain why 1995 was           18       A. With counsel present, we talked
   19   selected?                                       19   about the work as a whole.
   20            MR. SOBOL: Objection.                  20       Q. Okay. Do you know why
   21            No discussions with counsel,           21   calculating a harm from 2006 forward as he
   22       but if you have a general                   22   does requires looking at misconduct dating
   23       understanding, that's fine.                 23   back to 1995?
   24       A. My general understanding is              24             MR. SOBOL: You can answer only
   25   that counsel for plaintiffs intend to prove     25       if it's not based on counsel.

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    1        A. Based on my understanding of             1   to this, I break out non-defendant marketing
    2   the economic phenomena of interest, yes. So,     2   on behalf of defendants in my Table 3.
    3   as I'm sure we will discuss and you know, my     3             So I am looking at causation
    4   model examines the effects of marketing over     4   for non-defendants. I'm simply not
    5   time, and marketing has long-lasting effects.    5   attributing it to misconduct and therefore
    6   So what happened in 1995 is still affecting      6   passing it on to Professor Cutler.
    7   the world in 2006.                               7   BY MR. ROTH:
    8             Moreover, of course, harms such        8        Q. And with respect to the
    9   as overdose deaths are lagged somewhat to the    9   non-defendants, you're doing it on an
   10   start of someone's experience taking an         10   aggregate basis as opposed to specific
   11   opioid. So it's important to take a look at     11   companies; is that correct?
   12   the entire time period.                         12        A. My main analysis is on an
   13   BY MR. ROTH:                                    13   aggregate basis, and then I do some
   14        Q. And we will talk about the              14   sensitivity analysis where I remove
   15   stock of promotion and how you calculate        15   individual defendants and then all the
   16   that.                                           16   non-defendants' marketing on behalf of
   17             But the way you calculate that,       17   defendants.
   18   if you started back in 1990 or 1985, it would   18        Q. Do you know whether any of the
   19   still have an impact on 2006; isn't that        19   non-defendant manufacturers utilize similar
   20   right?                                          20   messaging in their promotional visits to the
   21             MR. SOBOL: Objection.                 21   ones that the defendant manufacturers did
   22        A. What's important is when the            22   that you described as the fraudulent scheme
   23   but-for marketing departs from actual           23   earlier?
   24   marketing, so that is why those earlier         24        A. I have not examined that
   25   periods matter and going back to 1985           25   question, no.
                                             Page 51                                               Page 53
    1   wouldn't matter because but-for and actual       1       Q. And if a court or jury were to
    2   marketing are the same.                          2   find that those types of messages were
    3   BY MR. ROTH:                                     3   unlawful for defendants, how would that
    4       Q. And the reason you say but-for            4   affect how you calculate causation with
    5   and actual marketing are the same is the         5   respect to the non-defendants?
    6   assumption that the scheme started in 1995?      6            MR. SOBOL: Objection.
    7           MR. SOBOL: Objection.                    7       A. That seems to me to be a legal
    8       A. Yes, the assumption that I used           8   question. This matter has a specific set of
    9   to calculate but-for marketing is that the       9   defendants, and I am calculating impact for
   10   defendants' marketing after 1995 was            10   those defendants. I'm not sure if you're
   11   unlawful.                                       11   suggesting if I could include other
   12   BY MR. ROTH:                                    12   manufacturers in those calculations?
   13       Q. You have not done any analysis           13   Absolutely. But that seems like it would be
   14   of causation as to non-defendant                14   outside the scope of this matter.
   15   manufacturers; is that correct?                 15   BY MR. ROTH:
   16           MR. SOBOL: Objection.                   16       Q. And I think we talked about the
   17       A. Well, my model includes all              17   illegal drug trade, but specifically, have
   18   opioids in this category. We can talk about     18   you done any analysis as to causation with
   19   I exclude the injectables. There's some         19   respect to pill mills?
   20   exclusions.                                     20            MR. SOBOL: Objection.
   21           But I examined the effect of            21       A. No, I have not.
   22   marketing on sales beyond the defendants, so    22   BY MR. ROTH:
   23   I provide causal estimates of the effective     23       Q. Or cartels or Internet sales of
   24   marketing on sales for non-defendants. And      24   opioids?
   25   then separately, again, I'm sure we will get    25       A. No, I have not.
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    1       Q. You've done no analysis as to             1   the question doesn't make a lot of sense to
    2   causation due to changes in reimbursement        2   me because of the fact there is this causal
    3   policies for prescription opioids?               3   chain, and what I've been asked to undertake
    4            MR. SOBOL: Objection.                   4   is an analysis of the impact of the allegedly
    5       A. I have not looked at changes in           5   unlawful marketing.
    6   reimbursements specifically, no.                 6            It goes through doctors, so
    7   BY MR. ROTH:                                     7   there -- the idea that there's a separate
    8       Q. You've done no analysis as to             8   analysis of the effect of doctors on
    9   causation as to changes in medical guidelines    9   prescribing, they're already in my analysis.
   10   for the use of opioids?                         10   The question about parsing liability for
   11       A. Well, I do, as you know, in one          11   those groups, I have not undertaken that
   12   model look at the effects of certain            12   because I'm not a lawyer, and I was not asked
   13   guideline-related events, so that happens in    13   to offer an opinion on that.
   14   my Model C. But aside from that, I have not     14   BY MR. ROTH:
   15   modeled other changes in guidelines, but to     15       Q. And when you say the doctors
   16   some extent there, yes.                         16   are already in the analysis, they're in the
   17       Q. You've done no analysis of               17   analysis to the extent you're talking about
   18   causation as to patients or users of            18   detailing, but other factors that may
   19   prescription opioids?                           19   influence the doctors' prescribing decision
   20            MR. SOBOL: Objection.                  20   are not accounted for in your analysis,
   21       A. I'm not really sure what you             21   correct?
   22   mean by that. My analysis is an                 22            MR. SOBOL: Objection.
   23   industry-level analysis, so the patients of     23       A. Well, again, I would say that's
   24   course are the ones filling the prescriptions   24   not entirely correct because these other
   25   that I'm counting and measuring.                25   factors that I capture in my model using
                                              Page 55                                              Page 57
    1            So in the indirect analysis, I          1   those eras, in addition in Model C, using the
    2   look at population characteristics as they       2   specific dummy variables, those operate
    3   are associated with shipments,                   3   through physicians.
    4   cross-sectionally, so that is in some sense a    4            And again, because these are
    5   patient-level analysis. I'm not entirely         5   prescribed products, the doctor has to write
    6   sure what you had in mind, however.              6   the prescription in every case, so even, you
    7   BY MR. ROTH:                                     7   know, efforts, for example, to change the way
    8       Q. You don't attribute any                   8   state medical boards enforce prescribing
    9   causality to prescribing doctors?                9   around opioids, that's -- that's ultimately
   10            MR. SOBOL: Objection.                  10   directed at doctors.
   11       A. Again, I am -- marketing is to           11   BY MR. ROTH:
   12   doctors, and the doctors have to write the      12       Q. You agree that doctors act as a
   13   prescriptions, so they are in the causal        13   trusted intermediary when it comes to
   14   chain of my analysis.                           14   prescribing opioids?
   15            The mechanism is a detailing           15            MR. SOBOL: Objection.
   16   contact. If doctors did not respond to those    16       A. As a matter of the way this
   17   details, then they -- my results would be       17   market works, yes, that doctors are intended
   18   quite different.                                18   to be the agents of their patients.
   19   BY MR. ROTH:                                    19   BY MR. ROTH:
   20       Q. I understand they're in the              20       Q. You say in your report,
   21   causal chain. What I'm trying to understand     21   paragraph 14: Physicians act as a trusted
   22   is how your models assign a percentage of       22   intermediary in prescription drug
   23   causality to prescribing doctors.               23   decision-making.
   24            MR. SOBOL: Objection.                  24            MR. SOBOL: Objection.
   25       A. Again, from my point of view,            25       A. Yes.
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    1   question, which is: An individual doctor's       1   unobserved physician-specific characteristics
    2   prescribing habits can be confounded by other    2   such as inertia in prescribing patterns,
    3   unobserved characteristics?                      3   brand loyalty, patient mix, tolerance for
    4            MR. SOBOL: Objection.                   4   risks and preferences toward trade-offs
    5       A. I don't know what you mean by             5   between efficacy, contraindications and
    6   confounded. When you say confounded, I am        6   long-term use for prophylactic purposes.
    7   assuming -- and please correct me if I'm         7            Do you see that?
    8   wrong -- that you're asking that in a sort of    8        A. Yes. And again, those are all
    9   statistical sense.                               9   cross-sectional concerns, so when one is
   10   BY MR. ROTH:                                    10   doing an analysis, as they do, that
   11       Q. Yeah. Okay. So, I am.                    11   incorporates both cross-sectional and time
   12            (Whereupon, Deposition Exhibit         12   series variation, so they have a panel of
   13       Rosenthal-5, 2016 Datta and Dave            13   physicians that they're looking at their
   14       Publication, was marked for                 14   prescribing for a particular herpes drug and
   15       identification.)                            15   its competitors.
   16   BY MR. ROTH:                                    16            And when you're looking
   17       Q. Let me mark as Exhibit 5 is              17   cross-sectionally like that at
   18   Datta and Dave study --                         18   physician-level data, you would need to
   19       A. I keep thinking it's "Dah-vay."          19   account for those physician characteristics
   20       Q. You know, I did too. Well,               20   when you're looking at aggregate data over
   21   however you pronounce the gentleman's name, I   21   time that you would not need to look for
   22   apologize, Effects of Physician-directed        22   those characteristics.
   23   Pharmaceutical Promotion on Prescription        23        Q. And you look at aggregate data?
   24   Behaviors: Longitudinal Evidence.               24        A. That's correct.
   25            Do you have that in front of           25        Q. Did you try to look at
                                              Page 75                                              Page 77
    1   you?                                             1   physician-specific cross-sectional data?
    2        A. I do.                                    2             MR. SOBOL: Objection.
    3        Q. And this is a study you rely on          3       A. Unlike Datta and Dave, I do not
    4   and cite in your report?                         4   have promotional data at the individual
    5        A. That's correct.                          5   physician level. As you no doubt noted in
    6        Q. And this study actually looked           6   their literature review, it's fairly uncommon
    7   at longitudinal evidence and developed a         7   to be able to get data that have
    8   regression to determine the effect of            8   physician-level detailing, which is what they
    9   marketing and other behaviors?                   9   use, as well as prescribing habits. So there
   10        A. Yes. But just to be clear,              10   are a few marketing scholars who essentially
   11   when they say longitudinal, they're not         11   have had good relationships with companies
   12   wrong, but they're talking about two years of   12   and have been able to get those kinds of
   13   data. This is -- this is a bit different        13   data. I don't have access to those data.
   14   than the aggregate time series that I used.     14   BY MR. ROTH:
   15   So just to be clear, they have multiple         15       Q. Well, you understand that all
   16   observations per physician over a two-year      16   these companies are defendants in the case
   17   period.                                         17   and have produced documents as part of the
   18        Q. Okay. If you turn to page 456,          18   lawsuit, correct?
   19   and at the bottom of the page -- or sorry,      19             MR. SOBOL: Objection.
   20   let me get myself to the right place. Sorry,    20       A. I understand that these
   21   it's -- yeah, it's 456, bottom of the page.     21   companies have produced documents as part of
   22        A. Okay.                                   22   the lawsuit. They have not produced data
   23        Q. The very last sentence, it              23   with detailing information by physician that
   24   says: Furthermore, the link between DTPP and    24   can be identified and linked to prescribing.
   25   prescribing habits may be confounded by other   25             ///

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    1   BY MR. ROTH:                                     1   single manufacturer's detailing, you could
    2       Q. And --                                    2   run an analysis similar to Datta and Dave
    3       A. I did look for those data.                3   using whatever data were available for that
    4       Q. You did look for it. And                  4   manufacturer?
    5   that's true of every single manufacturer         5            MR. SOBOL: Objection.
    6   defendant, there is no physician-level           6        A. There are two levels of
    7   detailing data available?                        7   aggregation here. One is from the doctors up
    8             MR. SOBOL: Objection.                  8   to the total product level, and the other is
    9       A. There were no physician-level             9   from the product to the defendant to the
   10   detailing data for any manufacturer that        10   whole class, if I can use that term to
   11   covered the period of interest. So in order     11   describe all the opioids that we're
   12   for me to do my analysis, I would need those    12   interested in here.
   13   data for all the defendants for the entire      13            So Datta and Dave are at the
   14   time period.                                    14   most granular level, the individual doctor
   15             So where -- to the extent that        15   prescribing for an individual drug.
   16   we found any data, they were bits and pieces    16            I am interested in
   17   of contact registries, essentially sales        17   understanding how marketing as a whole drove
   18   databases, which are not the same level as      18   sales in this market and I want to capture
   19   what these folks have -- they have actual       19   all of the spillover effects. They're trying
   20   linked data, linkable.                          20   to tease out other kinds of effects.
   21   BY MR. ROTH:                                    21            This analysis could not be used
   22       Q. But you didn't take the                  22   to get an answer to the question what would
   23   specific data you had for individual            23   have happened if these manufacturers had not
   24   defendants for whatever time period you had     24   marketed their products.
   25   to test the results of your regression          25            ///
                                              Page 79                                             Page 81
    1   against a model you could do on just that        1   BY MR. ROTH:
    2   data?                                            2        Q. And the reason you're
    3            MR. SOBOL: Objection, form and          3   interested in the aggregate question is that
    4       asked and answered.                          4   was the charge you were given by plaintiffs'
    5       A. There would be no such test.              5   counsel was to look at the aggregate impact
    6   These -- the goal of my analysis and the goal    6   as opposed to an individual
    7   of Datta and Dave's analysis are completely      7   defendant-specific impact?
    8   different. So there -- there would be no         8        A. Well, again, there are multiple
    9   point in comparing those results.                9   levels of aggregation here, so if I -- my
   10            They are trying to ascertain           10   model, as you know, can be used to parse out
   11   the extent to which detailing across            11   individual defendants as I have done in
   12   physicians drives marketing impact, so          12   Table 3 of my report, so it can look at an
   13   they're really interested in questions like,    13   individual defendant, and I've shown you
   14   you know, what -- how -- how much does it       14   results excluding individual defendants. So
   15   make sense for a company to detail high         15   it is already doing that.
   16   prescribers versus low prescribers to a         16             It's the cross-sectional nature
   17   greater degree.                                 17   of what they're modeling here with the
   18            I'm interested in the aggregate        18   physician-fixed effects. They're really
   19   impact, and so that is what my model does       19   trying to tease apart how manufacturers go
   20   best. Their model would not be appropriate      20   about targeting doctors for marketing and
   21   for ascertaining the aggregate impact.          21   what effect that has.
   22   BY MR. ROTH:                                    22             I'm not interested in that
   23       Q. I understand you're interested           23   effect, and so it wouldn't be appropriate
   24   in the aggregate impact, but if one were        24   even if I were only looking for one
   25   interested in the individual impact of any      25   defendant.
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    1        Q. So you're not interested in              1   and Dave type analysis we've been discussing?
    2   trying to ascertain how manufacturers'           2            MR. SOBOL: Objection, asked
    3   targeting for marketing has an effect.           3       and answered.
    4             What is the question you're            4       A. I think, again, you
    5   seeking to answer?                               5   misunderstand what the utility of the Datta
    6             MR. SOBOL: Objection.                  6   and Dave analysis is. It is an analysis that
    7        A. The question that I'm seeking            7   is designed to dig into how marketing works
    8   to answer is what is the effect of marketing     8   and not whether.
    9   by defendants for opioid products on their       9            There would be no utility in
   10   sales, and if that effect --                    10   comparing results of a Datta and Dave
   11   BY MR. ROTH:                                    11   analysis, if one were possible, with my
   12        Q. I'm sorry to stop you. At an            12   aggregate results because the questions
   13   aggregate level, I assume you mean?             13   they're looking at are entirely different.
   14        A. At an aggregate level. Again,           14   BY MR. ROTH:
   15   my model can look -- pull out the effect for    15       Q. And why is the question you
   16   individual defendants, but at an aggregate      16   answer only about how marketing works as
   17   level.                                          17   opposed to whether?
   18             And so all I'm saying is that         18       A. No. Sorry. Their how.
   19   if that effect comes because one manufacturer   19       Q. Okay. Why is -- So how are you
   20   targets just the high prescribers and is very   20   answering the question through your aggregate
   21   effective there and another manufacturer        21   model whether marketing works if you're not
   22   details everybody, that is not relevant to      22   looking at it on an individualized
   23   what I have been asked to undertake in this     23   doctor-specific level?
   24   case, and so I don't go into the level of --    24            MR. SOBOL: Objection.
   25   the physician level the way Datta and Dave do   25       A. My analysis is a model of the
                                              Page 83                                             Page 85
    1   because it's -- it's not relevant to my          1   effect of detailing as a whole for this
    2   conclusions.                                     2   class, its effect on sales in the form of
    3       Q. Have you tried, for any of the            3   milligrams of morphine equivalent, just to be
    4   individual manufacturers for which you have      4   clear.
    5   specific data, to pressure test your             5             So my right-hand side variable
    6   conclusions in Table 3, from removing them       6   is detailing. My left-hand side variable is
    7   from the aggregate data to see if those hold?    7   MMEs. Datta and Dave -- so that tells me, if
    8            MR. SOBOL: Objection, form.             8   marketing increases in this area as a whole,
    9       A. Can you repeat? Because I just            9   what happens to MMEs? That's the question
   10   want to make sure I understand the question     10   that relates to my assignment.
   11   you're asking.                                  11             Datta and Dave are asking, you
   12   BY MR. ROTH:                                    12   know, can we examine and tease out to what
   13       Q. Yeah. So as I understand your            13   extent manufacturers target specific types of
   14   model -- and again, we will get into the        14   physicians and whether the prescribing of
   15   details, I promise -- but you essentially       15   physicians is more driven by this targeting
   16   back out from the aggregate model individual    16   question or by the marketing effectiveness.
   17   defendants, and you present those in Table 3.   17             They're doing so on a very
   18            MR. SOBOL: Objection.                  18   short time period in the scheme of things,
   19       A. That's correct.                          19   right? So two years of data doesn't --
   20   BY MR. ROTH:                                    20   doesn't allow them to look, for example, at
   21       Q. So my question is: Have you              21   what happened before that two-year time
   22   run a Datta and Dave type of analysis for any   22   period in terms of the buildup of knowledge
   23   of the individual manufacturers listed in       23   about these products, all of those things
   24   Table 3 to compare how the aggregate results    24   that are captured in the stock of detailing
   25   in Table 3 hold compared against the Datta      25   that I use.
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    1            And so they have this                   1            I meant the more general. Do
    2   interesting work that tells us something         2   you agree that sort of the prescribing and
    3   about responsiveness of physicians, but it       3   treatment standards of care can influence
    4   doesn't get us to the aggregate question         4   prescribing decisions?
    5   about how -- to what extent does marketing       5       A. Again, I would say if we looked
    6   across all of their drugs affect the size of     6   at my ecosystem, I don't know that I call out
    7   the market.                                      7   standards of care specifically, but if those,
    8   BY MR. ROTH:                                     8   for example, are set in part by what your
    9       Q. What have you done to answer              9   peers are doing, if those are set in part by
   10   the individualized question of whether          10   professional guidelines, then, yes, I believe
   11   targeting certain physicians by the             11   that those are relevant determinants of
   12   manufacturers in this case was the cause of     12   physician behavior.
   13   additional MMEs as opposed to the               13            And as I said earlier, I also
   14   effectiveness of the marketing overall?         14   believe that those would be affected by the
   15            MR. SOBOL: Objection.                  15   alleged misconduct.
   16       A. That question is not relevant            16       Q. Although detailing is not the
   17   to my charge. I want to understand what is      17   same as affecting the standards of care,
   18   the total effect. I have -- I do not know       18   right? Those are two different marketing
   19   why the court would want to understand what     19   channels?
   20   aspects of the targeting of specific            20       A. It's not clear to me that
   21   physicians that drive marketing increases.      21   detailing would not affect the standards of
   22   BY MR. ROTH:                                    22   care. Detailing could, for example, try to
   23       Q. What have you done to answer             23   convince individual physicians that it's okay
   24   the individualized question of whether          24   to prescribe opioids more broadly by citing
   25   certain messaging by individual manufacturers   25   guidelines, by citing peers and key opinion
                                             Page 87                                               Page 89
    1   led to an increase in MMEs?                      1   leaders. So I think it could well be wrapped
    2            MR. SOBOL: Objection.                   2   up. I don't know why they'd be independent.
    3       A. As we have discussed, I am                3       Q. Do you agree that patient
    4   taking an assumption from counsel, as experts    4   preference can affect a physician's
    5   always do, that they will prove their case,      5   prescribing decision?
    6   and specifically, the relevant assumption I      6       A. Yes, of course patient
    7   have made is that all or virtually all           7   preference can affect a physician's
    8   marketing by defendants from 1995 to the end     8   prescribing decision.
    9   of my data was unlawful.                         9       Q. Loyalty to certain drugs can
   10            I have reviewed documents and          10   affect a physician's prescribing decision?
   11   other expert reports. I have not parsed out     11       A. Physicians -- it has been found
   12   individual messages and in any way parsed out   12   in the literature that physicians have a
   13   the marketing that I assume to be unlawful in   13   tendency to prescribe a particular drug once
   14   my model to differentiate from one to           14   they've gotten used to it, so in the
   15   another.                                        15   antidepressant class, for example, that's
   16   BY MR. ROTH:                                    16   been shown.
   17       Q. Do you agree that standards of           17       Q. Drug reimbursement policy can
   18   care influence prescribing decisions?           18   affect physician's prescribing decisions?
   19       A. What -- do you mean by                   19             MR. SOBOL: Objection.
   20   standards of care something very general or     20       A. Yes, all of these factors, the
   21   do you mean that in the sort of the             21   last two factors, I would say they're most
   22   negligence sense, since you're a lawyer?        22   likely to affect physician prescribing
   23       Q. That's fair. You've done this            23   patterns by the specific brand or brand -- in
   24   a lot because you went somewhere that I         24   the case of reimbursement, brand versus
   25   wasn't going.                                   25   generic as opposed to whether the physician
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    1   prescribes an opioid.                            1   agree with you on that, though?
    2   BY MR. ROTH:                                     2       A. I'm not sure that that's true.
    3       Q. And we'll get to this later,              3       Q. We'll look at it.
    4   but to the extent you're looking at detailing    4            A doctor's own medical judgment
    5   visits, you don't differentiate between          5   can affect prescribing decisions?
    6   detailing visits that are just driving at        6       A. I think it would be very
    7   rivalrous marketing to get a prescriber to       7   difficult to say that that was not true.
    8   switch opioids versus detailing visits that      8       Q. And in fact, I think Professor
    9   are trying to get doctors to prescribe           9   Cutler has got a working paper where he draws
   10   opioids as a class of therapy?                  10   that conclusion. Have you studied that or
   11       A. I don't differentiate on the             11   read that paper?
   12   right-hand side, and so if, in fact,            12       A. You'd have to put it in front
   13   detailing was all rivalrous, my results would   13   of me.
   14   show that marketing doesn't affect sales. So    14       Q. We can look at it quickly.
   15   that is the point of the analysis, is to        15            (Whereupon, Deposition Exhibit
   16   ascertain.                                      16       Rosenthal-6, 2015 Cutler et al Working
   17             So you could imagine doing an         17       Paper, was marked for identification.)
   18   analysis in a market that has a fixed size,     18   BY MR. ROTH:
   19   where all marketing is rivalrous, and there's   19       Q. So I'll mark as Exhibit 6
   20   some discussion for other drugs where           20   Physician Beliefs and Patient Preferences: A
   21   marketing appears to be more about market       21   New Look at Regional Variation in Health Care
   22   share and not about driving the size of the     22   Spending.
   23   market as a whole.                              23            And if you look at page 5, do
   24             But, in fact, my analysis shows       24   you see in the middle of the page there's a
   25   that the market expansion effects were          25   paragraph that starts with "Ultimately"?
                                              Page 91                                              Page 93
    1   important, whether or not there was also         1      A.      Uh-huh.
    2   rivalry.                                         2      Q.      He says --
    3       Q. You agree, though, that if a              3             MR. SOBOL: Wait, is this an
    4   manufacturer was only engaged in rivalrous       4       excerpt or is this the whole article?
    5   marketing, for example, that would be            5             THE WITNESS: It's an excerpt.
    6   qualitatively different than trying to make      6             MR. ROTH: It's an excerpt.
    7   the market and convince prescribers to move      7       It's an excerpt.
    8   patients on to opioids?                          8       A. I just want to just review the
    9       A. I don't believe in the                    9   front piece so I can --
   10   conceptual premise that you have just put       10   BY MR. ROTH:
   11   forth that there's such a thing as purely       11       Q. Sure.
   12   rivalrous marketing, in the case where the      12       A. -- understand what it's about.
   13   market is not fixed by some reason.             13             (Document review.)
   14            So even if, you know, I go and         14       A. Okay.
   15   I market for Coke and it's not that I'm         15   BY MR. ROTH:
   16   trying to get you to drink more                 16       Q. So in the paragraph I was
   17   sugar-sweetened beverages, I just want you to   17   pointing you to, it says: Ultimately, the
   18   stop drinking Pepsi, that will still remind     18   largest degree of residual variation appears
   19   some people that, oh, yeah, I should think      19   to be explained by differences in physician
   20   about having a Coke this afternoon instead of   20   beliefs about the efficacy of particular
   21   my usual coffee.                                21   therapies. Physicians in our data have
   22            So I think there will be               22   starkly different views about how to treat
   23   market-increasing spillovers even from purely   23   the same patients. These views are not
   24   rivalrous marketing.                            24   strongly correlated with demographics,
   25       Q. The economic literature doesn't          25   financial incentives, background or practice
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    1   characteristics and are often inconsistent       1   when they're prescribing.
    2   with evidence-based professional guidelines      2        Q. And then you also mentioned
    3   for appropriate care.                            3   this earlier, but risk aversion or potential
    4            Do you see that?                        4   medical malpractice liability could also
    5       A. Yes, I do.                                5   influence prescribing decisions?
    6       Q. And do you have any reason to             6        A. That is possible. That is
    7   believe that is not true of physicians when      7   possible, and I believe that is part of what
    8   they prescribe opioids?                          8   the model guidelines for state medical boards
    9            MR. SOBOL: Objection.                   9   is intended to address.
   10       A. Well, just to be clear, the              10        Q. Okay. And just so I understand
   11   context that they're looking at is not one      11   your position on this, do you believe there
   12   that's subject to marketing, but in any case,   12   are aspects of a doctor's prescribing
   13   there's no presumption here that those          13   decision that are unaffected by marketing, or
   14   beliefs are not set by some other factors,      14   is it your view that marketing infiltrates
   15   right.                                          15   everything in their mind at the time they
   16            So they're -- they're --               16   decide to prescribe a product like a
   17   they're trying to identify all the forces       17   prescription opioid?
   18   that they can measure, including financial      18            MR. SOBOL: Objection.
   19   incentives and other characteristics, and so    19        A. I don't know exactly what you
   20   they're putting in beliefs everything else.     20   mean by that, but I can tell you what I
   21            But that's not to say that             21   believe. I believe that modern
   22   those beliefs couldn't be shaped by             22   pharmaceutical marketing, including the
   23   marketing. So I think it would be a mistake     23   tactics that are described in the complaint
   24   to consider beliefs as independent. I           24   in this matter, is comprehensive and
   25   wouldn't say that they're a hundred percent     25   ubiquitous.
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    1   set by marketing, but they're clearly            1            Does that mean it is strictly
    2   influenced by marketing. That's really the       2   determinative of what every physician does
    3   issue at hand here.                              3   for every patient? No, I do not believe
    4   BY MR. ROTH:                                     4   that. I do believe that marketing, it can't
    5       Q. Are there physicians in the               5   be teased out in terms of looking just at
    6   world who don't allow detailing in their         6   what physicians were detailed, but it has an
    7   offices?                                         7   influence that is quite broad.
    8             MR. SOBOL: Objection.                  8            Other factors will certainly be
    9       A. Yes. But again, I think                   9   important, but the question here is really
   10   conceptually, that's the wrong way to look at   10   what is the incremental effect of marketing
   11   this, as I have noted in my report, that even   11   on the prescriptions that physicians write.
   12   if you never have someone detail you,           12   BY MR. ROTH:
   13   you're -- you're connected with peers, you      13       Q. Have you reviewed the facts of
   14   are getting messages through professional       14   any prescription by a doctor of an opioid in
   15   societies.                                      15   this case?
   16             It would be hard to imagine a         16       A. I don't think so, no.
   17   physician who's completely untouched by the     17       Q. And you don't know how, on an
   18   alleged misconduct in this matter.              18   individual level, a specific doctor was
   19   BY MR. ROTH:                                    19   affected by a detailing visit in your model
   20       Q. Do you agree that                        20   because you haven't done that analysis?
   21   characteristics of individual patients can      21       A. I have not looked at individual
   22   obviously affect prescribing decisions?         22   physician-level data as we discussed, and I
   23       A. Yes. I would hope that                   23   do not believe it is the most appropriate
   24   physician characteristics matter to -- sorry,   24   path to fulfilling my assignment.
   25   patient characteristics matter to physicians    25       Q. Okay. And your model does not
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    1   attribute any percentage of causality to        1   say: Insurance coverage among the elderly is
    2   prescribing doctors for the increased volume    2   virtually universal, and among those enrolled
    3   of MMEs that you calculate?                     3   in Medicare, the vast majority have
    4             MR. SOBOL: Objection, asked           4   prescription drug coverage either through
    5        and answered.                              5   Medicare Part D or retiree plan.
    6        A. As we've discussed earlier,             6            Do you see that?
    7   that notion, just conceptually, I struggle      7       A. Yes.
    8   with the idea that you're asking me to          8       Q. We talked about this a little
    9   consider. Every prescription in my data was     9   bit earlier, but are you aware of pharmacy
   10   written by a physician.                        10   benefit managers?
   11   BY MR. ROTH:                                   11       A. Yes, I am.
   12        Q. Right. But I asked a little            12       Q. What are they?
   13   bit of a different question.                   13       A. Pharmacy benefit managers are
   14             You don't have a percentage          14   essentially specialty health insurers. They
   15   line in your report for doctors the way you    15   manage only the pharmaceutical part of the
   16   do in Table 3?                                 16   health benefit, and they typically contract
   17             MR. SOBOL: Objection, asked          17   either with a primary health insurer or a
   18        and answered.                             18   self-insured employer.
   19        A. Well, again, just that would           19       Q. And what role do they play in
   20   make no sense to me, so the marketing in       20   providing insurance coverage or approving
   21   question operates through doctors.             21   prescriptions of opioids?
   22             MR. ROTH: Why don't we take a        22       A. Pharmacy benefit managers, they
   23        five-minute break.                        23   have pharmacy networks, so they negotiate
   24             MR. SOBOL: Okay.                     24   contracts with pharmacies. They adjudicate
   25             THE VIDEOGRAPHER: The time is        25   claims electronically. They typically define
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    1       9:31 a.m. We're now off the record.         1   formularies, so which drugs are covered, and
    2           (Recess taken, 9:31 a.m. to             2   they offer employers and health plans
    3       9:46 a.m.)                                  3   alternative copayment structures. So those
    4           THE VIDEOGRAPHER: The time is           4   are their main roles.
    5       9:46 a.m. We're back on the record.         5       Q. And you just mentioned
    6   BY MR. ROTH:                                    6   formularies. How would you define what a
    7       Q. Professor Rosenthal, if you              7   formulary is?
    8   could turn to page 13 of your report,           8       A. A formulary is a list of
    9   paragraph 16, and tell me when you're there.    9   covered drugs. An open formulary means that
   10       A. Yes.                                    10   the list is preferred drugs, but other drugs
   11       Q. You've got a heading, The Role          11   are still eligible for reimbursement. A
   12   of Public and Private Health Insurance.        12   closed formulary is a list of drugs that are
   13           Do you see that?                       13   exclusively covered by a health plan.
   14       A. Yes.                                    14       Q. Given the pervasiveness of
   15       Q. And you say in paragraph 16:            15   insurance and the role that PBMs and
   16   Another distinguishing feature of              16   formularies play, what analysis did you
   17   pharmaceutical demand is the widespread        17   perform on the role of insurers in assessing
   18   presence of insurance coverage. As of 2017,    18   the volume of MMEs in your models?
   19   approximately 88% of nonelderly adults have    19       A. Well, if I understand you
   20   insurance coverage through a private or        20   correctly, I think we have a very similar
   21   public health insurance plan.                  21   situation conceptually to the one we talked
   22           Do you see that?                       22   about earlier with physicians, not a hundred
   23       A. I do.                                   23   percent the same.
   24       Q. And then you go on to talk              24             But PBMs and health insurers
   25   about the Affordable Care Act and then you     25   adjudicate and pay for claims associated with

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    1   opposed to the uncovered therapy, recognizing    1   report, detailing is generally a national
    2   as you did that there may be other reasons       2   phenomenon.
    3   why she might have a preference?                 3            And I take the relationship
    4       A. Such as addiction risk and the            4   between detailing and sales, and I apply it
    5   like. I think the out-of-pocket cost will be     5   to Summit and Cuyahoga, or it ultimately gets
    6   relevant to that decision.                       6   applied downstream rather, but I do not have
    7       Q. I promise we're almost to your            7   detailing at a level other than national and
    8   models. Just one more general area first.        8   so cannot run a model at a lower level of
    9            Your direct model is based on           9   geography.
   10   national data with respect to detailing,        10            It's my belief that these
   11   correct?                                        11   patterns are the same across the country, and
   12       A. Yes, it is.                              12   I believe there's some testimony to that
   13       Q. And nationwide data with                 13   effect.
   14   respect to MMEs dispensed as well?              14   BY MR. ROTH:
   15       A. Yes, it is.                              15       Q. So you did not model marketing
   16       Q. Your indirect model is based on          16   within either Summit or Cuyahoga County
   17   the ARCOS data, which you describe as county    17   against MMEs within Summit or Cuyahoga
   18   level, and we can talk about that later; is     18   County?
   19   that right?                                     19       A. As we've discussed, my model
   20       A. Yes.                                     20   looks at these relationships at a national
   21       Q. Okay. That was a terrible                21   level because that is really the level at
   22   question.                                       22   which manufacturers set their strategy and
   23            So your indirect model is based        23   the appropriate level to look at the
   24   on the ARCOS data, which is then subdivided     24   effectiveness of marketing.
   25   into county-level data.                         25       Q. Do you know how many of the
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    1       A. It is. I guess when you say               1   detailing visits in your data occurred in
    2   subdivided, I think it comes that way, but       2   Summit County or Cuyahoga County?
    3   yes, right.                                      3       A. In the IMS -- or, rather,
    4       Q. And your indirect model does              4   excuse me, the IQVIA data specifically, there
    5   not have a detailing variable because you're     5   is not a method for apportioning those from
    6   essentially solving for marketing by             6   county to county.
    7   including other variables in that approach?      7       Q. Did you do any analysis as to
    8       A. Yes. The purpose of the                   8   whether the impact of defendants' marketing
    9   indirect model is to go another way around       9   varied by county, or was it not done because
   10   and ignore the detailing data.                  10   you assumed it was national in scope?
   11       Q. If you take out -- put another           11             MR. SOBOL: Objection.
   12   way, if you take out everything else that       12       A. I believe that is appropriate
   13   would be relevant, what is left is detailing    13   to assume that the effectiveness, the
   14   in the indirect model?                          14   relationship between marketing and sales is
   15       A. Yes.                                     15   the same across counties, and -- and again,
   16       Q. Okay. So the only model with             16   my data do not allow me to parse out
   17   detailing data is the direct model, and for     17   detailing at a county level.
   18   that you use national data?                     18             So where -- where it is
   19       A. That's correct.                          19   possible to parse out sales at a county
   20       Q. So you don't have any model              20   level, it is not possible to do so for
   21   that measures the effect of detailing within    21   detailing. So I did not test that.
   22   either Summit or Cuyahoga County?               22   BY MR. ROTH:
   23            MR. SOBOL: Objection.                  23       Q. Okay. Professor Cutler takes
   24       A. My model looks at detailing as           24   your percentage, though, and applies it to
   25   a national phenomenon, which as I note in my    25   his regression, which is done at a county
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    1   level; is that right?                            1   shipments in that county, conditional on
    2            MR. SOBOL: Objection.                   2   marketing.
    3       A. Professor Cutler's                        3   BY MR. ROTH:
    4   calculations, once he has looked at the          4       Q. Put another way, though, you
    5   effect of shipments on harms, he then applies    5   would not expect differences in shipments
    6   my percentage to that, yes.                      6   across counties to be caused by marketing
    7   BY MR. ROTH:                                     7   where you presume all marketing is national
    8       Q. Did you have any conversations            8   in scope?
    9   with Professor Cutler about the fact that he     9             MR. SOBOL: Objection.
   10   was taking your national model and then         10       A. I don't believe that that's the
   11   applying it to his county model and what that   11   right way of looking at it. So if there's a
   12   might mean for his results?                     12   specific relationship between marketing and
   13            MR. SOBOL: That's a yes or a           13   sales and -- it could well be that counties
   14       no.                                         14   start at different levels of use, and so the
   15       A. Yes.                                     15   incremental effect of those relationships, as
   16   BY MR. ROTH:                                    16   you see in Professor Cutler's analysis,
   17       Q. Did you have any of those                17   materializes differently in those counties.
   18   conversations outside of the presence of        18             That doesn't mean the effect of
   19   counsel?                                        19   marketing was different. It's just the
   20       A. No.                                      20   baseline was different.
   21       Q. Do you have any view about the           21   BY MR. ROTH:
   22   propriety of taking a national model as         22       Q. But I think you said that's an
   23   you've done and then inputting that into a      23   issue you would defer to Professor Cutler.
   24   county-specific model as Professor Cutler has   24   You don't have an opinion on how your
   25   done?                                           25   national model plugs into his county model
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    1       A. Yes. I believe the national               1   and why the differences may occur in
    2   model is appropriate. Again, because             2   shipments?
    3   marketing strategy is a national phenomenon,     3            MR. SOBOL: Objection.
    4   the national data are a reliable way to          4       A. It's my opinion that it's
    5   ascertain the relationship between marketing     5   appropriate to take my national estimates.
    6   and sales.                                       6   National-level analysis is the most robust
    7            I have used the same                    7   analysis. It's the place where the data are
    8   methodology, for example, in the Neurontin       8   really reliable. I think it's appropriate
    9   matter concerning Kaiser. We used a national     9   for Professor Cutler to use those estimates
   10   model to estimate the relationship between      10   in the way that he has.
   11   marketing and sales and applied that to a       11   BY MR. ROTH:
   12   single healthcare system.                       12       Q. But you have no opinion that
   13       Q. So if marketing is, in your              13   explains why we may be seeing variation
   14   view, nationally done and substantially         14   between county-level shipments in his model
   15   similar, why is there a difference in           15   despite him using your national model on
   16   shipments on a county level the way Professor   16   marketing?
   17   Cutler's modeled it?                            17            MR. SOBOL: Objection, asked
   18            MR. SOBOL: Objection, scope.           18       and answered.
   19       A. This of course is the subject            19       A. I do not have an opinion
   20   of Professor Cutler's report, and I -- I'm      20   specifically on that, no.
   21   not sure as I sit here I could tell you         21   BY MR. ROTH:
   22   exactly the factors, but it is obviously        22       Q. You do not attempt to link any
   23   counties are situated differently in ways       23   specific prescription to any specific
   24   that he captures in his cross-sectional model   24   defendant's marketing; is that fair?
   25   of harms that could absolutely affect the       25       A. Are you asking me whether I'm
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    1   looking prescription by prescription, these      1   correct?
    2   ones were caused and those ones were not?        2            MR. SOBOL: Objection.
    3   The analysis -- the but-for analysis is a        3       A. Well, it depends on really what
    4   world that did not occur, of course. Would       4   you're talking about. When I have had
    5   you agree?                                       5   individual physician-level data in the past,
    6            The but-for world where the             6   they are sales data. So again, I think the
    7   marketing didn't happen, didn't happen. So       7   challenge is not disaggregating the sales
    8   my analysis can tell me about the correct        8   data.
    9   aggregate amount. It does not identify one       9            There are products that exist;
   10   prescription at a time.                         10   sometimes they require subpoenas to get them,
   11        Q. Okay. Yeah. Just so the                 11   but there are products that exist that allow
   12   record is clear, we've been through this, but   12   us to look at prescribing at a physician
   13   you did an aggregate model. You didn't build    13   level, but not at detailing at a physician
   14   it from the ground up on a                      14   level. So those data I have not used because
   15   prescription-by-prescription,                   15   I have not seen them.
   16   detail-by-detail basis?                         16       Q. Well, but, for example, an
   17            MR. SOBOL: Objection.                  17   individual manufacturer may keep detailed
   18        A. Right. If I may, the -- I did           18   call notes of the doctor visits that their
   19   an aggregate model. The aggregate sales of      19   sales representatives engage in, correct?
   20   course are the sum of individual                20       A. Well, I have seen call notes in
   21   prescriptions, but I am looking at the          21   the past, and I have always found them to be
   22   national level at total marketing on total      22   unusable.
   23   sales.                                          23       Q. And why is that, out of
   24            It's not that it's unknowable          24   curiosity?
   25   what those prescriptions were underneath the    25       A. They often do not include
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    1   sales data. That's not the -- that's not the     1   provider identifiers, so they can't be linked
    2   challenge. The challenge is a conceptual         2   to other data. They are incomplete, and
    3   one.                                             3   they -- they are often produced -- so
    4            The but-for scenario didn't             4   incomplete in the sense of the call notes
    5   happen, so I cannot say precisely which          5   have a lot of blank fields, and they're often
    6   prescriptions would not have been written,       6   produced for short time periods.
    7   only that there is some group of them.           7       Q. But you didn't look at any
    8   BY MR. ROTH:                                     8   individual manufacturer call notes in this
    9       Q. I know you said earlier you               9   case in conjunction with your expert report
   10   looked for manufacturer-specific detailing      10   or opinions?
   11   notes and marketing information. Did you        11       A. I looked to see if there was a
   12   find or learn of any manufacturer-produced      12   source of complete data for -- in order to do
   13   data on detailing to specific doctors within    13   such an analysis, and my staff worked with
   14   Summit or Cuyahoga County?                      14   counsel to identify documents or databases
   15       A. I don't recall.                          15   and did not find any.
   16       Q. And it's fair to say if that             16       Q. Pivoting back to Professor
   17   does exist, it's not something you reviewed     17   Cutler for one more second. Have you worked
   18   or relied on for Attachment B?                  18   as an expert in other cases where you've only
   19            MR. SOBOL: Objection.                  19   modeled causation and then another expert has
   20       A. I did not use individual                 20   taken that forward and put into it a damages
   21   physician-level data, no.                       21   model as Professor Cutler has done here?
   22   BY MR. ROTH:                                    22       A. Yes.
   23       Q. And individual physician-level           23       Q. And what case was that or
   24   data, as you may have used in other cases,      24   cases, if there's more than one?
   25   would be drug specific and doctor specific,     25       A. Yes. In Neurontin, I did the

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    1   same, in that order. In other cases I've         1   marketing from where the damages were being
    2   done the reverse where I've done damages and     2   calculated?
    3   someone else has done causation.                 3        A. As I sit here, I can't recall
    4       Q. Okay. And in Neurontin or                 4   all the calculations. I believe, again, I
    5   those other cases, whether you were on the       5   produced the same kinds of but-for
    6   causation side or the damages side, have you     6   percentages and passed those along to the
    7   before encountered the issue you have here       7   damage model.
    8   where you have a national model and then a       8        Q. Okay. Other than the Kaiser
    9   localized model communicating with each other    9   case, can you think of any other examples
   10   to calculate damages?                           10   like that one?
   11            MR. SOBOL: Objection.                  11        A. Not absolutely, but it wouldn't
   12       A. Yes. As I noted earlier, in              12   surprise me if I had done something like this
   13   Neurontin, I used a national model to connect   13   before. I have been involved in some state
   14   to damages for Kaiser.                          14   cases. I just can't recall.
   15   BY MR. ROTH:                                    15        Q. Okay. What is regression
   16       Q. And the damages -- you used a            16   analysis?
   17   national model, but what was the damages        17        A. Regression analysis is a
   18   model based on? What was it localized, or       18   statistical methodology that uses data to try
   19   was it also national?                           19   to understand the relationships among
   20       A. It was localized. It was based           20   variables, and in particular, to identify the
   21   on Kaiser.                                      21   effects of certain explanatory variables on
   22       Q. Based on a single company it             22   some dependent variable of interest.
   23   sounds like you're saying. When you say         23        Q. And what is a time series
   24   Kaiser, what do you mean?                       24   regression?
   25       A. Yes, that's right. Kaiser was            25        A. A time series regression is a
                                             Page 127                                            Page 129
    1   the plaintiff in that matter.                    1   model that looks at these patterns over time,
    2        Q. Right. But that wasn't a model           2   so how -- how changes in these explanatory
    3   of geography. That was a model of damages to     3   variables over time explain changes in the
    4   a particular company's sales, I would assume?    4   dependent variable over time.
    5             MR. SOBOL: Objection.                  5        Q. Your direct model in this case
    6   BY MR. ROTH:                                     6   is a time series regression?
    7        Q. So for a typical -- an insurer,          7        A. That's correct.
    8   right. Kaiser is an insurer? Am I right          8        Q. When is it appropriate to use a
    9   about that?                                      9   time series regression model?
   10        A. Kaiser is a group health plan,          10        A. As in cases like this one where
   11   so it is both a delivery system and an          11   there are dynamic relationships among the
   12   insurer, all rolled into one, and it is         12   variables of interest, and what I mean by
   13   geographically distinct.                        13   that is that marketing has an effect that is
   14             So Kaiser is not like United.         14   path dependent. It depends on what happened
   15   It is not everywhere diffusely. It is           15   in the last period as well as this period.
   16   largely in California and the Pacific           16        Q. What are the other types of
   17   Northwest with a few smaller sites elsewhere.   17   regressions you could run, apart from a time
   18             So again, those were national         18   series regression?
   19   estimates and those were connected to damage    19             MR. SOBOL: Objection. You
   20   calculations for a particular payer and         20        mean like here or like is she capable
   21   delivery system.                                21        of?
   22        Q. And do you recall how they were         22             THE WITNESS: I was going to
   23   connected in that case? Were there any kind     23        ask you that question.
   24   of localization factors taken into account or   24   BY MR. ROTH:
   25   any way to differentiate the national level     25        Q. Generally in the world --
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    1   generally in the world, you've got a time        1            So cross-sectional models are
    2   series -- so the way I think about this,         2   often used for these kinds of immalleable
    3   right, you've got regression analysis, and       3   features that we're trying to understand as
    4   one type of regression analysis is a time        4   opposed to things that can change.
    5   series regression, okay? Are you with me so      5       Q. When would it be appropriate to
    6   far?                                             6   use a panel data model?
    7       A. Okay. I'm with you.                       7       A. You know, in theory, you can
    8       Q. What are the other types of               8   answer many of the same questions with all of
    9   regression analyses that one could perform?      9   these models, but a panel data model allows
   10   I'm not asking specific to this case. Just      10   one, as we were looking at with the Datta and
   11   in the universe.                                11   Dave paper, allows one to understand the
   12       A. There are cross-sectional                12   effects of the individual units, particularly
   13   regressions, panel data regressions. There's    13   in the way that they do, which is mostly by
   14   machine learning.                               14   looking at the variance around those
   15       Q. Okay. And what is a                      15   individual units as opposed to the
   16   cross-sectional regression?                     16   characteristics of the physicians, and
   17       A. A cross-sectional regression is          17   looking at decomposing that -- that variance
   18   like the one we run in the indirect model,      18   against something that's operating in a time
   19   which is looking at a set of observations       19   series way and being able to tease those two
   20   where there's no time dimension. We're just     20   things apart as they do.
   21   looking across observations at a point in       21       Q. Did you consider running either
   22   time.                                           22   a cross-sectional model or a panel data model
   23       Q. That Datta and Dave article we           23   in this case?
   24   looked at, how would you classify that          24       A. My belief is that an aggregate
   25   regression they ran?                            25   time series model is the appropriate model
                                            Page 131                                              Page 133
    1       A. That's a panel model.                     1   for the question at hand, so as I have done
    2       Q. Okay. And what --                         2   in other cases, I selected the aggregate time
    3       A. They call it longitudinal, but            3   series model.
    4   I would call it panel.                           4             MR. SOBOL: You both just meant
    5       Q. And what is a longitudinal or             5        on the direct side, right?
    6   panel model, assuming those two things are       6             MR. ROTH: Correct. Good
    7   the same?                                        7        clarification.
    8       A. It has multiple observations              8   BY MR. ROTH:
    9   per unit of time, but also multiple units of     9        Q. Why did you believe that the
   10   time.                                           10   aggregate time series model was the
   11       Q. And when is it appropriate to            11   appropriate model for your direct approach
   12   use a cross-sectional model?                    12   for the question at hand?
   13       A. Well, I think it's sort of hard          13        A. Because, as I mentioned in
   14   to say in general, but, I mean, it's hard to    14   describing the general purposes of these
   15   say without being reductive. We run             15   alternative types of models, the key
   16   cross-sectional models when we want to          16   relationship I'm interested in is this
   17   understand cross-sectional relationships. So    17   path-dependent relationship between marketing
   18   there may be things like gender, for example,   18   and sales, and aggregate time series model
   19   that typically don't vary over time. I          19   is -- zones right in on that. So that's
   20   should say sex doesn't vary over time.          20   exactly what it's looking at.
   21            So we may want to understand           21             It's not trying to understand
   22   the relationship between sex and wages. We      22   some of the mechanisms that Datta and Dave
   23   would run that cross-sectionally. That's not    23   are looking at. I want a model that will
   24   something where we necessarily need a time      24   capture this total effect as reliably as
   25   dimension.                                      25   possible.

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    1        Q. Do you agree with the statement          1   that's -- that's the starting place.
    2   that although a time series correlation may      2             It's not where we end the
    3   be striking, it does not necessarily             3   discussion, but I wouldn't say it's
    4   determine a causal effect?                       4   tautological. I would say it's theoretically
    5        A. With any regression model,               5   consistent.
    6   economists will need to use theory and tests     6   BY MR. ROTH:
    7   and judgment to determine causality. So          7        Q. As an economist, if companies
    8   there may be time series relationships that      8   are rational actors, they're not going to
    9   are not causal, yes, that is correct.            9   spend money on marketing if they don't have
   10        Q. And do you agree that when              10   some sales increase.
   11   there's a slow-moving trend in one variable     11        A. I would agree with that
   12   through time, it is very difficult to infer     12   statement, yes.
   13   its causal effects on another variable?         13        Q. What are the standard
   14            MR. SOBOL: Objection.                  14   diagnostic tests you perform in running time
   15            You can answer.                        15   series regressions?
   16        A. I believe that you're                   16        A. In this model, of course, you
   17   describing again the well-known limitations     17   can see that we looked particularly about the
   18   of any time series model, and there are ways    18   fit of the model over time and where -- I'm
   19   to examine those challenges.                    19   picturing in my head the chart with Model A
   20            So again, we first have to             20   on it where we had a single coefficient for
   21   start with an appropriate theoretical model.    21   promotional effectiveness, and clearly we
   22   Of course, you could put two variables that     22   were departing from the underlying data, so
   23   trend together in a model and there's no        23   those kinds of tests we conducted Wald tests,
   24   sensible relationship, and clearly that would   24   two-dimensional Wald tests to examine the
   25   be spurious.                                    25   appropriate turning points, and likewise,
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    1            On the other hand, marketing is         1   because part of this time series model of
    2   clearly designed to increase sales, so we        2   course is the stock of marketing and its
    3   start with the theory. And in developing the     3   appropriate depreciation rate, we conducted
    4   model, we examine the kinds of time series       4   statistical tests around that as well.
    5   questions that you just raised with that         5       Q. So you answered about this
    6   comment.                                         6   model, which I want to get to.
    7   BY MR. ROTH:                                     7       A. Sure.
    8       Q. I mean, in some ways the                  8       Q. But I'm talking generally when
    9   conclusion that marketing influences sales is    9   you do time series models, what are the
   10   tautological, right? If you're marketing        10   standard diagnostic tests you might be
   11   correctly, you should be increasing sales.      11   perform, whether or not you actually did it
   12            MR. SOBOL: Objection.                  12   in this case?
   13            You can answer.                        13       A. Right. I don't believe that
   14       A. I don't think that's                     14   they're reported here, but early on in
   15   tautological. It is -- to an economist,         15   looking at the data, we looked for -- we
   16   again, we would start with economic theory,     16   looked at a Dickey-Fuller test, which is
   17   and if you take the theory of profit            17   basically testing for unit roots.
   18   maximization and put marketing in that          18            I'm thinking about the simple
   19   context, it would only make sense for           19   explanation goes to what you said before
   20   marketing to be undertaken if it increased      20   about two slow-moving trends and whether
   21   sales.                                          21   there might be spurious correlation, and we
   22            I think as a noneconomist, if          22   found that those concerns were not warranted
   23   you grab someone on the street in Boston and    23   based on the Dickey-Fuller results.
   24   ask them why do companies market, they would    24            MR. SOBOL: Can you spell that?
   25   agree with that basic premise, right? So        25            THE WITNESS: Dickey,
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    1       D-I-C-K-E-Y, dash, Fuller.                   1   Dickey-Fuller test showed no unit root
    2            MR. ROTH: F-U-L-L-E-R?                  2   problem, you did not make any effort to
    3       A. Yes.                                      3   correct for nonstationarity?
    4   BY MR. ROTH:                                     4       A. That's correct.
    5       Q. What is nonstationarity?                  5       Q. What is autocorrelation?
    6       A. Nonstationarity relates to that           6       A. Autocorrelation is essentially
    7   unit root. It has to do with the trends --       7   when the residuals from one time period are
    8   that these two trends are moving together.       8   correlated with the residuals from the next
    9       Q. The mean or variance of the               9   time period, so autocorrelation from period
   10   variable is not constant over time?             10   to period.
   11       A. It's -- again, it's related to           11       Q. And autocorrelation can
   12   the way the variable of interest and the        12   overstate the impact of a predictor variable?
   13   right-hand side variable are regressing         13       A. No, that's not quite correct.
   14   together, so it has to do with the variance     14   Autocorrelation can affect the standard
   15   over time.                                      15   errors. It does not bias the coefficient.
   16       Q. And why is nonstationarity an            16       Q. Could the presence of
   17   issue with time series models?                  17   autocorrelation lead to an overstatement of
   18       A. If you have this problem, which          18   the impact of an independent variable?
   19   again, we do not, then you can get spurious     19       A. No, the presence of
   20   results.                                        20   autocorrelation could lead to an
   21       Q. Do you know when your team or            21   overstatement of the statistical significance
   22   you performed the Dickey-Fuller test?           22   of an independent variable, but not its
   23       A. I believe it was early on in             23   effect.
   24   the analysis that we were doing.                24       Q. Did you run any tests to detect
   25       Q. Okay. And do you have the                25   autocorrelation in your direct model?
                                             Page 139                                             Page 141
    1   results of those tests somewhere that you        1       A. I believe there were some tests
    2   could produce to us?                             2   for autocorrelation also early on when we
    3       A. I do not.                                 3   were beginning our work, and we found that,
    4       Q. And why is that? Is it a                  4   particularly in the late period, that while
    5   computer model test that...                      5   there was some early autocorrelation, that
    6       A. Generally we don't save the log           6   the autocorrelation goes away in a later
    7   files for those kinds of tests.                  7   period of the data, and we did not correct
    8       Q. Okay. Could one be performed              8   for it.
    9   using the backup data you've produced?           9       Q. Is that a Durbin-Watson test?
   10            MR. SOBOL: Objection.                  10       A. I believe that is a
   11       A. Yes, I believe so.                       11   Durbin-Watson.
   12   BY MR. ROTH:                                    12       Q. Do you have the results of that
   13       Q. Do you know if the MME                   13   test readily available, or no, because you
   14   prescriptions in your model are stationary?     14   didn't save the log file?
   15       A. As I sit here, no.                       15       A. As far as I know, the log file
   16       Q. Do you know if the stock of              16   was not saved.
   17   detailing variable is stationary?               17       Q. But again, that's a test that
   18       A. Again, as I sit here, no.                18   could be replicated on your model with the
   19       Q. And would the presence of                19   backup data that you've provided?
   20   nonstationarity lead you to overstate the       20       A. Yes, it could be.
   21   impact of promotion in your direct model?       21       Q. When is it appropriate to
   22       A. Well, again, if the -- if there          22   aggregate versus utilizing cross-sectional
   23   was a unit root problem, then it could          23   information in putting together a regression?
   24   overstate the results, yes.                     24            MR. SOBOL: Generally?
   25       Q. And I assume because your                25            MR. ROTH: Correct.
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    1       A. Well, aggregation has a number            1       A. Yeah.
    2   of advantages in specific contexts. I would      2       Q. So the last bullet on page 8
    3   say -- go back to my first answer, which is      3   says: Using econometric models, I
    4   we are interested here in an aggregate           4   demonstrate that I can reasonably identify
    5   question. If you were interested in an           5   the extent to which the sale of prescription
    6   individual question, you wouldn't aggregate.     6   opioids measured by the number of milligrams
    7            So we are at first principles           7   of morphine equivalents, or MMEs, was caused
    8   interested in the -- I am interested in the      8   by any quantum of the defendants' promotional
    9   impact of opioid marketing in this class on      9   efforts that counsel can prove was unlawful.
   10   sales, and so I start there.                    10            Do you see that sentence?
   11            Aggregation can provide                11       A. I do.
   12   benefits in that it cuts down on certain        12       Q. And we'll get more into the
   13   kinds of noise, and it also -- it steps away    13   specifics on that, but how is that so, where
   14   from certain kinds of endogeneity problems,     14   your assumption was that everything was
   15   but I'm sure we will talk more about -- but     15   unlawful? How could you particularize your
   16   we talked a little bit about --                 16   model to any quantum that counsel proves?
   17   BY MR. ROTH:                                    17            MR. SOBOL: Objection.
   18       Q. How did you know?                        18       A. Sure. My Table 3 does that,
   19       A. -- in terms of Datta and Dave,           19   for example, by backing out individual
   20   the endogeneity problem that they're            20   defendants and saying, okay, let's just
   21   interested in is that physicians who have a     21   assume that, in fact, defendant X was not
   22   propensity to prescribe your drug are the       22   involved. So it can be done that way.
   23   ones you detail. But when we aggregate, when    23            It could be done
   24   we go up to the aggregate level, we don't       24   propositionally. It could be done by saying,
   25   have that same endogeneity problem, so...       25   no, it wasn't 1995; it really didn't start
                                             Page 143                                            Page 145
    1        Q. Thank you for saying                     1   until 2000. That's what I mean by "any
    2   endogeneity before I did so I made sure I got    2   quantum," is that we could divide the
    3   it right. And we will talk about it.             3   marketing in any measurable way over my
    4             But is it also true that               4   model.
    5   aggregation can sometimes mask patterns in       5   BY MR. ROTH:
    6   the data?                                        6       Q. What if the quantum of
    7        A. Well, yes, but you have to be            7   promotional efforts that counsel proved
    8   interested in those patterns for that to be a    8   unlawful was influencing key opinion leaders
    9   problem. So if, in fact, there are patterns      9   to change prescribing standards, how would
   10   in the data, my task as I understand it is to   10   your model be used to evaluate conduct in
   11   look at the aggregate effect of marketing, so   11   that situation?
   12   that's just not a question that I was           12       A. I haven't been asked to look at
   13   particularly interested in here.                13   that, so I'd need to really give that some
   14             It's true that an average             14   thought. I wouldn't call that a quantum. I
   15   effect will mask differences, if there are      15   would call that something else, and I'm not
   16   any.                                            16   going to make up words, but that's more of a
   17        Q. Okay. So going back to                  17   sort of qualitative piece. But in theory,
   18   paragraph 11 of your report.                    18   that's possible. I have not looked at that.
   19        A. Yeah.                                   19       Q. And that's a good
   20        Q. This is your summary of                 20   clarification. When you say quantum, you
   21   opinions. Do you see that?                      21   mean quantitative, not qualitative, right?
   22        A. Yes.                                    22       A. That's what I meant, yes.
   23        Q. And you also have a handy               23       Q. So you could take out specific
   24   chart, which we'll talk about later, but I      24   defendants or percentages, but you could not
   25   just want to focus on paragraph 11 first.       25   modify your model using a qualitative test
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    1   for unlawfulness to determine what the impact    1   minute.
    2   is?                                              2            So on page 9, the bullet says:
    3            MR. SOBOL: Objection.                   3   Based upon my analyses and assumptions from
    4        A. I would not conclude that                4   counsel about the extent of promotion that
    5   without giving some thought. I'm sure it         5   can be proven to be unlawful, I can
    6   couldn't be done for every qualitative           6   reasonably identify approximately
    7   example that you could come up with, but I       7   of MMEs during the period of my analysis as
    8   think that there are ways of doing it            8   caused by unlawful promotion.
    9   qualitatively, as I, again, did in the           9            Did I read that correctly?
   10   Neurontin matter, looking at promotion to       10       A. You did.
   11   psychiatrists as opposed to other physicians.   11       Q. And the          is the direct
   12   BY MR. ROTH:                                    12   number, and the       is the indirect number
   13        Q. But since you have an aggregate         13   from your models?
   14   national model with aggregate detailing, is     14       A. That's correct.
   15   there a way to go, for example, and figure      15       Q. Okay. And then if you look at
   16   out where the details only to dentists were     16   paragraph 75 -- and we talked about this
   17   if the court concludes that that was the        17   earlier already. But paragraph 75, which is
   18   unlawful activity as opposed to detailing       18   on page 50 under Calculation of But-For MMEs.
   19   writ large?                                     19            Do you see that?
   20        A. I'm not a hundred percent sure          20       A. Yes.
   21   about dentists, but as I used in the            21       Q. You say: I have been
   22   Neurontin matter, there are detailing data      22   instructed by counsel to assume in my but-for
   23   available that would allow you to look          23   scenarios that the fact finder, judge or
   24   nationally by specialty.                        24   jury, finds that all or virtually all
   25        Q. But the detailing data you used         25   promotion by the manufacturer defendants from
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    1   in the Neurontin matter for that exercise is     1   1995 to present was unlawful.
    2   not the same detailing data you used in this     2            Do you see that?
    3   matter for your direct model, correct?           3        A. Yes.
    4       A. It's not exactly the same                 4        Q. And then after the parentheses,
    5   because it was disaggregated by specialty,       5   it says: Thus, to calculate impact for the
    6   but I believe those -- that is possible to       6   purpose of damages beginning in 2006, I
    7   disaggregate by specialty. I've not done         7   modeled a world in which this promotion did
    8   that here.                                       8   not occur, i.e., but-for promotion equals
    9       Q. And you haven't even tested               9   actual promotion for opioids, less all
   10   whether it can be done yet, right?              10   promotion for opioids by the defendants and
   11             MR. SOBOL: Objection.                 11   their surrogates.
   12       A. I have not.                              12            Do you see that?
   13   BY MR. ROTH:                                    13        A. I do.
   14       Q. I'll give you a quantitative             14        Q. And then in Table 2 on the next
   15   measure. What if the court concludes that       15   page, there's actually a note that says: The
   16   any detail over five minutes in length were     16   percent of MMEs attributable to challenged
   17   presumed unlawful, but anything shorter than    17   promotion is calculated as the difference
   18   that isn't? How can you quantify the impact     18   between predicted actual and predicted
   19   of the over-five-minute visits in your model?   19   but-for MMEs, assuming all defendants'
   20       A. As I sit here, I don't know              20   promotion is set to zero starting in 1995
   21   because I haven't thought about it. Clearly     21   divided by predicted actual MMEs.
   22   I would need some data on the length of         22            Do you see that?
   23   details.                                        23        A. Yes.
   24       Q. We'll come back to this, I               24        Q. So your model assumption is
   25   promise, but back to paragraph 11 for a         25   actually, not virtually, all promotion by
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    1   defendants is unlawful; it's that all            1      A.     Again, this is --
    2   promotion by defendants is unlawful?             2            MR. SOBOL: Objection.
    3       A. Yes. I guess the -- sort of               3            But go ahead.
    4   the legal formulation of that, I'm repeating     4            THE WITNESS: Sorry.
    5   there when I say all and virtually all. I'm      5       A. The model treats the right-hand
    6   not sure what virtually all would be             6   side variable as the thing that will be
    7   quantified as, 99%, but I do all, yes.           7   proven to be unlawful, and any sales gained
    8       Q. Okay. And does that not equate            8   from that unlawful conduct as subject to
    9   to assuming that all MMEs prescribed due to      9   recovery. This I know as a, thank you, good
   10   defendants' promotion were medically            10   economist and someone who's done that, that
   11   unnecessary?                                    11   downstream of my analysis there's a damage
   12       A. No, that does not equate to              12   number that plaintiffs I believe will try to
   13   that.                                           13   recover.
   14       Q. So in your model, you could              14            So as an economist, to me, the
   15   have unlawful promotion that leads to           15   theory is that any gains, whether or not they
   16   medically necessary scripts still?              16   resulted in medically necessary
   17       A. I was asked to quantify the              17   prescriptions, are subject to recovery. As
   18   impact of the alleged unlawful promotion, not   18   an economist, that seems like a reasonable
   19   to examine that question about whether that     19   theory if we wanted to deter fraudulent and
   20   prescription itself was medically               20   misleading information. This is the same
   21   unnecessary, so -- so it's something I          21   analysis that I did in the Neurontin case.
   22   haven't looked at and I don't believe it's      22   BY MR. ROTH:
   23   related to my charge.                           23       Q. Stated differently, your model
   24            The fact that the promotion was        24   will calculate causation by defendants'
   25   unlawful to me does not equate to the fact      25   marketing even for medically necessary
                                             Page 151                                             Page 153
    1   that a prescription was medically                1   prescriptions?
    2   unnecessary.                                     2        A. It does not distinguish. And
    3       Q. So if promotion, whether lawful           3   to be clear, whether or not there were
    4   or unlawful, results in a medically necessary    4   medically necessary prescriptions caused by
    5   prescription, how does that prescription         5   the misconduct, I can't say for sure.
    6   cause damage?                                    6        Q. And as an economist, is that
    7            MR. SOBOL: Objection, scope.            7   not something you think you should take into
    8       A. I'm not a lawyer, as you know.            8   account in your but-for world where you're
    9   And sort of what the theory of liability is      9   opining that but for the defendants' conduct,
   10   and what -- what plaintiffs can recover for     10   fewer of these MMEs would be out in the
   11   and what they can't is -- I do not know.        11   world?
   12            I have only been asked to              12        A. Absolutely not. Again, as an
   13   examine the extent to which this unlawful       13   economist, to me, if the allegations are
   14   conduct caused sales.                           14   true, I can see a strong economic rationale
   15   BY MR. ROTH:                                    15   for ensuring that liability is attached to
   16       Q. Okay. You're not a lawyer, but           16   all these ill-gotten gains from the alleged
   17   you're a good economist. You've testified a     17   misconduct.
   18   lot about causation and damages, okay, and      18        Q. But there is a parallel world
   19   you're familiar with what a but-for world is,   19   where a manufacturer may promote lawfully and
   20   right?                                          20   that lawful promotion would result in
   21       A. Yes.                                     21   medically necessary prescriptions, correct?
   22       Q. You have one here?                       22            MR. SOBOL: Objection.
   23       A. I do.                                    23        A. I -- you have a lot of parallel
   24       Q. So how does your but-for world           24   worlds I've noticed, but yes, I think we
   25   treat medically necessary prescriptions?        25   agreed at the beginning of the day that there

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    1   is such a thing as lawful marketing, and it      1   account for just the unlawful off-label
    2   does generate sales.                             2   detailing?
    3             Some of those sales may be             3        A. I assume that you're talking
    4   medically necessary, some may be medically       4   about specific off-label messages. Again, I
    5   unnecessary, even if there's no unlawful         5   haven't -- I haven't thought about how the
    6   conduct.                                         6   detailing itself could be parsed in that way.
    7   BY MR. ROTH:                                     7   There would need to be another source of
    8        Q. I asked some of these                    8   information for that to be possible.
    9   questions, but I did promise I'd come back.      9        Q. You need a different dataset
   10             How would your model work if          10   basically?
   11   the court finds that only detailing visits      11        A. Yes. The thing with detailing
   12   where the representative spoke about            12   is that it's a face-to-face visit, so we can
   13   addiction risk were unlawful?                   13   see what messages the detailer brought on
   14        A. I don't know the answer to that         14   paper with them but not what came out of
   15   question. I have not thought about how one      15   their mouths.
   16   could parse that out, so I don't know as I      16        Q. What if the court finds that
   17   sit here.                                       17   only journal advertising were unlawful? How
   18        Q. You did mention time could be           18   would your model account for that?
   19   quantified, so I guess to clarify, would you    19        A. Well, as I believe I say in my
   20   be able to calculate causation if the court     20   report, the journal advertising data is very
   21   found, for example, that only detailing that    21   spotty for these drugs, so I've not included
   22   happened between 1996 and 2000 were unlawful?   22   that as a separate factor. It's already out
   23        A. Yes, my model is capable of             23   of my model. I would have to give that some
   24   doing any combination of manufacturer and       24   consideration.
   25   time.                                           25        Q. Okay. If we look at
                                             Page 155                                            Page 157
    1       Q. What about drug?                          1   Attachment D, which is towards the back, I
    2       A. And drug.                                 2   want to go to page D6. And there's a section
    3       Q. Okay. So you could do -- you              3   at the bottom --
    4   could take out manufacturers, right?             4              MR. SOBOL: I'm sorry. Wait.
    5       A. Yes.                                      5              MR. ROTH: D6 of Attachment D.
    6       Q. You could take out drugs?                 6              MR. SOBOL: Is it the table?
    7       A. Yes.                                      7              MR. ROTH: No, it's the text.
    8       Q. And you could take out years?             8        It's the technical write-up of the
    9       A. Yes.                                      9        regression.
   10       Q. Okay. Beyond that, is there              10              THE WITNESS: Yeah.
   11   anything you can take out of your model?        11              MR. ROTH: I feel like it's
   12           MR. SOBOL: Objection.                   12        always Attachment D in every case, by
   13       A. Well, as I said earlier, I               13        the way.
   14   believe that it's possible to take out          14              THE WITNESS: Is it?
   15   physician specialties.                          15        Interesting.
   16   BY MR. ROTH:                                    16   BY MR. ROTH:
   17       Q. Right. And we talked about               17        Q. Are you in Attachment D, D6?
   18   that. But you're not certain it can be done,    18              MR. SOBOL: It's just the same
   19   and you haven't tested it yet?                  19        attachment.
   20           MR. SOBOL: Objection.                   20        A. I am.
   21       A. I haven't tested that.                   21   BY MR. ROTH:
   22   BY MR. ROTH:                                    22        Q. It's all in the same report,
   23       Q. What if the court finds that             23   right?
   24   only off-label marketing was unlawful? Is       24        A. You didn't notice? Yeah.
   25   there any way your model can be adjusted to     25        Q. Well, Tom is involved for sure.
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    1   All right.                                       1            Could you have modeled an
    2            So looking at Attachment D,             2   individual manufacturer separately?
    3   page D6. This may be from one of the same        3            MR. SOBOL: Objection, asked
    4   attachments. I don't know. Do you see            4       and answered.
    5   there's a section that says Comcast              5       A. It was not something I
    6   Considerations?                                  6   attempted to do. I think mechanically it is
    7       A. Yes, I do.                                7   possible. But as I noted, one of the reasons
    8       Q. What is the reference to                  8   for using an aggregate time series is that we
    9   Comcast there?                                   9   smooth over a lot of noise in the data, so I
   10       A. Well, again, I'm not lawyer,             10   don't know whether an individual
   11   but I understand that there was a case          11   manufacturer-level model would be feasible.
   12   involving Comcast, and that the -- what it      12   BY MR. ROTH:
   13   concerns, again, from a layperson's             13       Q. Okay. In a but-for world,
   14   understanding, is about the ability of the      14   where all of the unlawful detailing, which is
   15   damages as presented to the court to conform    15   your assumed all defendants' detailing, were
   16   to different conclusions about the but-for      16   replaced with lawful detailing, would there
   17   scenario.                                       17   be any change in overall prescribing?
   18       Q. Essentially the issue we've              18       A. Sorry. I just -- so the model
   19   been talking about for the last --              19   doesn't itself have a presumption about
   20       A. The issue we've been talking             20   lawful and unlawful. The but-for scenario is
   21   about.                                          21   where that presumption is incorporated, so
   22       Q. And why were you concerned               22   the model is the model.
   23   about the application of Comcast to this        23       Q. I asked a bad question and you
   24   case?                                           24   properly called me on it. Let me ask a
   25            MR. SOBOL: Objection, assumes          25   better question.
                                             Page 159                                             Page 161
    1       a fact not in evidence.                      1            If we assume that all unlawful
    2   BY MR. ROTH:                                     2   detailing is lawful, then the actual
    3       Q. Assuming you were.                        3   prescribing and the but-for prescribing in
    4       A. As you recall, the last part of           4   your models would be equal to each other?
    5   my assignment was to report on how my            5        A. Yes, that's correct. Those two
    6   conclusion would be different if there were      6   predicted values would be identical.
    7   different considerations with regard to who's    7        Q. So the percent of MMEs
    8   in, who's out by defendant, for example. So      8   attributed to unlawful detailing in that
    9   yes.                                             9   scenario would be zero percent.
   10       Q. Okay. I'm trying to streamline           10        A. Yes. If marketing were the
   11   here because we've covered more ground --       11   same in both scenarios, then there would be
   12       A. We're going to cover 14 hours            12   no difference.
   13   no matter what --                               13        Q. Assume for a minute that a
   14       Q. That's true.                             14   manufacturer's detailing is found to be
   15       A. -- so streamlining may be good           15   unlawful but it did not engage in any of the
   16   for you, but it's not good for me.              16   other marketing misconduct alleged by
   17            MR. ROTH: I'm having fun. I            17   plaintiffs with respect to the key opinion
   18       think you are too.                          18   leaders, journal advertising and the other
   19            THE WITNESS: Of course.                19   factors.
   20            MR. LONERGAN: What about us?           20            How would your model account
   21   BY MR. ROTH:                                    21   for harm for that specific manufacturer?
   22       Q. Do you agree that your model             22            MR. SOBOL: Objection.
   23   does not measure the impact -- we went over     23        A. In my opinion, that would be a
   24   this. I'm not going to ask that again.          24   legal question because, again, all the
   25   Strike that.                                    25   manufacturers are operating in the same
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    1   ecosystem. According to the complaint and        1   model, that manufacturer has no liability,
    2   everything I know as a health economist, the     2   correct?
    3   effects of one manufacturer's unbranded          3            MR. SOBOL: Objection.
    4   marketing -- I use that to refer to the          4       A. Well, again, my model is
    5   guidelines and those kinds of activities --      5   looking at the aggregate causation between
    6   will spill over on to another manufacturer,      6   marketing and sales; it is not designed to
    7   and I don't know whether it would be             7   assign liability to individual manufacturers
    8   appropriate to pull that out or not.             8   nor, again, am I certain how counsel or the
    9   BY MR. ROTH:                                     9   courts would do so.
   10        Q. That's a long answer. I want            10            The purpose of Table 3 is to
   11   to -- I think I asked a more specific           11   show that I can back out individual levels of
   12   question.                                       12   detailing, not to assign liability. So I --
   13        A. Sure.                                   13   I don't know exactly how that would proceed,
   14        Q. So if detailing is unlawful --          14   even -- even without having these variable
   15        A. Yes.                                    15   assumptions across defendants. I have not
   16        Q. -- and let's say also the other         16   looked defendant by defendant at something
   17   stuff, okay, key opinion leaders influencing    17   like liability.
   18   standards of care is also unlawful, and a       18   BY MR. ROTH:
   19   manufacturer just detailed, they're going to    19       Q. Okay. So let's look aggregate.
   20   have the same percentage of liability in your   20            If for all the manufacturers
   21   direct model whether or not they engaged in     21   the conclusion is that the detailing is
   22   the other unlawful conduct, correct?            22   entirely lawful, but the manufacturers
   23             MR. SOBOL: Objection.                 23   engaged in other conduct that the court finds
   24        A. Yes, that's true. Although              24   is unlawful, what would the result of your
   25   it's true in terms of what I calculate in       25   model be in that world?
                                             Page 163                                             Page 165
    1   Table 3. Just to be clear, I don't have an       1            MR. SOBOL: Objection.
    2   opinion on liability. That's a legal matter.     2       A. I would have to give it some
    3   But what I do in Table 3 is I say, okay,         3   thought, but again, my preferred model
    4   well, what would happen if we said the           4   ultimately captures the effect of all that
    5   detailing by Purdue were lawful, what would      5   other stuff that we're calling as really is
    6   happen there?                                    6   the what happens -- in part, a chunk of it is
    7            So whether or not that quantum          7   what happens to the promotional effectiveness
    8   is exactly what liability is, I don't -- I       8   after the first turning point and before the
    9   don't really know how the court is going to      9   second turning point. And so in theory, one
   10   see that, and so that's why I don't really      10   could look at that, but it would really
   11   know if you would need to say, well, some of    11   depend on the specific set of facts.
   12   why your detailing was so productive was        12   BY MR. ROTH:
   13   caused by somebody else's activity. I don't     13       Q. It would require a new model
   14   know whether it would make sense to back that   14   probably?
   15   out.                                            15            MR. SOBOL: Objection.
   16   BY MR. ROTH:                                    16       A. I don't know that it would
   17       Q. So let's take the opposite.              17   require a new model. It would require a new
   18       A. Yeah.                                    18   but-for analysis.
   19       Q. Someone's detailing is entirely          19   BY MR. ROTH:
   20   lawful. There's no issue there. But they've     20       Q. Back to your body of your
   21   influenced the standards of care through key    21   report, paragraph 64. You say: The
   22   opinion leaders, they've paid off doctors,      22   econometric analyses serve two purposes.
   23   they've done all of the parade of horribles     23   First, they indicate that in economic terms
   24   that the plaintiffs allege, and the court       24   there is a causal relationship between the
   25   finds that that in fact is unlawful. In your    25   defendants' promotion and prescriptions of

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    1   opioids so that if the allegations of           1        A. I would disagree. That is
    2   misconduct are proven true, impact can be       2   exactly what my model does. Again, we can
    3   found.                                          3   agree that I have not separately proven that
    4             Do you see that?                      4   that detailing was unlawful, but I understand
    5        A. Yes.                                    5   that counsel for plaintiffs intend to prove
    6        Q. But you actually didn't assess          6   that, and so I have undertaken to examine the
    7   specifically a causal relationship between      7   causal effect of that allegedly unlawful
    8   promotion and prescriptions, right? Those       8   conduct.
    9   are not the two variables on your X and Y       9   BY MR. ROTH:
   10   axis?                                          10        Q. Which is all promotion by
   11             MR. SOBOL: Objection.                11   defendants?
   12        A. Well, I look at the stock of           12        A. Which is all promotion by
   13   detailing, which I argue and believe is a      13   defendants from 1995 to the end of my data.
   14   reasonable proxy for promotion. It is not,     14        Q. And when does your data end?
   15   strictly speaking, all promotion. To the       15        A. Mid 2018.
   16   extent that it is measured with error, it      16        Q. Okay. Do you plan on updating
   17   understates the effect of promotion.           17   it if we go to trial in 2019 to take us
   18   BY MR. ROTH:                                   18   through today?
   19        Q. If we wanted to be precise,            19            MR. SOBOL: Objection.
   20   though, what your model actually shows is a    20        A. I haven't been asked to do
   21   correlation between detailing and MMEs?        21   that. I don't know if I would be asked to do
   22             MR. SOBOL: Objection.                22   that.
   23        A. Well, as we talked about               23            MR. ROTH: Why don't we take a
   24   earlier and will no doubt talk about again,    24        break, because I realize we've
   25   any regression analysis can have a causal      25        probably covered some of these next
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    1   interpretation or not, depending on a number    1       questions and I can streamline.
    2   of factors.                                     2            THE WITNESS: Okay.
    3            I interpret this regression            3            THE VIDEOGRAPHER: The time is
    4   analysis as showing causation between           4       10:58 a.m. We're now off the record.
    5   marketing and sales, and it does, in fact,      5            (Recess taken, 10:58 a.m. to
    6   use detailing contacts as the measure of        6       11:13 a.m.)
    7   marketing.                                      7            THE VIDEOGRAPHER: The time is
    8   BY MR. ROTH:                                    8       11:13 a.m. We're back on the record.
    9       Q. And if we want to be even more           9   BY MR. ROTH:
   10   precise, when we're talking about defendants   10       Q. Professor Rosenthal, if you
   11   detailing, we're talking about all detailing   11   would please turn to paragraph 59, which is
   12   without distinguishing between lawful and      12   on page 42. All right. So we're going to go
   13   unlawful as we've talked about?                13   step by step here.
   14            MR. SOBOL: Objection, asked           14       A. Okay.
   15       and answered.                              15       Q. You say: My primary dependent
   16       A. For the purposes of my                  16   variable, the outcome to be explained, is the
   17   analysis, I've been asked to assume that all   17   number of MMEs for all drugs at issue in this
   18   detailing in this period was unlawful, so      18   matter.
   19   that distinction is not relevant.              19            Do you see that?
   20   BY MR. ROTH:                                   20       A. Yes.
   21       Q. So your model does not analyze          21       Q. Okay. Why did you look at MMEs
   22   causation between the false promotion as       22   as opposed to prescriptions or some other
   23   alleged in the complaint and the number of     23   measure?
   24   MMEs prescribed?                               24       A. Sure. Because, as I note in
   25            MR. SOBOL: Objection.                 25   this paragraph, the intensity of the medicine
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    1   of promotion are correlated?                     1        A. Yes.
    2       A. Well, as I mentioned, when I              2        Q. Are you certain that every
    3   looked at the IQVIA data for journal             3   manufacturer in this case has made payments
    4   advertisements, direct-to-consumer               4   to pain advocacy groups for opioids?
    5   advertising, sampling, there was very little     5        A. Well, given -- that's -- it's
    6   data there. I have no reason to believe that     6   hard to be certain about something for which
    7   they're just not measuring it. It may be         7   I have incomplete data, so I -- there are a
    8   that there are some kinds of advertising that    8   number of documents that I cite to that show
    9   we see in the marketing budgets that IQVIA       9   these kinds of payments, and I believe other
   10   doesn't capture. But to the extent that the     10   experts have tracked these payments as well.
   11   IQVIA data are complete, it was not really      11            But am I certain that every
   12   possible to do a correlation analysis because   12   defendant has evidence of that type? No, I'm
   13   there was so little data for these other        13   not certain.
   14   tools.                                          14        Q. And then you wrap up this
   15       Q. So when you say it's a                   15   paragraph saying: Note that in this case
   16   reasonable expectation that other forms of      16   there appears to be substantial evidence that
   17   marketing follow detailing, that's really       17   through means other than promotional
   18   just an assumption based on your experience     18   spending, the defendant manufacturers
   19   with other drugs in other cases?                19   fundamentally changed opioid prescribing
   20       A. It's based on my experience              20   standards. The direct approach does not
   21   with very similar kinds of analyses with        21   calculate the efforts -- the effects,
   22   other drugs. And again, I cite to               22   sorry -- of the nonpromotional marketing and
   23   Dr. Perri's report at the beginning of this     23   is thus conservative.
   24   where he talks about the coordination of        24            Do you see that?
   25   marketing mechanisms, so it's very consistent   25        A. Yes.
                                             Page 191                                            Page 193
    1   with his opinions as well.                       1       Q. But that's not universally true
    2       Q. Yeah. But to be clear, that's             2   for all manufacturers, is it?
    3   an assumption you're making that's not           3             MR. SOBOL: Objection.
    4   supported by any specific work you've done to    4       A. Again, my opinions here really
    5   confirm it's true that detailing and other       5   are to look at the market as a whole, and
    6   forms of promotion are correlated for            6   even if there were a defendant that did not
    7   opioids?                                         7   incur this kind of spending, the effects of
    8            MR. SOBOL: Objection, asked             8   changing things like guidelines would --
    9       and answered.                                9   would flow through to everyone's drugs,
   10       A. Again, the analysis -- the               10   right.
   11   correlation analysis was not possible here,     11             So these are sort of broad
   12   so I'm relying on my past experience and        12   changes in the environment of prescribing,
   13   Dr. Perri's expertise.                          13   and so again, I don't have an opinion on the
   14   BY MR. ROTH:                                    14   liability question of whether there's a
   15       Q. Okay. Then you say: Third,               15   defendant who has not undertaken the
   16   alternative measures of promotion that I        16   unbranded advertising, whether they therefore
   17   could obtain from available sources have        17   should not be liable for its effects. I
   18   substantial missing data, e.g., estimates of    18   don't know the answer to that.
   19   payments to pain advocacy groups can only be    19   BY MR. ROTH:
   20   obtained from the records of some, but not      20       Q. What if a manufacturer engages
   21   all manufacturers.                              21   only in limited detailing and not other types
   22            Do you see that?                       22   of promotional activities? It would not be
   23       A. Yes.                                     23   conservative for that manufacturer to only
   24       Q. And that's what we've been               24   look at detailing, correct?
   25   talking about.                                  25       A. The purpose of my analysis is
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    1   not to assign liability to individual            1   that there's variation in the way
    2   defendants. It's to look at the aggregate        2   manufacturers detail, the specific details
    3   effect. So I don't know what would be            3   may generate more prescriptions or fewer, and
    4   appropriate. That to me seems like a legal       4   my model captures the average effect. That's
    5   question.                                        5   what the coefficients basically tell us is
    6       Q. Would it be conservative from             6   the average effects.
    7   an economic perspective if a manufacturer        7            So there may be variation in
    8   purchases an opioid product in, say, 2008 and    8   there, but for the purposes of calculating
    9   engages in detailing but no other marketing?     9   aggregate impact, the average is appropriate.
   10       A. I do not calculate any                   10       Q. So for manufacturers who have
   11   estimates at the individual defendant level,    11   detailing that's below average, they're being
   12   so I cannot characterize them as conservative   12   brought up to the average by the way you've
   13   or otherwise. I'm only looking at aggregate     13   aggregated the model in terms of causation?
   14   effects.                                        14       A. Well, by definition, an average
   15       Q. Okay. I'm just trying to get             15   will be not the same as all the individual
   16   at what you mean when you say the direct        16   components unless there's no variation, and
   17   approach is conservative. It strikes me that    17   so there will be some who are brought up and
   18   for a defendant who didn't participate in the   18   some who are brought down.
   19   market ecosystem until late in the game and     19            It's my belief, as we talked
   20   only detailed, it's actually the opposite of    20   about before, that this aggregate model is
   21   conservative the way your model calculates      21   the most reliable model; because there's
   22   damages.                                        22   substantial spillover effects, because there
   23            MR. SOBOL: Objection.                  23   can be noise in the data when we try to
   24       A. I believe that is inaccurate.            24   disaggregate it too much. I think for that
   25   My model does not calculate damages for any     25   reason, the aggregate model is preferable.
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    1   individual defendant, period.                    1        Q. You know, though, that not
    2   BY MR. ROTH:                                     2   every manufacturer markets products the same
    3        Q. Causation, sorry, I should have          3   way?
    4   said.                                            4        A. I guess -- I'm not exactly sure
    5        A. So again, because I am not               5   how to answer that question. As we've talked
    6   looking at impact for an individual              6   about before, I am not a pharmaceutical
    7   defendant, we cannot characterize my analysis    7   marketing expert. I leave that to Dr. Perri.
    8   as conservative or otherwise for an              8   I think it's reasonable to assume that there
    9   individual defendant. It is for the market       9   is some variation in tactics and the like
   10   as a whole.                                     10   across manufacturers and perhaps across
   11        Q. Okay. So when you say in                11   products.
   12   paragraph 56 that the approach is               12        Q. Well, let's look at one thing
   13   conservative, you mean on an aggregate basis    13   you do talk about. So there's a difference
   14   it is conservative because it looks at          14   in the way promotion is engaged in by brand
   15   detailing and not other things?                 15   companies and marketing may be engaged in by
   16        A. That's correct.                         16   generic companies, correct?
   17        Q. Okay. Sort of implicit in that          17        A. Yes, brand companies are
   18   statement and other things you've said today    18   primarily the ones that engage in marketing.
   19   is an assumption that all manufacturers         19        Q. A generic company might still
   20   market opioids the same way.                    20   detail but may just talk about price and
   21            MR. SOBOL: Objection.                  21   formulary status?
   22   BY MR. ROTH:                                    22            MR. SOBOL: Objection.
   23        Q. Do you agree with that?                 23        A. Generally, manufacturers will
   24        A. I don't believe so. Again, I            24   not detail physicians for generics. They may
   25   include in my model detailing. To the extent    25   have other sales force activities that they

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    1   do that relate to price, but individual          1   there's not an attribution underneath that.
    2   physicians are not generally making a            2             And furthermore, as we know,
    3   decision about one generic versus the other.     3   that detailing for the brand drug will spill
    4   That decision happens at the pharmacy.           4   over to the generic drugs too, and so it's
    5   BY MR. ROTH:                                     5   entirely appropriate that the model allows
    6        Q. But Attachment C contains a              6   that to happen.
    7   slew of generics on that list?                   7        Q. So maybe we're talking past
    8        A. That's correct. Some of them             8   each other.
    9   have contacts related to them. Some of them      9             I understand the model works
   10   don't. Some of those contacts relate to         10   that way.
   11   marketing agreements that are really for        11        A. Yeah.
   12   brand drugs.                                    12        Q. What I'm talking about, which
   13        Q. So how do you square your               13   we'll get to later, is your Table 3 allocates
   14   testimony a minute ago that generics            14   drugs to specific manufacturers, including
   15   generally don't detail with the fact that you   15   generic manufacturers, and I'm just trying to
   16   have a lot of promotional contacts in your      16   understand how that works in a world where we
   17   model for generic drugs?                        17   agree that generic drugs generally aren't
   18            MR. SOBOL: Objection.                  18   detailed.
   19        A. I believe I just squared it. I          19        A. So Table 3, it sits on top of a
   20   think a lot of those contacts relate to         20   somewhat more complicated analysis, but what
   21   marketing agreements.                           21   it in effect does is it takes the detailing
   22   BY MR. ROTH:                                    22   associated with each of those defendants and
   23        Q. And so if there's marketing             23   treats it separately, depending on where we
   24   under a marketing agreement, that gets          24   are in the table.
   25   attributed to the generic drug, even though     25             So, you know, at the top for
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    1   it may be different in kind than a branded       1   Actavis, to the extent that Actavis has
    2   drug promotional visit?                          2   detailing in my data, the row that says,
    3            MR. SOBOL: Objection.                   3   well, what would the damages look like or
    4       A. No. The marketing of a                    4   what would impact look like if Actavis'
    5   particular drug is identified, and if the        5   detailing was deemed to be lawful? Basically
    6   drug is sold by a defendant manufacturer,        6   we've taken out their detailing, out of --
    7   even if it's detailed by a different             7   we've left it in basically in a but-for
    8   manufacturer, that gets counted in my model.     8   world. It happens because it's lawful.
    9   And then in Table 3, I take out those            9             So that's how -- that's how the
   10   marketing agreement related drugs.              10   allocation works, is in Table 3, it's by
   11            So -- so it's -- the marketing         11   manufacturer.
   12   is associated with -- I mean, I look at         12        Q. Okay. We'll get there.
   13   aggregate marketing, so it's all in the         13        A. Okay.
   14   aggregate marketing. But I do have a            14        Q. But that's helpful.
   15   mechanism for pulling out marketing that's      15             If you look back at
   16   for someone else's drug.                        16   paragraph 55, I mean, you acknowledge that
   17   BY MR. ROTH:                                    17   detailing is undertaken by the brand name
   18       Q. So if that's the mechanism               18   drugs in the class, typically peaks during
   19   you're using, how are any of these detailing    19   initial launch, and ceases shortly before or
   20   contacts being attributed to generic drugs in   20   after the AB-rated bioequivalent generic
   21   your model?                                     21   drugs enter.
   22            MR. SOBOL: Objection.                  22        A. That's correct.
   23       A. I think you misunderstand the            23        Q. And how does your model account
   24   nature of the model. The model uses             24   for detailing at different points of a
   25   aggregate MMEs and aggregate detailing, so      25   product's life cycle, close-to-launch
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    1   detailing versus the period right before         1   of does the detail generate more MMEs.
    2   generic entry?                                   2             So for my purposes, I really
    3        A. My model is an aggregate model,          3   only want to understand does the detail
    4   so I'm looking across drugs in the entire        4   generate more MMEs. And again, because I'm
    5   market, and those drugs are at different         5   looking at the aggregate, the fact that some
    6   stages in their life cycle. And so the           6   drugs are ending and others are beginning,
    7   important input to my model is the level of      7   that -- that sort of -- that mix, it may
    8   detailing, not where it is in the course of a    8   change a little bit over time, but I'll be
    9   product's life cycle.                            9   looking across a set of drugs at different
   10            But we know that the bolus of          10   stages.
   11   detailing happens for these new products, and   11       Q. Okay. But what I described
   12   so that is incorporated into the data.          12   might be relevant to the question of whether
   13        Q. So it's incorporated in the             13   the detailing was lawful, correct?
   14   sense that you'll see more contact at the       14       A. I don't know what you mean by
   15   beginning of the life cycle than at the end     15   that.
   16   of the life cycle?                              16       Q. Right. So we've established
   17        A. That's correct.                         17   this, I think, but just to try it one more
   18        Q. But the detailing that happens          18   time: Because your model is just focusing on
   19   at the beginning of the life cycle could be     19   whether detailing impacts the aggregate
   20   qualitatively different than the detailing      20   number of MMEs, you don't evaluate any
   21   that happens at the end of the branded life     21   qualitative difference in the kind of
   22   cycle.                                          22   detailing that is occurring?
   23            Would you agree with that?             23             MR. SOBOL: Objection, asked
   24            MR. SOBOL: Objection.                  24       and answered.
   25        A. I don't know that to be true.           25             ///
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    1   BY MR. ROTH:                                     1   BY MR. ROTH:
    2       Q. As an economist, I mean, when a           2       Q. Is that a fair statement?
    3   product is launched, you would expect more       3            MR. SOBOL: Asked and answered.
    4   detailing about clinical studies and things      4       A. I -- you had a "because" at the
    5   designed to promote a new product that           5   beginning of that sentence, which doesn't
    6   physicians might be unaware of, right?           6   make sense to me. I am not looking at the
    7       A. It may be that there is more of           7   content of the detailing as we talked about
    8   that sort of baseline information at the         8   this morning. I am assuming the plaintiffs
    9   beginning.                                       9   will prove their case.
   10       Q. Right. And at the end of a               10            I understand that you think
   11   product's life cycle, when the generics are     11   differently and you're trying to probe
   12   about to come on the market, you might expect   12   whether I've tried to disaggregate the
   13   the detailing to focus more on things like      13   detailing.
   14   price and availability and formulary status     14            I have not tried to
   15   and things of that nature, right?               15   disaggregate the detailing by drug or over
   16       A. I have seen no detailing                 16   time. It is possible to do that, but I have
   17   information that pertains to price. I can't     17   not done that.
   18   say that it never happens, but I've certainly   18   BY MR. ROTH:
   19   never seen that.                                19       Q. So in your direct model, just
   20            What that sort of -- what              20   like all MMEs are created equal, all
   21   you've just described here is on the one hand   21   detailing contacts are created equal?
   22   saying, hey, there's this new drug early on,    22            MR. SOBOL: Objection.
   23   and don't forgot your old friend at the end,    23       A. Again, I would acknowledge that
   24   something to that effect. Those -- those        24   there's variation in detailing and that my
   25   differences are not relevant to the question    25   model captures the average effect.
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    1   BY MR. ROTH:                                     1             When you say that rivalrous
    2        Q. And it captures the average              2   marketing is a noneffect, what you mean is
    3   effect by treating each contact the same?        3   you don't assess whether the marketing was
    4             MR. SOBOL: Objection.                  4   rivalrous or not, because in either case,
    5        A. Well, I guess sort of an                 5   your view is it will potentially lead to
    6   average effect means that sort of                6   increased MMEs, so it gets counted?
    7   tautologically, I'm summing up all of the        7             MR. SOBOL: Objection, form,
    8   effects.                                         8        asked and answered.
    9   BY MR. ROTH:                                     9        A. I am interested only in a
   10        Q. Does your model account for             10   particular kind of impact, and that impact is
   11   rivalrous marketing?                            11   an increase in the number of MMEs. If there
   12        A. I'm so happy that we've gotten          12   is marketing that changes the drug people
   13   back to this.                                   13   take without affecting their MMEs, then I
   14             MR. SOBOL: That makes one of          14   ignore that.
   15        us.                                        15             Let's just say there's unlawful
   16        A. The aggregate model that I put          16   conduct and you earn money off of it, but
   17   forth is intended to essentially obscure the    17   it's really only because you've switched
   18   rivalrous marketing, so to the extent that      18   brands. That, I'm not counting, so that's a
   19   marketing only moves people from hydrocodone    19   kind of rivalrous marketing effect that's not
   20   to oxycodone or the other direction, whatever   20   being counted in my impact assessment.
   21   it is, that will show up as a noneffect in my   21             I'm only concerned about market
   22   model.                                          22   expansion by definition. Economists can be
   23             So I'm only looking at market         23   interested in both of those things, but for
   24   expansion because the question I care about     24   my purpose, I'm only interested in market
   25   is market expansion.                            25   expansion.
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    1   BY MR. ROTH:                                     1   BY MR. ROTH:
    2        Q. I'm not sure I followed your             2       Q. I'm just trying to understand
    3   answer. So how does it show up as a              3   functionally how that happens.
    4   noneffect if you're including that contact in    4            So the reason you're saying
    5   your regression analysis, whether it was new     5   that is because you're only looking at the
    6   drug promotion or rivalrous marketing?           6   delta, the change in MMEs, and so if there's
    7        A. I think the way you're looking           7   no change, then the rivalrous marketing
    8   at rivalrous marketing is a bit different        8   doesn't get counted? I'm just struggling
    9   than the way I would look at it. And this        9   with the mechanics.
   10   goes back to a conversation we had before       10       A. Sure. Let me try to explain.
   11   where I think there was a little bit of a       11            If we had two drugs in the
   12   disconnect.                                     12   market and we looked at their marketing
   13            So it may well be that you go          13   separately, we could ascertain whether your
   14   to the detail and what you want to talk about   14   marketing increases your sales, right, and --
   15   is why you're better than the other guy. But    15   and then what we wouldn't know is, is that
   16   still, what happens is you actually increase    16   increase coming from new patients, or is it
   17   the use of any product in this class.           17   coming from the decrease in someone else's
   18            So what I'm concerned about is         18   sales. So we could use a system kind of
   19   not the intent of the marketing but the         19   analysis to show what's happening.
   20   effect of the marketing. You seem focused on    20            So people have done this in
   21   the intent.                                     21   prescription drugs. I know you've spent some
   22        Q. I do. But now I think you've            22   time with the literature, and they're curious
   23   helped me, and your answer is actually the      23   about when you increase your sales, does it
   24   opposite of what I understood it to be          24   come at someone else's expense or are you
   25   before.                                         25   just growing the market. And in different
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    1   drug classes, those two things seem to           1   turning points is that they -- that is
    2   operate differently.                             2   incorporating these many different events and
    3             But if you were to add those           3   tactics.
    4   two drugs together and say, okay, for any        4       Q. So the unbranded marketing is
    5   herpes treatment, what's the total effect of     5   captured by the way you do the breaks and the
    6   marketing? Then what you would get is only       6   way you test for these five events in
    7   the market expansion effect. You would wash      7   Model C, correct?
    8   out any of the market stealing because your      8       A. That's correct.
    9   gain is my loss. And so those two things         9       Q. But the unbranded marketing is
   10   would net out and you'd only get the net        10   not captured in the detailing contacts you
   11   result. So that's what I'm doing here.          11   use for your stock of promotion?
   12        Q. So the mechanics are because            12       A. That's correct.
   13   it's an aggregate model that's aggregating      13       Q. How does your model account for
   14   all contacts and aggregating all scripts, it    14   the peer-to-peer marketing that I think you
   15   comes out in the wash if it's rivalrous?        15   or Dr. Perri describes as a contagion
   16        A. Exactly. Rivalrous, again, my           16   phenomenon in paragraph 25?
   17   definition of rivalrous is my sales come from   17       A. Yeah. So that phenomenon will
   18   you and that those two things fully offset.     18   get picked up in marketing effectiveness,
   19        Q. Okay. But the detail itself is          19   because again, we're looking at aggregate
   20   still counted in the model, because you're      20   prescribing and not just the prescribing of
   21   not actually looking substantively at the       21   the targeted physicians.
   22   detail to determine what happened?              22            So, you know, as -- we can go
   23             MR. SOBOL: Objection.                 23   back to our favorite paper by Datta and Dave,
   24        A. That is correct. The detail is          24   they're looking at individual physicians.
   25   still in the model, and where the rivalrous     25            It could well be, of course,
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    1   piece shows up is that it dampens the            1   detailing physician A causes physician B's
    2   effectiveness of marketing that we measure.      2   prescribing to increase; they're not really
    3   BY MR. ROTH:                                     3   looking at that because they're only looking
    4       Q. Okay. We're finally on the                4   within physician. But we, for the same
    5   same page then.                                  5   reasons that I can capture market expansion
    6            How does your model account for         6   appropriately, aggregating up across doctors
    7   unbranded marketing?                             7   here allows me to capture that contagion
    8       A. Well, in two ways. In Model C,            8   effect.
    9   I explicitly put in some of those events. We     9       Q. We do agree, though, that at an
   10   can look at exactly which ones they are.        10   individual prescriber, individual detail
   11       Q. I was saving this for later,             11   visit level, there could be variation in the
   12   but we can --                                   12   impact that visit has?
   13       A. I know, it sounds like an                13       A. There may be variation in the
   14   after-lunch conversation, but the consensus     14   impact of detailing on an individual
   15   statement from the American Academy of Pain     15   prescriber and her network and my model will
   16   Management and the American Pain Society, the   16   average that, will generate a result that
   17   Federation of State Medical Boards              17   captures the average.
   18   Guidelines, the JCAHO pain standards            18       Q. And we talked a little bit
   19   released.                                       19   earlier about some of the variability in the
   20            So these, I understand that            20   way detailing occurs. I think I used the
   21   plaintiffs intend to prove they were            21   pizza example.
   22   manipulated by the defendants. So I put         22            Do you remember that?
   23   those explicitly in Model C.                    23       A. I remember pizza.
   24            And then as I describe Model B         24       Q. Okay. I want to come back to
   25   and my rationale and the way I interpret the    25   that for a minute maybe because it's

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    1   lunchtime.                                       1   mean by simply. I think we're getting into a
    2            Not every detail visit occurs           2   question about what and how will be proven to
    3   the same way in terms of time spent and what     3   be unlawful. And if the question is was
    4   is disseminated from the pharmaceutical sales    4   certain information omitted, then the fact
    5   representative to the doctor, correct?           5   that the information that was provided was in
    6            MR. SOBOL: Objection, asked             6   some way not challenged, to me, seems like it
    7       and answered.                                7   could still be a problem.
    8       A. I would not disagree that                 8             But the larger issue is that I
    9   details can be different day of the week,        9   think it's not appropriate to try to pull
   10   whether there's food involved, how much time.   10   these detail visits off one at a time. If
   11   BY MR. ROTH:                                    11   there was some messaging around the utility
   12       Q. And frankly, who is detailed,            12   of treating patients with opioids at an
   13   because it could be a prescribing doctor or     13   earlier visit and these later visits are just
   14   it could be a nurse practitioner, it could be   14   reminder visits, again, I'm not -- I'm not
   15   some other healthcare professional in the       15   trying to prove liability here, but to me as
   16   doctor's office, right?                         16   an economist, it seems like they could well
   17       A. Yes, that's correct.                     17   be connected.
   18       Q. And does the IQVIA data you've           18   BY MR. ROTH:
   19   looked at distinguish between the target of     19       Q. And they all count the same way
   20   the detail?                                     20   as the average?
   21       A. It distinguishes between                 21       A. All -- all details in my data
   22   office-based and hospital-based physicians,     22   are included in the right-hand side, and they
   23   but it does not distinguish by licensure as     23   produce an average effect, and then I back
   24   you've just described.                          24   out those particular ones deemed unlawful.
   25            And again, what I'm interested         25       Q. And similarly, if the detail is
                                             Page 215                                            Page 217
    1   in is the aggregate impact, and therefore,       1   corrective messaging designed to dampen the
    2   the average across that variation is             2   effects of some prior materials that FDA has
    3   appropriately subsumed in my analysis.           3   issued a warning letter on, those detail
    4        Q. Right. And because you used              4   visits get picked up by your data as well?
    5   the average, whether the sales rep makes         5            MR. SOBOL: Objection.
    6   contact with the prescribing doctor and          6       A. I think you need to understand
    7   spends 15 minutes discussing the virtues of      7   what the regression is doing. It is not just
    8   opioids or whether the sales rep quickly         8   saying sales are strictly promotional to
    9   speaks to a nurse practitioner to leave the      9   detailing. It's trying to look at that
   10   coffee mug will get treated the same as an      10   effect, and, in fact, in the last period of
   11   average in your model?                          11   my three-period model, the effective
   12        A. Yes. And that is appropriate            12   promotion is declining.
   13   if you're interested in the aggregate effect.   13            To the extent that there's
   14   If I were interested in comparing the           14   corrective messaging, that may be one of the
   15   difference between a detail with pizza versus   15   factors that is decreasing the effectiveness
   16   a detail without pizza, then I would want to    16   of promotion, and so there are not MMEs
   17   look at them. But I'm only interested in the    17   assigned to have been produced by that
   18   aggregate effect.                               18   detail.
   19        Q. Are you aware that detailing            19   BY MR. ROTH:
   20   could be limited to simply providing            20       Q. Let me just ask a simpler
   21   literature that contains information            21   question: Yes or no, are details that are
   22   contained in the package insert or approved     22   simply designed to provide corrective
   23   by the FDA in promotional materials?            23   messaging included in your stock of
   24            MR. SOBOL: Objection.                  24   promotion?
   25        A. I'm not exactly sure what you           25            MR. SOBOL: Objection, asked
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    1       and answered.                                1       A. I am, as we've noted earlier,
    2       A. I really have no idea about               2   operating on the assumption that the
    3   whether such details exist. My model             3   defendants' conduct during the relevant
    4   includes all detailing over the period from      4   period was unlawful, and my model uses a
    5   1995 to 2018 based on the instruction that I     5   single measure of detailing and therefore
    6   was given to consider that unlawful.             6   averages across allegedly lawful and unlawful
    7   BY MR. ROTH:                                     7   details.
    8       Q. Okay. Without distinguishing              8   BY MR. ROTH:
    9   between the quality or extent of those           9       Q. Let's look back at Datta and
   10   detailing visits?                               10   Dave because you asked to.
   11            MR. SOBOL: Objection, asked            11       A. Okay.
   12       and answered.                               12       Q. It's Exhibit 5, for the record,
   13       A. I do not distinguish among               13   and I -- can you turn with me to page 454.
   14   those details, no.                              14       A. Okay.
   15   BY MR. ROTH:                                    15       Q. So at the top of the page it
   16       Q. And I think we talked about              16   says: Thus, detailing plays a role in
   17   this, but I'm not sure.                         17   educating providers about newer drugs and
   18            You don't differentiate between        18   their attributes and may have information
   19   which physician practice groups were targeted   19   value early in a product's life cycle,
   20   by the details in your model?                   20   whereas later in the life cycle, its role can
   21            MR. SOBOL: Objection, asked            21   be predominantly persuasive and chiefly
   22       and answered.                               22   relegated to delivering samples and
   23       A. As I noted, my detailing                 23   reminders.
   24   measure is national. It's aggregate. It         24             Do you see that?
   25   does not distinguish at a level below that.     25       A. I do.
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    1   BY MR. ROTH:                                     1       Q. And then at the end of the
    2       Q. Do you have any view as to                2   paragraph, they say: Because detailing can
    3   whether allegedly deceptive marketing is more    3   affect both selective (brand centric) and
    4   impactful than truthful marketing?               4   primary (market) demand under these views --
    5       A. I think I do discuss this in my           5   citation to Dave and Kelly, 2014 -- the
    6   report, and there's an economic theory           6   question cannot be resolved based on theory
    7   related to the profitability of fraud and        7   alone, and empirical evidence needs to bear
    8   some evidence from other sectors that suggest    8   upon the question.
    9   that for something unlawful to be undertaken     9            Do you see that?
   10   when lawful activities are possible, that it    10       A. Yes. Just to be clear, what
   11   must be more profitable because there's some    11   they're talking about there is the welfare
   12   cost associated with matters such as this       12   effects of marketing, and that is a separate
   13   one. And so that would suggest that that        13   question than the one that we're discussing
   14   kind of marketing must be more profitable       14   here.
   15   than marketing to other physicians.             15       Q. It's the same issue that we've
   16            I think this is -- it depends          16   been going around on, right? You're not
   17   on what assumptions we're making about the      17   looking at the welfare, you're not looking at
   18   intention and knowledge of the various          18   the quality; you're just looking to see if
   19   actors. So I think it could go either way.      19   there's a correlation between detailing
   20       Q. But within your model, within            20   visits as a stock of promotion against
   21   the time periods of your model, you treat       21   MMEs --
   22   each of the details equally because in your     22            MR. SOBOL: Objection, asked
   23   view, you assume them all to be equally         23       and answered.
   24   unlawful at this point in time?                 24   BY MR. ROTH:
   25            MR. SOBOL: Objection.                  25       Q. -- on an aggregate basis.

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    1   rate is about here.                              1   literature do you have to opine that the
    2   BY MR. ROTH:                                     2   addictiveness of opioids means that doctors
    3       Q. So is your suggestion that the            3   are prescribing higher and higher dosages to
    4   doctors are addicted to writing                  4   their patients?
    5   prescriptions?                                   5            MR. SOBOL: Objection, asked
    6            MR. SOBOL: Objection.                   6        and answered.
    7       A. I didn't say that.                        7        A. If you look at Figure 3, this
    8   BY MR. ROTH:                                     8   is where I empirically demonstrate what's
    9       Q. So when you say it's the                  9   happening with the strength --
   10   addictiveness, your suggestion is because the   10            MR. SOBOL: Page?
   11   patient may become addicted, the doctor is      11            THE WITNESS: Oh, sorry.
   12   going to continually ratchet up the dosage      12        Page 37.
   13   for that patient?                               13   BY MR. ROTH:
   14            MR. SOBOL: Objection.                  14        Q. Right. That's on an aggregate
   15       A. You make it sound like the               15   basis. I asked you a different question.
   16   opioid epidemic is speculative. It is           16   With --
   17   clearly true that patients who started on a     17        A. No, no, no. I'm sorry, but the
   18   particular dose of opioids get higher and       18   aggregate basis means that the average MMEs
   19   higher doses. That has -- that is just          19   per prescription is escalating at this very
   20   common knowledge, and other experts have        20   high rate. That means that some large number
   21   opined on that.                                 21   of patients under it -- for it to increase at
   22            And so it is a fact of the             22   this rate, it cannot be that just a handful
   23   matter that some patients will require          23   of patients are getting more.
   24   escalating values in terms of the number of     24        Q. It could just be, though, that
   25   MMEs, whether they're addicted or not, and      25   stronger drugs are prescribed. It doesn't
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    1   then also it is true that some of those          1   mean that a specific patient is getting
    2   patients will become addicted. I think           2   higher and higher doses because of the
    3   there's no question in the literature about      3   addictiveness of opioids.
    4   whether prescribed opioids cause addiction.      4            MR. SOBOL: Objection.
    5   So that is true.                                 5        A. I do not derive that -- these
    6            And the fact of the matter is           6   data really show that higher and higher doses
    7   that I'm not describing physician behavior as    7   of MM- -- of opioids are being prescribed. I
    8   addictive; but if those patients come back to    8   mean, that's just literally what they show.
    9   their physician and say, "My pain is getting     9   The MMEs per prescription is increasing.
   10   worse, I need another prescription," then in    10            So that is showing that --
   11   some instances it will be filled.               11   whether it's addiction or not, that patients
   12   BY MR. ROTH:                                    12   are getting higher and higher doses. That
   13       Q. What percentage of patients              13   mechanically will have the effect of making
   14   need escalating doses of opioids?               14   it look like past promotion is suddenly more
   15            MR. SOBOL: Objection, scope.           15   effective today than it was yesterday.
   16       A. I'm not a clinical expert. My            16   BY MR. ROTH:
   17   analysis is entirely empirical. If this were    17        Q. And so, in effect, your
   18   not happening, my analysis would not find       18   depreciation rate is an appreciation rate in
   19   that these MMEs are inflating over time in      19   your model.
   20   the way they are.                               20            MR. SOBOL: Objection.
   21   BY MR. ROTH:                                    21        A. You may use that term. I think
   22       Q. I know you're not a doctor, so           22   it's more standard to call it a depreciation
   23   I'm just trying to understand, like what --     23   rate. Also, as you know, I estimate multiple
   24   you say it's common knowledge.                  24   models, and they don't all have a negative
   25            What basis in science or               25   depreciation rate.
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    1   BY MR. ROTH:                                     1   we're actually seeing reductions in sales.
    2        Q. What do your models say about a          2        Q. You agree that an appreciating
    3   single detailing visit in January 1995 with      3   depreciation rate is at odds with the usual
    4   regard to its impact today?                      4   marketing literature in economics?
    5            MR. SOBOL: Objection.                   5             MR. SOBOL: Objection.
    6        A. Can you explain what you mean            6        A. I don't know that it's at odds
    7   by that?                                         7   with the underlying theory of marketing.
    8   BY MR. ROTH:                                     8   Because this is an addictive good, I think
    9        Q. Yeah.                                    9   it's a very different set of circumstances.
   10            So the way your stock of               10             Usually we do see depreciation
   11   promotion is calculated, it keeps               11   falling, but I would note also that this is a
   12   aggregating. So would a visit in                12   special case, as we've talked about many
   13   January 1995 still be growing in impact in      13   times today. I'm interested in this entire
   14   your model?                                     14   market and not one drug.
   15        A. In the fact -- in the models            15             And so usually when the
   16   with the negative depreciation rates, the       16   marketing literature is looking at this,
   17   past promotion continues to grow, yes.          17   they're looking at an individual drug, maybe
   18        Q. And at what point does it reach         18   even an individual physician. And here we're
   19   its maximum impact?                             19   really talking about the growth of an entire
   20        A. Well, I think you should not            20   set of practices around the use of opioids.
   21   try to extend the analysis out of sample.       21   BY MR. ROTH:
   22   Again, what I show in my model is while on      22        Q. You say in your report: A
   23   average, because I estimate a single negative   23   negative depreciation rate indicates that the
   24   depreciation rate, we see this negative         24   stock of promotion grows over time.
   25   depreciation rate, but we also find that the    25             Correct?
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    1   effectiveness of promotion is falling.           1        A. Yes.
    2            And so while the stock may be           2        Q. And then you say: This
    3   increasing, its effectiveness is decreasing.     3   prediction may be at odds with the usual
    4       Q. Yeah, and we'll get to the                4   marketing literature.
    5   other adjustments. I just want to talk about     5        A. Yes. But I want it to be
    6   the depreciation rate first.                     6   clear, however, that it's not a theoretical,
    7            So under your model, the                7   the theory that I've just described, whereby
    8   detailing that happens today is 8.3% more        8   the role of addiction is entirely consistent
    9   impactful next year than it is today?            9   with a negative depreciation rate.
   10            MR. SOBOL: Objection.                  10        Q. And in your report, where you
   11       Objection.                                  11   say that, you've got a footnote and you cite
   12       A. For a given quarter, after a             12   to Perri's report?
   13   year, the appreciation is 8.3%, yes.            13        A. Yes.
   14   BY MR. ROTH:                                    14        Q. And you quote him in saying:
   15       Q. And after ten years, detailing           15   Additionally, because prescription opioids
   16   that happens today would be 223% more           16   may result in tolerance, dependence, and/or
   17   impactful than it was today?                    17   addiction, the overall demand for opioids is
   18       A. I think you'd have to give me a          18   distorted by pharmaceutical marketing aimed
   19   calculator, but I'm willing to trust your       19   at increasing the use of these drugs. I
   20   math.                                           20   refer to this as a distortion because,
   21            And just to be clear, it's not         21   whether due to tolerance, dependence, or
   22   exactly impactful because, again, you have to   22   addiction, some patients who use opioids
   23   recognize that the coefficient on promotion     23   require and/or seek more opioids over time.
   24   is changing over this same period, and          24            Did I read that correctly?
   25   because that -- that coefficient is dropping,   25        A. You know, I thought I saw that
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    1   correct footnote, and then I was looking at      1   now, do you know of any literature, whether
    2   the wrong one.                                   2   related to nonaddictive or addictive
    3       Q. Sorry. It's page 49, 103.                 3   products, that has a negative depreciation
    4       A. 49.                                       4   rate?
    5             Yes.                                   5       A. I cannot point to any other
    6       Q. And based on that statement,              6   study, no.
    7   you believe that a negative depreciation         7       Q. Let's look at the Datta and
    8   rate, although at odds with the usual            8   Dave study again. So if you look at page --
    9   marketing literature, is perfectly consistent    9       A. Sorry, I lost Datta and Dave.
   10   in this case?                                   10       Q. Sorry, it's okay.
   11       A. Just to be clear, I'm not                11       A. Yeah. Okay. I got it.
   12   relying on Dr. Perri for my understanding       12       Q. Page 457, footnote 23.
   13   that opioids are addictive. I'm relying on      13            Do you see that?
   14   the broad facts of this case, my knowledge in   14       A. Yes.
   15   public health, and that is the reason why I     15       Q. So in this study, it says: We
   16   think, while marketing studies that have        16   chose to rely on the literature for fixed
   17   looked at other goods have not found this, it   17   estimates of the depreciation rate rather
   18   is entirely theoretically consistent that we    18   than estimate it as an unknown parameter.
   19   would find a negative depreciation rate here.   19       A. Yes.
   20       Q. Have you looked at marketing             20       Q. And they say: An unbiased
   21   studies relating to other addictive goods?      21   estimate of the depreciation rate would
   22       A. I don't know of any other                22   require a detailed structural modeling of
   23   marketing studies related to addictive goods.   23   promotion and prescription behaviors, without
   24       Q. Tobacco?                                 24   which it would be difficult to disentangle
   25       A. Yes, I have -- I'm certainly             25   the coefficient of the detailing stock from
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    1   familiar with the tobacco literature. That       1   the depreciation rate.
    2   literature, as you may know, focuses largely     2             And there's then a cite to
    3   on taxes and the effect of a marketing ban in    3   Iizuka and Jin.
    4   terms of broadcast advertising.                  4             Do you see that?
    5             I don't know that the                  5        A. I do.
    6   literature has looked at the stock of            6        Q. And in what way did you
    7   promotion at all.                                7   structurally model prescription behaviors in
    8        Q. What about marketing literature          8   your model?
    9   related to alcohol?                              9        A. Well, I followed the same
   10        A. I have not seen any of that             10   practice that Professor Berndt and others
   11   literature, no.                                 11   have used, which in effect simultaneously
   12        Q. What about marketing literature         12   estimates the two parameters. It's not,
   13   related to marijuana?                           13   strictly speaking, a structural model. It
   14        A. I --                                    14   really requires that we reestimate the model
   15             MR. SOBOL: Wait. Is that              15   with a whole range of estimates and then see
   16        addictive?                                 16   which one has the best fit. It's an
   17             THE WITNESS: Wait, is there           17   alternative approach to the structural
   18        marketing? But now, you're right,          18   modeling approach.
   19        there may be a market.                     19        Q. Datta and Dave go on to say:
   20             I would be interested to know         20   Prior research on consumer behavior suggests
   21        if such literature exists. I'm not         21   that advertising effects fully depreciate
   22        familiar with any literature like          22   within six months to a year, consistent with
   23        that.                                      23   decay rates of 0.1 to 0.2, which have also
   24   BY MR. ROTH:                                    24   been found to apply to pharmaceutical
   25        Q. Okay. As you sit here right             25   advertising.
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    1            Do you see that?                        1       A. Oh, yes. In the text.
    2        A. I do.                                    2       Q. In the text.
    3        Q. Okay. And then --                        3       A. I'm sorry, I was looking in the
    4        A. I would note that Professor              4   table for a column heading. Yes. Yes. I'm
    5   Berndt's article that you shared with me         5   sorry.
    6   earlier finds a depreciation rate of zero,       6       Q. Okay. So in the column heading
    7   and he concludes there and elsewhere that        7   in the text, it says Detailing, and then it
    8   it's consistent with our understanding that      8   says: For each of the three drugs in the
    9   pharmaceutical marketing is long-lived           9   study, we observed statistically significant
   10   because of the habit formation, so there's      10   positive albeit modest effects of detailing
   11   clearly some disagreement in the literature     11   on prescriptions.
   12   about what's the right answer.                  12            Do you see that?
   13        Q. Right. But he has no                    13       A. Yes.
   14   depreciation rate. He doesn't have an           14       Q. And then it says: Both current
   15   appreciation rate in his study.                 15   term and carryover effects exist. For
   16        A. The difference between zero and         16   drug A, statistically significant positive
   17   a small negative is -- they're both kind of     17   effects are present contemporaneously and for
   18   getting at the same notion, which is that       18   the subsequent four months.
   19   marketing from many periods ago is still        19            Do you see that?
   20   persistent today.                               20       A. Yes.
   21        Q. And the Berndt study you're             21       Q. And then if you jump to the
   22   citing predated this Datta and Dave study; is   22   next column, the bottom paragraph says: The
   23   that right?                                     23   estimated response to a change in PSR visits
   24        A. I believe it did, yes. It's an          24   for drug B is similar to drug A in that we
   25   earlier study.                                  25   observe a statistically significant response
                                             Page 263                                            Page 265
    1           (Whereupon, Deposition Exhibit           1   the month of the visit that diminishes over
    2       Rosenthal-9, 2004 Mizik and Jacobson         2   the subsequent six months.
    3       Publication, was marked for                  3            Do you see that?
    4       identification.)                             4        A. Yes.
    5   BY MR. ROTH:                                     5        Q. And then you referred already
    6       Q. Okay. And now I'm going to                6   to the Berndt study, which I believe you have
    7   show you Exhibit 9, which is the Mizik and       7   there.
    8   Jacobson study, Are Physicians "Easy Marks"?     8        A. Yes.
    9   Quantifying the Effects of Detailing and         9        Q. If we look at that at
   10   Sampling on New Prescriptions.                  10   page 104 -- it's Exhibit 8 -- I thought you
   11           Do you have Exhibit 9 in front          11   said the depreciation rate was zero, but
   12   of you?                                         12   looking at page 104 on the second column, it
   13       A. I do.                                    13   actually looks like it's 0.03.
   14       Q. And this is another document             14        A. It may be there's another
   15   you relied on and quoted in your report.        15   Berndt paper that I believe that I cite. I
   16       A. Yes.                                     16   know there's a zero depreciation rate in one
   17       Q. And if you look at page 1710,            17   of them. That may be -- if we look at my
   18   under the chart, do you see there's a heading   18   literature summary, it may be clearer.
   19   Detailing?                                      19        Q. Okay. We can do that on the
   20       A. Under -- in Table 2?                     20   next break, but for now let me just mark
   21       Q. Yes. There's a Detailing                 21   Exhibit 10.
   22   heading on the column underneath Table 2.       22        A. Okay.
   23       A. I'm sorry.                               23            (Whereupon, Deposition Exhibit
   24       Q. Sorry, I'm below Table 2. Left           24        Rosenthal-10, 2001 G?n?l et al
   25   side.                                           25        Publication, was marked for
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    1       identification.)                             1        Q. Got it.
    2   BY MR. ROTH:                                     2        A. I think it must be in the
    3       Q. Which is the G?n?l study,                 3   footnote. Yes.
    4   Promotion of Prescription Drugs and Its          4        Q. Yeah. I don't see the exact
    5   Impact on Physicians' Choice and Behavior.       5   number. But in any event, they depreciated
    6       A. I'm sorry, were you going to              6   their stock somehow, and if we took the time
    7   ask me a question about this study?              7   to review this, we could probably find the
    8            MR. SOBOL: Which one?                   8   exact number.
    9   BY MR. ROTH:                                     9            So switching gears for a
   10       Q. I think I did. I was just                10   second. So you said you're not aware of any
   11   asking what the depreciation rate was and you   11   article. Have you ever done any work in your
   12   said --                                         12   litigation consulting or expert practice
   13       A. I'd just like to remind you,             13   where you've modeled a negative depreciation
   14   when we talk about these marketing studies,     14   rate before this case?
   15   and Mizik and Jacobson is similar to the        15            MR. SOBOL: Objection, asked
   16   Datta and Dave one, it's a short period of      16        and answered.
   17   time for a few select drugs. It doesn't have    17        A. I would return to the fact that
   18   the ability to look over the long term the      18   this matter concerns a class of drugs that is
   19   way we do.                                      19   different from any other class of drugs for
   20       Q. No, I understand.                        20   which I have looked at marketing, and I
   21            And for those drugs, the               21   believe that the negative depreciation rate
   22   depreciation happened within months. In your    22   is entirely consistent with that underlying
   23   model, the appreciation happens forever.        23   phenomenon.
   24       A. Yes.                                     24            I have not worked on opiate
   25       Q. So if we look at Exhibit 10,             25   addiction in the past. I have not worked on
                                             Page 267                                              Page 269
    1   the G?n?l study, if you look at page 85,         1   a marketing study for an addictive product.
    2   there's a paragraph, Cumulative Discounted       2   BY MR. ROTH:
    3   Sums of Detailing and Samples.                   3        Q. Okay. And as you sit here now,
    4            Do you see that?                        4   you're not aware of any peer-reviewed
    5       A. You're on 85?                             5   publication or study that suggests that a
    6       Q. 85.                                       6   negative depreciation rate is ever
    7       A. Yes.                                      7   appropriate?
    8       Q. And in that paragraph it says:            8             MR. SOBOL: Objection, asked
    9   For each prescription physicians write, they     9        and answered.
   10   are likely to be influenced by past personal    10        A. It's my belief that a negative
   11   selling efforts. We discount the cumulative     11   depreciation rate is entirely theoretically
   12   personal selling effort consistently with the   12   consistent with this product. I cannot cite
   13   methods used in the advertising literature.     13   a paper that has estimated one, but I do not
   14   The major premise of these methods is that      14   find it surprising.
   15   physicians are influenced by the recent         15   BY MR. ROTH:
   16   visits of sales representatives more than by    16        Q. Okay. Let's look at
   17   the distant ones.                               17   paragraph 55 of your report and Figure 4
   18            Do you see that?                       18   below that. Are you there?
   19       A. I do.                                    19        A. I'm sorry, you're at
   20       Q. And it looks like in this                20   paragraph 55 -- I'm sorry, I went to the next
   21   study -- well, maybe you can help me find it.   21   page.
   22   I don't know if it's on this page.              22        Q. Yeah, and it spills -- sorry,
   23       A. They don't -- they don't                 23   it spills to the next page, which is
   24   estimate a depreciation rate. It says they      24   Figure 4.
   25   set one.                                        25        A. Yes.
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    1       Q. Are you there?                            1   levels of contacts.
    2       A. Uh-huh.                                   2       Q. So with no adjustment for a
    3       Q. And in this chart it looks like           3   stock, this is just the ebb and flow of where
    4   you actually model your depreciation rate in     4   the IQVIA data shows promotion is?
    5   red against what your model would look like      5       A. Yes, it's the unadjusted IQVIA
    6   with no depreciation rate or even a small        6   total detailing contacts.
    7   positive depreciation rate.                      7       Q. So it spikes up and down over
    8       A. I show you what that would look           8   the course of the entire period?
    9   like, yes.                                       9       A. It does have the pattern that
   10       Q. So with even a very slight               10   you see there.
   11   positive depreciation rate, the line looks      11       Q. Okay. Have you run your models
   12   almost flat.                                    12   with positive depreciation rates other than
   13       A. You mean the .01?                        13   the 0.01 you depict on Figure 4?
   14       Q. Correct.                                 14            MR. SOBOL: Objection.
   15       A. Yes.                                     15       A. That's not running the model.
   16       Q. And if you hold the                      16   That's just showing you what the stock would
   17   depreciation rate at zero, it's got a small     17   look like.
   18   increase, but not anywhere close to what you    18   BY MR. ROTH:
   19   show with your negative depreciation rate?      19       Q. Okay. So have you even run the
   20            MR. SOBOL: Objection.                  20   model with the stock at 0.01?
   21       A. But as you've described the              21       A. I have not.
   22   lines, the line that represents the             22       Q. Okay. So you don't know what
   23   depreciation rate I estimated grows more        23   that would look like, and you don't know what
   24   rapidly, as would be expected because of        24   it would look like if we used a higher
   25   compounding.                                    25   depreciation rate?
                                            Page 271                                              Page 273
    1             Just to be clear, the fact that        1             MR. SOBOL: Objection.
    2   the stock of promotion grows in this pattern,    2        A. I don't.
    3   that is a question of fitting the model          3   BY MR. ROTH:
    4   appropriately. It's not driving my results       4        Q. And I think you said this, but
    5   in that same relationship.                       5   your model selects the depreciation rate that
    6   BY MR. ROTH:                                     6   produces the best fit?
    7       Q. I'm not sure I understood your            7        A. Yes, that's correct. It uses a
    8   last answer. What do you mean it's not           8   Wald test.
    9   driving your results?                            9        Q. Okay. We'll come back to the
   10       A. Well, the results aren't                 10   Wald test. But let's look at Figure 2,
   11   inflated in the same way that the stock of      11   which, I believe, is a few pages earlier.
   12   promotion is inflated. The estimate in my       12        A. Page 36?
   13   model, again, where I have promotional          13        Q. You got it. So Figure 2 is a
   14   effectiveness coefficients, they're now         14   line graph of the MMEs over time.
   15   responding -- they'll be lower than otherwise   15        A. That's correct, and it also
   16   because the average level of promotion is       16   includes extended units in blue.
   17   higher, and so it effectively makes promotion   17        Q. And what does that mean,
   18   look less effective on an incremental basis.    18   "extended units"?
   19             And this is really a question         19        A. Extended units are pills.
   20   of just getting the best fit in terms of the    20        Q. Okay. So you've got both the
   21   timing.                                         21   pills and the MMEs on this graph?
   22       Q. Okay. The blue line on this              22        A. Yes, and you can see they track
   23   line graph you describe as the flow of the      23   almost perfectly.
   24   data. Can you explain what that means?          24        Q. And you can tell, I think, the
   25       A. Sure. Those are the monthly              25   first thing I see when I look at this graph
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    1   is a pretty stark decline that starts in         1        Q. And when you refer to
    2   2010.                                            2   regulation in that paragraph, what
    3            Do you see that?                        3   specifically are you talking about?
    4        A. It does have a clear peak, both          4        A. Well, so, for example, certain
    5   of those trends.                                 5   states required that physicians use a
    6        Q. And do you have any                      6   database to look at prescribing for the
    7   understanding as to why MMEs began to drop       7   patient before they could write a
    8   off starting in 2010?                            8   prescription, so prescription drug monitoring
    9        A. Well, I think I write about              9   programs and educational requirements around
   10   that pretty extensively in my report.           10   those prescription drug monitoring programs.
   11        Q. In paragraph 46 -- yeah, let's          11             In some places there are --
   12   look at paragraph 46.                           12   like Massachusetts, for example, there have
   13        A. Maybe not 46. Maybe 56?                 13   also been prescribing limits that were
   14        Q. Oh, you know what, that's               14   passed. So those kinds of things.
   15   Gruber 46. We'll get to him next.               15        Q. And then did you review
   16        A. I'm sorry. Okay.                        16   Professor Gruber's report?
   17        Q. Sorry, which paragraph were you         17        A. I did.
   18   taking me to?                                   18        Q. Before yours was finalized or
   19        A. I am looking for where I                19   at some point after?
   20   discuss the peak.                               20        A. Perhaps before.
   21        Q. All of your reports magically           21        Q. Okay. So I'll -- I could mark
   22   have the same font and type space, so it's      22   it, but I'm just going to read to you from
   23   hard to differentiate.                          23   it. And if you want me to mark it, I will.
   24        A. I think it's later when I talk          24             But he says in paragraph 46:
   25   about --                                        25   Beginning around 2010, increased enforcement
                                             Page 275                                             Page 277
    1       Q. 67 --                                     1   actions by DEA and DOJ, criminal actions and
    2       A. -- estimating the breaks.                 2   litigation, the growth of state PDMP laws and
    3       Q. 67.                                       3   increased awareness of addiction risks
    4       A. Yeah?                                     4   associated with prescription opioids
    5       Q. Yeah. I think I found it.                 5   contributed to a reduction in aggregate
    6       A. Yes.                                      6   shipments of prescription opioids after more
    7       Q. Okay.                                     7   than 20 years of rapid growth.
    8       A. So that's sort of the -- that's           8            Are you aware of that passage
    9   where I talk about the first break.              9   in his report?
   10       Q. Yeah. So you say: The                    10        A. Yes, and I think that there's
   11   accelerated growth in opioid prescribing that   11   absolutely nothing inconsistent with what he
   12   followed the guideline and messaging changes    12   says. He uses a couple of different
   13   continued for approximately a decade before     13   examples, but we're in agreement that it's
   14   it was finally arrested and ultimately          14   multifactorial and gradual.
   15   reversed by the cumulative effects of           15        Q. Agree. And you both mention
   16   physician leadership, media attention, public   16   PDMP laws, and I think he's got a couple of
   17   health surveillance and regulation.             17   other examples about the DEA and DOJ.
   18            Do you see that?                       18            But that was what I was going
   19       A. I do.                                    19   to ask you is, are you in agreement with him
   20       Q. And you agree that all of those          20   that these multifactorial events contributed
   21   efforts, doctors, media and public health,      21   to the decline in 2010?
   22   did not just simultaneously happen in           22        A. That is the environment that I
   23   August 2010?                                    23   capture using that third era in which these
   24       A. They did not, which is why I             24   events are essentially reducing the
   25   don't assume that.                              25   effectiveness of promotion.

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    1       Q. Okay. So let's talk about your            1   don't know, 1600 models, something like that.
    2   eras. So if you go to paragraph 71, you're       2       Q. You get how this goes. I get
    3   talking about Model B, and I think you called    3   your memory first, and then we can look at
    4   this in your report your preferred model.        4   the report.
    5       A. I do.                                     5       A. Yes. I know I should just tell
    6       Q. Okay. And just so we                      6   you that I don't remember.
    7   differentiate, we'll get to Model C.             7       Q. That's okay. All right. D5,
    8            Model A, as you describe it in          8   Determining Turning Points in Effectiveness
    9   paragraph 70, is assuming the effectiveness      9   of Promotion.
   10   of detailing is constant, so meaning, if I      10       A. Okay.
   11   look at Table 1, you just used the stock of     11       Q. Tell me when you're there.
   12   promotion and the depreciation rate without     12       A. D5. Okay. Yes.
   13   adjusting for different eras in Model A.        13       Q. So it says: In Model B, the
   14       A. Yes, that's correct. I mean,             14   two dates that would delineate the early and
   15   they both have a single depreciation rate,      15   late change in the effectiveness of
   16   but there's a single stock of promotion in      16   promotional stock were determined through a
   17   Model A, and the price index, of course.        17   two-dimension search. The first turning
   18       Q. And then in Model B, it's those          18   point was chosen between January 1999 and
   19   two things plus you've added these two eras     19   January 2003, and the second turning point
   20   in?                                             20   was chosen with the date between January 2010
   21       A. That's correct.                          21   to December 2011.
   22       Q. And in Model C, it's Model B             22           Do you see that?
   23   with the five events mapped onto it?            23       A. Yes.
   24       A. That's correct.                          24       Q. So let me stop there.
   25       Q. Okay. So let's start with                25           So when you say "it was
                                             Page 279                                             Page 281
    1   Model B. 71 says: Model B allows the             1   determined between," were you just conducting
    2   effectiveness of promotion to change at two      2   the searches within those date ranges?
    3   points in time, determined using                 3       A. Yes, that's right.
    4   specification tests. Thus, this model            4       Q. So you didn't just search the
    5   captures three different periods or eras of      5   whole model for the breaks; you limited the
    6   the opioid market: the initial era, an           6   dimensions you were looking for?
    7   increase in MME sales during the second era,     7       A. Well, as you can see, there
    8   and a third era marking the gradual decline      8   were 1,176 combinations already, so there's a
    9   of MME sales.                                    9   bit of a scale issue in looking at every
   10            Do you see that?                       10   combination.
   11       A. Yes.                                     11             And also, the way the tests
   12       Q. What do you mean, "determined            12   work out, it seemed fairly clear that we
   13   using specification tests"?                     13   weren't getting better and better fit by
   14       A. Well, we essentially -- we do            14   going out further, that the solutions were
   15   much the same as what Professor Cutler does     15   closer to the middle, and so that's why we
   16   in his report, which is basically conduct an    16   didn't feel like we needed to go outside of
   17   F-test, which is looking at the fit of          17   those ranges.
   18   alternative models, and we have these -- we     18       Q. How long did it take the
   19   have two time points, so we're looking at a     19   computer to run 1,176 combinations?
   20   two-dimensional space and looking to see        20       A. Fortunately, I did not have to
   21   which model fits the data best by, again,       21   run those myself. Probably not that long.
   22   iterating over -- I think it says in --         22       Q. I feel bad for Greylock.
   23       Q. Yeah, let's look at Attachment           23             And so you ultimately chose
   24   D5. I'll help you out.                          24   these two breaks based on the maximum Wald
   25       A. That's right, iterating over, I          25   statistic produced from running the model

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    1   almost 11 -- 1,176 times?                        1   key events identified by plaintiffs that
    2       A. That's correct.                           2   helped promote expanded prescribing are in
    3       Q. And what is a Wald statistic?             3   green and the subsequent public health and
    4       A. It's -- like I said, it's like            4   regulatory events that signaled the growing
    5   an F-test that's looking at the joint            5   realization about the dangers are in red.
    6   significance. We talk about an F-test            6        A. Yes.
    7   elsewhere in this model, looking at the joint    7        Q. All right. So let's look at
    8   significance -- actually, in my errata you       8   Figure 5 on page 41, and we're going to do
    9   see I talk about the F-test, doing               9   our best job to articulate on the deposition
   10   significance of a set of variables and seeing   10   transcript the picture that we're looking at.
   11   the formulation in which those variables        11              So it looks to me like Figure 5
   12   explain -- effectively explain the model        12   is --
   13   best.                                           13              MR. SOBOL: Why don't you show
   14       Q. And is it a common practice in           14        it to the camera for a second.
   15   econometrics to choose a model based on         15        Seriously. Just get a shot of that.
   16   maximum fit?                                    16              MR. ROTH: It's a work of art.
   17       A. It's one of the considerations           17              THE WITNESS: It is a work of
   18   that one does in a model. And here we're        18        art.
   19   talking about a set of parameters that we're    19              MR. SOBOL: Christmas.
   20   trying to optimize with regard to               20   BY MR. ROTH:
   21   depreciation. It's not the only thing that      21        Q. So if you look at Figure 5,
   22   we use to select the model.                     22   you've got the MME trend graph that we looked
   23            As you know, I also report the         23   at in Figure 4 with a timeline and the events
   24   adjusted R-squared, and that was part of my     24   described in the paragraph above it, right?
   25   decision-making across models. And there are    25        A. That's correct.
                                             Page 283                                             Page 285
    1   other factors.                                   1       Q. And so we'll talk about the
    2       Q. Okay. If we turn back to the              2   five you picked to test in Model C, but did
    3   body of the report, paragraph 57 introduces      3   you think about using any of the events on
    4   Figure 5.                                        4   this timeline to choose where you do your
    5            Do you see that?                        5   testing for the breaks?
    6       A. Uh-huh.                                   6       A. I considered and rejected that
    7       Q. So you say: Figure 5 -- which             7   idea for reasons I think I do describe in my
    8   is on the next page -- is a timeline of key      8   report. And I'm happy to explain further.
    9   events. According to plaintiffs' experts and     9       Q. Yeah, if you don't mind.
   10   the published literature, the perceptions of    10       A. So as you can see from the
   11   physicians and the public evolved as a direct   11   timeline, there are a number of discrete
   12   result of the alleged misconduct.               12   events. They're marked on the timeline at
   13            Do you see that?                       13   the time they were either announced or passed
   14       A. Yes.                                     14   or in some way published, and still, they are
   15       Q. You cite Dr. Perri.                      15   clearly events that could have had both
   16       A. Yes.                                     16   anticipation effects and sort of long
   17       Q. And then you say: These                  17   adoption curves.
   18   changes, which were the result of the           18            And so just the notion that
   19   defendants' actions, would have affected the    19   these -- any one of these points would have
   20   receptiveness of prescribers and patients to    20   determined a break in the promotional
   21   promotional messages about the safety and       21   effectiveness, it seems like it was not quite
   22   effectiveness of opioids.                       22   the right model. Although, again, I included
   23            Do you see that?                       23   them in Model C to explore this further.
   24       A. Yes.                                     24            It's my opinion that these
   25       Q. And then you describe how the            25   should be treated more cumulatively and that

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    1   is why I used the multi-era model, and I         1   with these events; they're the function of
    2   think that's entirely consistent with the way    2   searching using the Wald statistic for where
    3   Dr. Perri describes the events, particularly     3   the curve breaks?
    4   the green ones, the ones that were               4        A. Yes. And again, to be clear,
    5   influencing the adoption of opioids.             5   they're telling us where the relationship
    6        Q. Just so I understand it, your            6   between the stock of detailing and sales
    7   break based on the Wald statistic is sometime    7   seems to change in a statistically
    8   in early 2002; is that right?                    8   significant way. And they're entirely
    9        A. It's probably not a good idea            9   consistent with some kind of S-curve at the
   10   ever for me to trust my memory, so I'm going    10   beginning, when we think about a standard
   11   to go and look at that.                         11   diffusion curve, that there -- there is sort
   12        Q. Yeah. It's in the report.               12   of a point at which diffusion accelerates,
   13        A. Yes, it is, it's absolutely in          13   and that is what we're estimating on the
   14   the report.                                     14   first one.
   15        Q. And it may be in the errata,            15            And the second turning point I
   16   because I saw some of the dates changed a       16   guess would be a reverse diffusion curve. I
   17   little bit last night.                          17   think de-innovation is a word, and not one
   18        A. Paragraph 71.                           18   that I use a lot, but that seems to be what's
   19        Q. Paragraph 71, yeah.                     19   happening. And again, it's not like you've
   20        A. Right. So March 2002 is the             20   turned on a light switch and everyone
   21   first break.                                    21   changes, but cumulatively over time, that's
   22        Q. In the report it says                   22   putting the brakes on.
   23   April 2002. That was one of the errata?         23        Q. Okay. But your model, the way
   24        A. Yes. I think someone was                24   you account for that is you do actually turn
   25   reading the first month versus the last         25   on the light switch and change the stock of
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    1   month, the first of the old era versus the       1   promotion as of those dates?
    2   last of the -- first of the new era.             2       A. I -- no. That's not -- that's
    3        Q. So it changes as of April 1st?           3   not true. So what I do is I allow for the
    4        A. It changes as of March 1st. I            4   promotional effectiveness to change in the --
    5   mean, the data are monthly, so -- not daily,     5   in the first instance as a level shift and in
    6   so it changes as of March.                       6   the second instance as a trend shift.
    7        Q. Okay.                                    7       Q. And so we'll talk about each of
    8        A. And then the second turning              8   those, but in paragraph 68 you talk about how
    9   point changes as of August.                      9   this led you to adopt a piecewise model.
   10        Q. So if we were to plot                   10   What is a piecewise model?
   11   March 2002 on Figure 5, it would be after the   11       A. Well, it's essentially where I
   12   first five events in green but before the       12   assume there's a linear relationship between
   13   last two events in green?                       13   the stock of promotion and sales that differs
   14        A. That -- I can affirm that.              14   over these different eras.
   15        Q. And then if we were to plot the         15       Q. And when is it appropriate to
   16   August 2010 break on the curve in Figure 5,     16   use a piecewise model in econometrics?
   17   it would be -- it looks like after maybe        17       A. Well, in this case, this is an
   18   three or four of the red events but before      18   aggregate time series model, and we believe
   19   the other six or seven.                         19   that the fundamentals of that relationship
   20        A. I -- that may be true. I think          20   are changed by something in the environment.
   21   it's a lot harder to say. That's just a         21       Q. So in addition to your
   22   dense part of the chart, and I wouldn't trust   22   appreciating depreciation rate, we now have
   23   my eyeballs on it.                              23   adjustments in these two eras to fit the MME
   24        Q. Okay. But again, as we                  24   curve.
   25   discussed, those breaks are not correlated      25            MR. SOBOL: Objection to form.

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    1        A. Just to be clear, it's about             1            And then I also -- I interact
    2   fitting -- the R-squared is about fitting the    2   that separately with the variable from
    3   MME curve, but really, the test that we're       3   March 2002. So those two are essentially
    4   doing is about understanding the relationship    4   separate estimates over those two time
    5   between detailing and sales and fitting that.    5   periods, but in -- in the third period,
    6   BY MR. ROTH:                                     6   because we're looking at an erosion curve,
    7        Q. I understand that, but you're            7   that's just literally what's happening here
    8   making modifications to the detailing stock      8   is opioid prescribing is eroding. I enter
    9   that is allowing it to fit better with the       9   the interaction with that era as a trend, so
   10   MME curve?                                      10   then that's the sum of the stock of promotion
   11        A. Well, the detailing stock               11   from 2002 and the dummy trend.
   12   and -- you're talking about the depreciation    12   BY MR. ROTH:
   13   rate. That is being determined, again, based    13       Q. All right. So you're jumping
   14   on the fit of the overall statistical model.    14   ahead of me. I'm going to ask you about the
   15   It's not just trying to make it fit the shape   15   dummy trend.
   16   of the MMEs, which I think is what you said.    16       A. Okay.
   17        Q. Right. But when you make the            17       Q. But the stock in period 3 is
   18   depreciation rate change to the stock of        18   actually overlapping with the stock in period
   19   promotion and then you allow the model to       19   2; is that right?
   20   tell you where the effectiveness of promotion   20       A. Yes, the stock of promotion --
   21   also changes, are you not then essentially      21   again, because the third period basically is
   22   fitting the detailing curve to the MME curve?   22   adding on to the second period, they're being
   23        A. I do not believe so, no.                23   estimated -- I mean, the model of course is
   24   That's not what I'm doing. What I'm trying      24   estimating over the entire period, but the
   25   to do is establish a relationship that best     25   variables are separated such that we have one
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    1   fits the data. Over time, that relationship      1   variable that's the stock of promotion times
    2   could be that promotion has very little          2   a dummy variable, so it becomes zero at March
    3   effect on sales. And so the quantum of the       3   of 2002. That's beta-1.
    4   impact here is not what I'm fitting the data     4            And then beta-2 goes a variable
    5   to.                                              5   that's zero before 2000- -- that break
    6        Q. Okay. As you describe it in              6   date -- now I can't remember if March is
    7   your report, the coefficients on the stock of    7   the -- oh, yeah, it is March of 2002, so
    8   detailing are estimated separately during        8   Table 1 was always right -- up to 2002, and
    9   each of the three eras; is that correct?         9   then it becomes whatever the stock of
   10        A. Well, in effect, we can look at         10   promotion is, right?
   11   the results, so maybe it will be a little       11            And so beta-3 has that same
   12   clearer than my hand-waving without having it   12   stock of promotion and it has this multiplier
   13   in front of me.                                 13   effect for the trend.
   14        Q. Table 1, is that what you               14       Q. So what I'm trying to
   15   wanted or do you want --                        15   understand is before you put in your trend
   16        A. Yes, Table 1, that's right. So          16   into period 3, if we recognize that there's a
   17   we have the stock of promotion through --       17   period, according to you, of rapid growth
   18             MR. SOBOL: I'm sorry, page?           18   after efforts to market --
   19             THE WITNESS: Oh, sorry.               19       A. Yes.
   20        Page 47. Sorry.                            20       Q. -- followed by a period of
   21        A. We have the stock of promotion          21   decline after growing realization about the
   22   that is the continuous series that we saw       22   dangers, why are those starting from the same
   23   plotted in that other figure, and then in       23   baseline and adding a trend as opposed to
   24   Model C, I interact that with the dummy         24   having some other variable applied to the
   25   variable for the first era.                     25   stock in Era 3?

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    1        A. Yeah, let me try to explain              1            A linear shift is the simplest
    2   that. And just to be clear, I know you know      2   way of capturing that, and essentially, what
    3   this, but let me just remind you that the        3   will happen is then in that case, by using a
    4   turning point in the MME trend is not the        4   shift rather than a trend, what we'll get is
    5   turning point that marks off Era 3, right?       5   an average effect as opposed to one that --
    6        Q. Right.                                   6   where we can plot out the changes over time,
    7        A. That starts earlier.                     7   if there were changes over time, but it would
    8             One thing one could have done          8   capture that increase either way.
    9   is just say, okay, we're going to split the      9            When we're looking at the
   10   model at that turning point, and so that is     10   erosion side, however, just picking --
   11   the light switch notion, rather than looking    11   putting an additive effect in like the first
   12   to see where the relationship seems to          12   trend, would require that we fix that really
   13   change.                                         13   to the peak of the model in order to make any
   14             And we know the relationship is       14   sense of -- of the way the trend reverses,
   15   such that it's -- we know conceptually, based   15   and yet again, we don't -- we don't change
   16   on the other evidence, that -- and just from    16   the underlying stock of promotion. That is
   17   reading the news, that public health            17   what it is.
   18   authorities are trying to limit opioid          18            If, in fact, that relationship
   19   prescriptions and they're having some           19   can't be explained by the stock of promotion,
   20   success, and so that we know that we need to    20   then we would -- we would not get a
   21   put in a trend that will capture when that      21   significant coefficient on that.
   22   happens.                                        22        Q. When you implement the dummy
   23             There's no way to have                23   trend incremented by month in the third era,
   24   something that is an increasing trend go        24   that means the effect of the third period
   25   south without giving it the opportunity to      25   stock is increasing over time still, right?
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    1   have a second coefficient. And by using a        1        A. Well, the effect of the stock
    2   trend and allowing the break to happen           2   is what it is with the negative depreciation
    3   whenever it happens, I can actually allow the    3   rate. So the effect -- the stock continues
    4   data to tell me at what pace that erosion        4   to increase, as we discussed earlier, and
    5   happened.                                        5   nonetheless, the productivity of a given unit
    6            Otherwise, I would have to sort         6   is decreasing. So relative to the previous
    7   of, again, plug it at the top and just           7   period, the average productivity of a unit of
    8   measure the relationship on that second bar.     8   the stock of promotion is lower.
    9   So this was the most flexible way to use the     9        Q. Did you try to run the model
   10   data to look at what's happening to promotion   10   using a dummy incremented by months in the
   11   over time. It's entirely flexible. If, in       11   first two eras?
   12   fact, you know, promotion kept going up and     12        A. I don't believe so. Again, the
   13   it was just not explaining that trend, then     13   simplest -- the simplest way to think about
   14   the model would have told me that.              14   that was a slope change, and that's what we
   15       Q. Okay. So now I want to get to            15   did there. It was really only when we came
   16   the dummy trend.                                16   to trying to figure out how best to let the
   17       A. Yeah.                                    17   data tell us about this turning point that a
   18       Q. So what support do you have for          18   trend seemed like the best approach.
   19   using the dummy trend only in Era 3 as          19        Q. If the effectiveness of
   20   opposed to before?                              20   promotion is changing in each of the eras,
   21       A. Yeah, for sure. So again,                21   why did you keep the depreciation rate
   22   because in Era 2 what we're looking at was a    22   constant the whole time?
   23   growing acceptance of the idea that opioids     23        A. We used a single depreciation
   24   were safe, that we could have used a trend      24   rate because we think that it is something
   25   there.                                          25   more structural. As I've talked about, the
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    1   discrete events, all of which are picking up       1   the environment I've generally been thinking
    2   on broader phenomena, either a loosening of        2   about in the third era is one in which public
    3   restrictions around opioids or a tightening        3   health restrictions are tamping down on
    4   of restrictions, and just conceptually,            4   opioid use.
    5   trying to pin any one of them to have begun        5             That's already being captured
    6   at a discrete point in time seems                  6   in that dummy trend that we talked about
    7   problematic; and likely, the reason that I         7   earlier, so some of that is getting picked
    8   get a counterintuitive result is that there        8   up, as opposed to being able to pull it out
    9   are other correlated -- for example, putting       9   separately just at that moment in time when
   10   both the OxyContin reformulation and the          10   the OxyContin reformulation occurred. So my
   11   hydrocodone rescheduling may have caused some     11   model is already picking that up.
   12   interaction between the two.                      12             You know, I think the other
   13            And so that's also why I didn't          13   thing is, of course, I'm looking at the
   14   then just try to keep adding events with the      14   opioid market as a whole, not just OxyContin
   15   notion that this was not the right modeling       15   on its own, and so there are -- there are
   16   approach for what was going on in this            16   other factors happening for other opioids.
   17   market.                                           17   BY MR. ROTH:
   18       Q. Okay. And then if you look                 18       Q. But your model suggests that
   19   back at Table 1, you mention the OxyContin        19   there was still a supply of opioids and
   20   reformulation, which does not look like it        20   prescribing driven by promotion whereas
   21   was statistically significant, but also           21   they're suggesting that the supply was drying
   22   resulted in estimating               additional   22   up to the extent that users evaded the legal
   23   MMEs?                                             23   prescription market and turned to illegal
   24       A. That's correct. It's zero, but             24   drugs.
   25   positive.                                         25       A. I don't believe you're correct
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    1        Q. Are you aware that Professors              1   in that statement. These models are looking
    2   Cutler and Gruber opined that the 2010             2   at two very different things. I'm not
    3   OxyContin reformulation led to an abrupt           3   looking at the use of illicit opioids. The
    4   market shift that thickened the market for         4   data show decreasing use of legal opioids.
    5   illicit heroin?                                    5   That's -- that's just the underlying MMEs, so
    6             MR. SOBOL: Objection to the              6   that is happening.
    7        form.                                         7            My model is looking at the
    8        A. I am aware of their general                8   portion of that that's explained by
    9   opinions. I could not have quoted them. But        9   promotion, so there's no way that this is
   10   I'm aware that it's more broadly understood       10   disproving people had left OxyContin.
   11   that the reformulation of OxyContin caused a      11       Q. But it is showing that
   12   number of opioid users to switch to illicit       12   according to your model, the OxyContin
   13   opioids. I believe that's been shown in           13   reformulation did not have a statistically
   14   other literature.                                 14   significant impact on the MMEs prescribed?
   15   BY MR. ROTH:                                      15       A. Once you control for the
   16        Q. So how do you reconcile your              16   variables that I've controlled for, including
   17   model showing that there's actually no effect     17   price, including promotion, and accounting
   18   on MMEs from the reformulation of OxyContin       18   for the change in promotional effectiveness,
   19   with their opinion that it led to some            19   I don't separately find an effect here. That
   20   massive shift of opioid users to illegal          20   is not the same as saying that OxyContin
   21   drugs like heroin?                                21   reformulation had no effect.
   22             MR. SOBOL: Objection.                   22       Q. Okay. So now I want to go back
   23        A. Well, a couple of things.                 23   to Appendix D, and I want to start with
   24   First, I believe the model that I put forward     24   Table D.1.
   25   in Model B, which captures the environment,       25       A. Okay.
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    1       Q.    All right. So Table D.1 --                1   this because the green line is predicted
    2       A.    Oh. I'm on page D1.                       2   but-for; is that right?
    3       Q.    Yeah, you've got to go past               3        A. That's correct.
    4   that.                                               4        Q. So you're showing negative
    5       A.    Keep going.                               5   but-for in the early '90s and again starting
    6       Q.    Talk about your charts and                6   around 2012.
    7   graphs.                                             7            Do you see that?
    8       A.    It's okay. Excellent.                     8        A. Yes, that's correct.
    9            MR. SOBOL: This one?                       9        Q. So what does that mean, that,
   10            THE WITNESS: All right.                   10   you know, people were returning opioids? I
   11            MR. ROTH: Yeah, the table.                11   don't even understand how that conceptually
   12   BY MR. ROTH:                                       12   works.
   13       Q. So first the chart, okay. So                13        A. Yes. Well, remember how I said
   14   Table D.1 is a chart that I think explains         14   that Model A uses a single promotional
   15   Model A; is that right?                            15   effectiveness and it doesn't fit the data
   16       A. That's correct.                             16   very well? So it's an average that's
   17       Q. And maybe just explain to me                17   smoothing over this long period and doesn't
   18   what is on here, because if I try to ask you       18   fit the data well, so that's what these
   19   a question, I'm not going do as good of a job      19   predictions tell you. It's the same thing,
   20   as if you just tell me what this is showing.       20   in effect, as looking at the adjusted
   21            MR. SOBOL: If you just ask a              21   R-squared. This is just what it looks like
   22       direct question.                               22   in predicted values.
   23       A. Sure. These are SAS output                  23        Q. So for this reason, Model A is
   24   made slightly prettier, and so at the top --       24   not your preferred approach?
   25   the top box there is describing the model          25        A. This is not my preferred model,
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    1   overall, degrees of freedom, the total error,       1   that's correct.
    2   the sum of squared errors you see there, the        2       Q. Yeah. I mean, conceptually,
    3   mean squared error. After that, the square          3   having a negative but-for doesn't actually
    4   root of the mean squared error. These are           4   make sense, right?
    5   all sort of talking about the variability in        5       A. Conceptually, it's unappealing.
    6   the data and the explanatory power of what's        6       Q. How would you even calculate
    7   included. The R-squared and the adjusted            7   the difference with a negative but-for?
    8   R-squared are -- the adjusted R-squared             8       A. The same way. It's -- the
    9   accounts for the degrees of freedom, the            9   difference would be just the space between
   10   number of covariants.                              10   the two lines. I have not done that here.
   11   BY MR. ROTH:                                       11       Q. Okay. So now if you flip the
   12        Q. And what is in the bottom chart            12   page to Table D.2, you'll see another set of
   13   titled Nonlinear OLS Parameter Estimates?          13   charts.
   14        A. Yes, so those the coefficient              14            And I think this correlates to
   15   standard error, t statistic, p values. Those       15   your Model B; is that right?
   16   are reported way back in Table 1. They've          16       A. That's correct.
   17   just cleaned up a little bit.                      17       Q. And I assume your description
   18            So the coefficient estimate is            18   of what Table D.1 is would describe D.2,
   19   the one that we're interested in, and then         19   although this second chart has additional
   20   we'll mostly just focus on the p value.            20   labels for the stock of promotion trends that
   21        Q. Okay. So if we flip to Figure              21   we talked about earlier?
   22   D.1 --                                             22       A. That's correct.
   23        A. Yeah.                                      23       Q. Why is the stock of promotion
   24        Q. -- which is the line graph                 24   dummy trend from August 2010 a negative
   25   that's an output, I was perplexed when I saw       25   number?
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    1       A. Again, it's an erosion rate               1       A. Yes.
    2   over the promotional effectiveness in b2, and    2       Q. And then if you look at the
    3   so the promotional effectiveness is b2 plus      3   second page, it looks like this one has
    4   the number of months from -- from that time      4   something that says Type, Wald Test -- Test
    5   break, August 2010, times b3. So it              5   and Test0. What is that?
    6   increments. You see what I'm saying?             6       A. That's the joint test of
    7       Q. Yeah.                                     7   significance of those events.
    8       A. So every month, it's like b2 is           8       Q. Got it. Okay.
    9   reduced by 8.                                    9            So when you say in your report
   10       Q. Right. And this is your time             10   jointly they're not statistically
   11   trend essentially that we talked about          11   significant, it's based on this output?
   12   before?                                         12       A. Yes, except that that was in
   13       A. It's sort of an erosion trend,           13   the errata, that that should have said they
   14   yes.                                            14   were significant.
   15       Q. Okay. And why is it -- how did           15       Q. I saw that. That was the one
   16   you come up with that number, like how do we    16   errata where it changed like a no to a yes
   17   get negative 7.97362?                           17   and there was --
   18       A. It comes out of the regression           18       A. Yes. It does not change my
   19   model. It's estimated like all the other        19   conclusions, but yes, you can see here the p
   20   coefficients using OLS.                         20   value is .0176.
   21       Q. And what is it doing? It's not           21       Q. Okay. So just to be clear,
   22   like a Wald statistic? Or is it -- how does     22   your opinion is that jointly the five events
   23   it mechanically estimate that coefficient?      23   are actually statistically significant?
   24       A. Well, technically through                24       A. That's correct.
   25   matrix algebra. I mean, it's essentially        25       Q. Okay. And then if we look at
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    1   picking up the association between, in this      1   D.3, Figure D.3, this is what your curve
    2   case, the stock of promotion times the dummy     2   looks like in Model C?
    3   trend and sales. Like all the other              3       A. Yes.
    4   coefficient estimates, the tests relate to       4       Q. Okay.
    5   the statistical properties of those              5       A. Not very different from
    6   estimates, but the coefficients really come      6   Model B.
    7   from the correlations.                           7       Q. Which makes sense because the
    8        Q. All right. And then if we turn           8   baseline is Model B; you're just inserting
    9   the page to D.2, this is the line graph from     9   five events and measuring those?
   10   your Model B, which maps almost perfectly       10       A. Yes. If they had had some
   11   onto the blue flow of the data.                 11   effect, it might have looked different.
   12        A. Yes.                                    12       Q. Okay. You can -- looking at
   13             MR. SOBOL: A thing of beauty.         13   your report again, so we talked about this
   14             MR. ROTH: Almost as if it             14   earlier, but you cited Datta and Dave, and we
   15        fitted like a glove. All right.            15   talked about that article this morning.
   16   BY MR. ROTH:                                    16             Do you remember that?
   17        Q. Let's look at Table D.3.                17       A. I do.
   18        A. Uh-huh.                                 18       Q. So let's pull it out one more
   19        Q. The last one of these. So this          19   time. Probably the last one.
   20   is -- well, it's not the last one of these,     20       A. Let me make sure that I get the
   21   we'll ask about that in a second, but this      21   right...
   22   is, I think, Model C.                           22       Q. It's Exhibit...
   23        A. That's right.                           23       A. 5. Got it.
   24        Q. Okay. So the same concept as            24       Q. 5.
   25   D.1 and D.2 we just walked through?             25             So if you look with me at
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    1   page 452 again, we're now going to get to        1      Q.     Which you didn't look at?
    2   talk about endogeneity.                          2            MR. SOBOL: Objection, asked
    3        A. Excellent.                               3       and answered.
    4        Q. You knew it was coming.                  4       A. It was not relevant to my
    5        A. I did.                                   5   report because I have been asked to conduct
    6        Q. So at the top of the page, they          6   an aggregate analysis.
    7   say: A key empirical concern in this             7   BY MR. ROTH:
    8   literature relates to potential targeting        8       Q. And then they say: Studies
    9   bias, which physicians who already have a        9   that address this endogeneity in most cases
   10   history of prescribing a particular drug or     10   have done so through an instrumental
   11   who have a higher unobserved likelihood of      11   variables-based methodology, although as
   12   prescribing the drug (for instance, due to      12   Bronnenberg caution, many of the instruments
   13   their patient population or practice type)      13   employed have limited variation and may not
   14   more likely to be targeted by detailers.        14   fully satisfy the validity requirements.
   15            Do you see that?                       15   This caveat notwithstanding, these studies
   16        A. I do.                                   16   generally find a smaller marginal effect of
   17        Q. And is that an empirical                17   detailing relative to those that do not
   18   concern that you as an econometrician or        18   account for endogeneity.
   19   economist would have?                           19            Do you see that?
   20        A. If I were doing a                       20       A. I do.
   21   physician-level study, yes.                     21       Q. Now, what about having an
   22        Q. And one could describe this             22   aggregate macro analysis means that
   23   issue as something called endogeneity?          23   endogeneity is no issue for you?
   24        A. Yes.                                    24            MR. SOBOL: Objection.
   25        Q. And can you define endogeneity          25       A. Well, endogeneity is something
                                             Page 331                                            Page 333
    1   for us?                                          1   different in every context, so what they're
    2       A. Well, in effect, what they're             2   describing specifically here, I mean, I think
    3   talking about here, I described earlier this     3   they say that they're talking about targeting
    4   morning the endogeneity they're concerned        4   bias, so that's the physician-level concern.
    5   about is of the type that physicians who are     5            It simply doesn't exist in my
    6   more likely to be detailed are already more      6   data because I'm not looking at
    7   likely to be open to prescribing or are, in      7   physician-level data. I cannot mistake the
    8   fact, high prescribers already.                  8   fact that Doctor A has high prescriptions
    9       Q. And it's called endogeneity               9   compared to Doctor B, not because she's been
   10   because that's an endogenous problem?           10   detailed before, but she's been detailed
   11       A. Yes. The level of detailing is           11   before because she has high prescriptions.
   12   endogenously determined with the level of       12   Because I'm only looking at the aggregate.
   13   prescribing.                                    13   So the only kind of endogeneity there, it
   14       Q. So continuing on their paper,            14   can't be related to targeting. It has to be
   15   they say "Addressing such endogeneity is a      15   related to something else.
   16   vital issue in identifying plausibly causal     16            In other instances people have
   17   effects of advertising, which would otherwise   17   looked at endogeneity when it comes to a
   18   lead to overestimates of the advertising        18   specific product. They said, well, you know,
   19   response.                                       19   we knew that this product was going to be a
   20            Do you see that?                       20   blockbuster so we put our detailing on
   21       A. I do see that.                           21   product A versus product B, and so that's the
   22       Q. And --                                   22   nature of the endogeneity. But again, I
   23       A. And as I said before, it's               23   don't have that here because I'm aggregating
   24   because they're talking about physician-level   24   across products.
   25   data.                                           25            ///
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    1   BY MR. ROTH:                                     1             That's basically what I'm doing
    2        Q. It's a convenient answer to              2   is it may well be that targeting is happening
    3   everything, but I want to dissect that.          3   here. If that is true, then the aggregate
    4             The data you're looking at --          4   effect will be small. In the extreme, where
    5             MR. SOBOL: Well, objection to          5   promotion doesn't work at all, it just --
    6        that.                                       6   detailing -- we just, you know, detail the
    7   BY MR. ROTH:                                     7   doctors we know are going to prescribe, then
    8        Q. The data you're looking at from          8   I would find no effect in the aggregate.
    9   IQVIA is an aggregation of detailing contacts    9   Even though you would find an effect in the
   10   to doctors, correct?                            10   cross-section, you won't find it in the
   11        A. The details were made to                11   aggregate.
   12   doctors, yes.                                   12   BY MR. ROTH:
   13        Q. Or healthcare providers.                13        Q. We may have to agree to
   14   Actually, could have been nurse                 14   disagree on this one for now. I can't
   15   practitioners, as we talked about earlier?      15   promise we won't come back.
   16        A. Yes.                                    16             Do you agree that when
   17        Q. Why is it that adding up a              17   endogeneity is an issue, it's typically
   18   whole suite of contacts to doctors is any       18   handled through instrumental variables?
   19   less susceptible to the fact that certain       19        A. Yes, that is a classic
   20   doctors are more likely to be detailed in the   20   approach. In effect, the instrumental
   21   first place than looking at it on a             21   variables are trying to step back from --
   22   disaggregated individualized basis?             22   from that targeting to get to something that
   23        A. You're making me feel like I'm          23   is, in fact, exogenous.
   24   failing as a teacher. Let me try again.         24        Q. Are there other options for
   25             MR. SOBOL: Yeah.                      25   addressing endogeneity?
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    1        A. It's the fact of measuring,              1       A. Well, generally, there's sort
    2   detailing and prescribing at the doctor level    2   of broader research design, so ultimately,
    3   and trying to examine that specific              3   endogeneity concerns some kind of unmeasured
    4   relationship that's causing the endogeneity      4   third variable. I mean, there's simultaneity
    5   problem.                                         5   that has to do with sort of a different
    6            So imagine that -- I'm trying           6   interpretation of endogeneity, but what we're
    7   to give a work example for you, but I mean,      7   talking about here is something else that
    8   the concern again is that the patterns of        8   we're not measuring. So endogeneity can be
    9   high prescribing that we're observing between    9   addressed by measuring whatever that thing
   10   doctors are really causing detailing and not    10   is. So in the case of Datta and Dave, it
   11   the other way around.                           11   could be historic prescribing.
   12            But if I am ignoring those             12       Q. Did you take any effort to test
   13   patterns, the only thing that I'm looking at    13   for endogeneity issues or address endogeneity
   14   is increases over time. Those -- the forces     14   issues in your regression analyses?
   15   that say which doctors get detailed are just    15       A. Again, conceptually, I don't
   16   not -- they're not in my data.                  16   believe this is an issue looking at the
   17            So it's like doing an                  17   overall opioid market over time, so I did not
   18   intent-to-treat analysis, if that means         18   address endogeneity in my model.
   19   anything to you. We have clinical studies       19       Q. Do you know if anyone on your
   20   where we know that some patients will be        20   team did?
   21   compliant and some won't, and if we only look   21       A. I do not.
   22   at the effect of the drug on the compliant      22       Q. You've used the instrumental
   23   patients, we're going to misstate its           23   variables methodology to correct for
   24   population effect, so we look at all            24   endogeneity in other models you've developed
   25   patients.                                       25   for litigation, correct?

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    1        A. In looking at a single drug,             1   the one you used in Zyprexa to do that?
    2   yes. As I mentioned, there's another version     2        A. I have not thought about doing
    3   of the endogeneity story that makes sense for    3   defendant-by-defendant analysis in this case.
    4   a single drug.                                   4   It was not part of my assignment. I'm not
    5        Q. So in Zyprexa, I think, for              5   sure if that would be appropriate, again,
    6   example, you used instrumental variables?        6   because the interest here, even if we're
    7        A. I'm afraid that was a long time          7   looking at individual defendants, is on the
    8   ago. I didn't review that report for that.       8   overall -- on the market expansion aspect of
    9        Q. I can mark it just so we have            9   their marketing.
   10   it in the record.                               10             Whereas in Zyprexa, we were
   11             (Whereupon, Deposition Exhibit        11   very interested in the -- I'm trying to
   12        Rosenthal-12, Rosenthal Declaration        12   remember what words we used this morning --
   13        re: Zyprexa, was marked for                13   business dealing is the way economists
   14        identification.)                           14   usually describe it. Marketers describe it
   15   BY MR. ROTH:                                    15   something differently, but the market share
   16        Q. Exhibit 12 is your --                   16   shifts, those were relevant in Zyprexa
   17        A. Wow.                                    17   because the question was not so much that
   18        Q. -- declaration from Zyprexa,            18   Zyprexa was trying to grow the market,
   19   Analysis of Class-Wide Impact and Estimation    19   although there was some of that. It was
   20   of Damages.                                     20   about trying to encourage doctors to
   21             MR. SOBOL: Oh, wow. Memories.         21   substitute Zyprexa in place of
   22        A. I'm trying to -- do you know            22   first-generation antipsychotics.
   23   what the date on this is?                       23        Q. For a manufacturer that was not
   24   BY MR. ROTH:                                    24   part of the market before it grew and came
   25        Q. It is February 2007.                    25   into the market after it had been expanded,
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    1       A. Wow.                                      1   why is it the case in your model that that
    2       Q. 12 years ago.                             2   manufacturer is part of the aggregate
    3       A. That is a really long time ago.           3   analysis and not subject to some other type
    4   Yes.                                             4   of causation allocation?
    5       Q. Okay. And if you look at your             5            MR. SOBOL: Objection, asked
    6   Zyprexa declaration -- and I will stipulate      6       and answered.
    7   this is an excerpt, we didn't print the whole    7       A. Nowhere in my assignment was I
    8   thing, but at paragraph 35 you talk about the    8   asked to look at liability for individual
    9   fact that you developed a regression model,      9   manufacturers. I'm only trying to quantify
   10   and then the equations in paragraph 37.         10   aggregate impact. To the extent that I
   11            Do you see that?                       11   subtract individual defendants, it's really
   12       A. Yeah, I was just looking at --           12   only to get to a different whole, it's not to
   13   I was trying to remember whether this is a      13   assign liability to an individual defendant.
   14   panel data model or not, but --                 14   BY MR. ROTH:
   15            MR. SOBOL: Well, take your             15       Q. So looking at the Zyprexa
   16       time then to refresh your recollection      16   declaration, paragraph 42, you say: For
   17       of your model from 12 years ago.            17   purposes of the regression, the promotional
   18            THE WITNESS: I will. Yes.              18   variables for Zyprexa and its competitors
   19       A. Yes, this is a panel data model          19   were entered as discounted stocks following
   20   for the atypical antipsychotic class.           20   the tendency of the published literature and
   21   BY MR. ROTH:                                    21   in accordance with the theory that promotions
   22       Q. And if you were to try to                22   to physicians is habit building.
   23   assess the effect of any individual             23            Do you see that?
   24   defendants' promotion in this case, would you   24       A. I do.
   25   put together a panel data model similar to      25       Q. So you used a stock of
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    1   promotion with a depreciation rate similar to    1   BY MR. ROTH:
    2   here?                                            2       Q. And why is that again?
    3        A. At least I'm consistent, yes.            3       A. Because we're looking at the
    4        Q. No doubt.                                4   market as a whole, and not individual
    5             And then you also used a Fisher        5   manufacturers or individual drugs, where
    6   Ideal Price Index in that case too?              6   those decisions are made.
    7        A. I did.                                   7       Q. I guess I'm confused, because
    8        Q. But you weren't consistent               8   earlier you talked about us as this
    9   next, because then you say: In addition, the     9   manufacturing ecosystem that all kind of acts
   10   estimation deals with two important issues,     10   together, but now for purposes of
   11   serial correlation in the error terms and the   11   endogeneity, you're saying there are no
   12   endogeneity of price and promotion. Serial      12   issues because we're not looking at it on an
   13   correlation in the error terms require the      13   individualized basis, and I can't square
   14   use of time series methods to produce           14   those two things. Maybe you can help.
   15   reliable estimates. The endogeneity of price    15       A. Sure.
   16   and promotion was handled using the standard    16             MR. SOBOL: I'll object to the
   17   instrumental variables approach.                17       form, but go for it.
   18             Did I read that correctly?            18       A. Sure. I think where you're
   19        A. Yes, you did.                           19   confused is the ecosystem is causing
   20        Q. And if endogeneity is an issue          20   prescribing in a way that may be concerted,
   21   for you -- I understand you don't think it      21   but I -- I don't believe anywhere I have said
   22   is -- but if it is an issue for you, your       22   that the defendants are aligning, explicitly,
   23   regression may lead to overestimating the       23   their marketing efforts.
   24   response to promotion?                          24   BY MR. ROTH:
   25             MR. SOBOL: Well, then,                25       Q. Okay. Do you remember if you
                                             Page 343                                            Page 345
    1       objection.                                   1   used an instrumental variables approach to
    2       A. I do not believe endogeneity is           2   address endogeneity in Neurontin?
    3   an issue in my model for the reasons that        3       A. All not quite 12 years ago, 17,
    4   I've described. But in particular, what          4   however many, but I believe the answer is
    5   we're looking at is an aggregate phenomenon,     5   yes, in the circumstance of -- thank you, can
    6   and so the theory of endogeneity that we         6   you remind me -- the circumstance is very
    7   would have to have requires this reverse         7   similar to the Zyprexa matter.
    8   causation on a month-by-month basis for the      8       Q. Yes, so we can do this one
    9   market as a whole, and I do not believe          9   quickly.
   10   that's a plausible notion.                      10       A. Yes.
   11   BY MR. ROTH:                                    11       Q. But Exhibit 13 is your
   12       Q. Okay. Don't fight the                    12   Neurontin declaration, excerpted.
   13   hypothetical, though.                           13            (Whereupon, Deposition Exhibit
   14            Assume endogeneity is an issue         14       Rosenthal-13, Rosenthal Declaration
   15   with your model. What impact would it have?     15       re: Neurontin, was marked for
   16            MR. SOBOL: Objection, asked            16       identification.)
   17       and answered.                               17       A. It's in Calibri too.
   18       A. I cannot imagine a form of               18   BY MR. ROTH:
   19   endogeneity that would make sense in this       19       Q. It must be the Greylock
   20   case. I cannot understand how it could be       20   computers. Did Greylock McKinnon assist you
   21   that one month's sales could have caused the    21   there?
   22   next month's detailing to change in the way     22       A. Yes.
   23   that endogeneity requires. It's simply not a    23       Q. August 2008.
   24   plausible set of ideas in this context.         24            So looking at your Neurontin
   25            ///                                    25   declaration, you were addressing alleged

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    1   fraudulent promotion on behalf of the class       1   back? Yes.
    2   plaintiffs; is that right?                        2            (Whereupon, Deposition Exhibit
    3            MR. SOBOL: Actually, may I               3       Rosenthal-14, 2003 Kaiser Family
    4       just interrupt one second? Sorry.             4       Foundation Report, was marked for
    5            So is this pulled online or --           5       identification.)
    6       it indicates confidential in the              6   BY MR. ROTH:
    7       bottom left-hand corner.                      7       Q. Exhibit 14, Demand Effects of
    8            MS. VENTURA: It's available              8   Recent Changes in Prescription Drug
    9       online.                                       9   Promotion, the Kaiser Family Foundation, and
   10            MR. ROTH: Yeah, we got it               10   you are one of the authors.
   11       online.                                      11            Do you see that?
   12            MR. SOBOL: Okay, go ahead.              12       A. I do.
   13            THE WITNESS: Zyprexa too?               13       Q. And Professor Berndt is a
   14            MR. ROTH: I think so. I did             14   co-author of yours.
   15       ask that question.                           15       A. That is correct.
   16            MR. SOBOL: Zyprexa had at the           16       Q. And in this article, it looks
   17       top an ECF thing. This one didn't.           17   like you're analyzing whether increases in
   18       That's why I asked. I'm sorry. Go            18   direct-to-consumer advertising increased the
   19       ahead.                                       19   market share of an entire therapeutic class,
   20   BY MR. ROTH:                                     20   right?
   21       Q. So in Neurontin, you offered              21       A. Yes. So maybe just briefly,
   22   opinions on behalf of the class plaintiffs       22   this analysis is a panel data study. We have
   23   related to the defendants' promotion; is that    23   a couple of years of data, I think three
   24   right?                                           24   years of data, for five different classes of
   25       A. And coordinated plaintiffs -- I           25   drugs. And we do the analysis both at the
                                              Page 347                                            Page 349
    1   was just trying to see -- yes, that's right.      1   class level and then at the individual
    2       Q. And then your regression is in             2   product level.
    3   paragraph 34.                                     3       Q. But at least a part of this was
    4       A. Yes.                                       4   aggregated, correct?
    5       Q. And then in paragraph 40, under            5       A. At the class level, yes.
    6   Prices, there's a sentence toward the end         6       Q. Okay. Let's look at page 14.
    7   that says: The endogeneity of price and           7             MR. SOBOL: What about page 1?
    8   promotion was handled using the standard          8       It's got a quote from Kessler on it.
    9   instrumental variables approach.                  9             MR. ROTH: Look at that,
   10       A. Yes, that's correct.                      10       David A. Kessler, along with laureates
   11       Q. And that's actually a different           11       Thomas Jefferson and F. Scott
   12   endogeneity than what Datta and Dave were        12       Fitzgerald.
   13   describing.                                      13             THE WITNESS: It would not be
   14       A. That's correct.                           14       appropriate to comment on the
   15       Q. And is that endogeneity an                15       quotations in this paper.
   16   issue for you here?                              16   BY MR. ROTH:
   17       A. I think again, because we're              17       Q. So page 14 --
   18   looking at a market average set of prices,       18             MR. ROTH: Hold on.
   19   that that is not the same as thinking about      19             (Comments off the stenographic
   20   the simultaneity of price and quantities for     20       record.)
   21   an individual manufacturer.                      21   BY MR. ROTH:
   22       Q. Okay. I've got one more source            22       Q. Hold on, Professor. I am on
   23   for you. We're just taking the time machine      23   the wrong page, I think.
   24   into the farther back.                           24       A. Okay.
   25       A. Oh my gosh, is there farther              25       Q. Or hopefully not on the wrong
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    1   prescribing?                                      1        A. Well, my model is currently
    2       A. I'm sorry, can you explain                 2   agnostic as to whether the prescriptions
    3   what -- what that would look like?                3   caused by the unlawful conduct were diverted
    4       Q. You're the economist. You                  4   or not. It seems to me that it's a legal
    5   probably have a better idea of how to put         5   question about, you know, whether it would be
    6   that into a study. But is that something you      6   appropriate to separately identify those.
    7   considered doing?                                 7            As we started out our
    8       A. What is --                                 8   conversation today, it makes sense to me as
    9             MR. SOBOL: Objection to the             9   an economist that what -- whatever happened
   10       form.                                        10   with those prescriptions after they left the
   11             You're the lawyer. What's              11   pharmacy, the fact that they generated
   12       illegal?                                     12   profits for the defendants is a reasonable
   13             THE WITNESS: Yes, sorry,               13   basis for recovery, again, on the notion that
   14       that's my question.                          14   recovery is intended to deter this kind of
   15             MR. ROTH: I asked both of you.         15   conduct in the future.
   16       A. Well, as I understand this                16        Q. Does your direct model have any
   17   case, it is not about illegal prescribing but    17   variable for formulary placement status?
   18   illegal promotion, and those are two             18        A. It does not.
   19   different things.                                19        Q. Your direct model does not have
   20   BY MR. ROTH:                                     20   any variable for prescription drug coverage?
   21       Q. Right. But you understand that            21        A. As we discussed earlier, these
   22   there are doctors who have been criminally       22   are not factors that I would expect to be
   23   convicted for illegally prescribing opioid       23   changing over time in a way that would
   24   products?                                        24   predict the sales of opiates as a class, so
   25       A. I -- yes, I do know there have            25   if there are formulary changes, that may
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    1   been some prosecutions.                           1   result in more generics, more of the
    2       Q. And you don't have any variable            2   preferred brand versus the nonpreferred
    3   in your model to account for that?                3   brand. I don't believe that those are
    4       A. I do not account for that in my            4   appropriately captured in a model like this.
    5   model, no.                                        5       Q. Okay. Why do you prefer
    6       Q. You don't have any variable in             6   Model B to Model C?
    7   your model to account for diversion of            7       A. In part, because of that
    8   lawfully prescribed drugs to someone other        8   counterintuitive effect that we talked about
    9   than the intended user?                           9   before, with -- now I can't remember if it
   10             MR. SOBOL: Objection to the            10   was oxycodone or hydrocodone.
   11       form.                                        11       Q. I think it was the hydrocodone
   12       A. Just to be clear, when -- when            12   rescheduling.
   13   thinking about what to put in a model, one       13       A. I think it was hydrocodone,
   14   reason we might do it is we want to say this     14   yes.
   15   is something separate from the variable of       15             So that suggests to me that
   16   interest.                                        16   that's -- whatever it's doing, it's not
   17             But if, in fact, the allegedly         17   picking up what I think it's supposed to be
   18   unlawful marketing caused diversion, then it     18   doing.
   19   would not be appropriate to pull it out from     19             It makes almost no difference
   20   the model.                                       20       in the predictions, we looked at those
   21   BY MR. ROTH:                                     21       charts before, and you can see in the
   22       Q. Right. But you could conceive             22       adjusted R-squared there's almost no
   23   of a set of facts where diversion occurs in      23       difference, but it's -- to me it looks
   24   the setting of perfectly lawful marketing and    24       like it's not the right way to capture
   25   prescribing?                                     25       the effect of these events.
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    1   BY MR. ROTH:                                     1   see that they give almost the same
    2       Q. And, actually, I think Model C            2   predictions, the same actual predicted and
    3   has a slightly higher adjusted R-squared than    3   but-for predicted, and it seems to me that
    4   Model B.                                         4   Model C is not well specified in those five
    5       A. Yeah, just to be clear, it's              5   events, that they don't seem to work in the
    6   one ten-thousandth of a point.                   6   way that they're specified there, which is
    7       Q. But it is higher.                         7   that they start happening at a point in time.
    8       A. It is technically higher.                 8   BY MR. ROTH:
    9       Q. If you were to put more of the            9       Q. And yet, your breaks also occur
   10   events from Figure 5 into what is Model C,      10   at a point in time?
   11   would that not be a fairly robust test of the   11            MR. SOBOL: Objection.
   12   predictiveness of Model B since Model C is      12       A. The breaks are doing something
   13   really just Model B with the events added?      13   entirely different because they're
   14       A. I guess I don't understand your          14   interacting with promotion. They're saying,
   15   question. If I were to put more events in       15   you know, we've estimated this underlying
   16   Model C, would that be another test of          16   effectiveness of promotion and does that
   17   Model B?                                        17   relationship shift at a point in time.
   18       Q. Right.                                   18   BY MR. ROTH:
   19       A. I think the fact that -- that            19       Q. Okay. Model B suggests an
   20   adding a subset of events that were, you        20   R-squared of 99.36%.
   21   know, displaced over time doesn't change        21       A. Yes.
   22   ultimately the predictions in Model B,          22       Q. So your model explains more
   23   suggests to me that it's not going to be        23   than 99% of the variation in MMEs with
   24   worthwhile.                                     24   promotion?
   25            And again, the counterintuitive        25       A. That's correct, and price.
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    1   coefficient on the hydrocodone rescheduling      1       Q. So less than 1% of opioid MMEs
    2   suggest to me also, as we continue to add        2   are explained by anything but price and
    3   more events, we'll get a certain amount of       3   promotion?
    4   gobbledygook. I mean, that's just going to       4       A. That's correct.
    5   be true in a time series model.                  5       Q. And you conclude that the
    6            In any econometric model, the           6   predictive power of Model B is shown to be
    7   goal is to include the important factors but     7   quite good?
    8   be as parsimonious as possible. Adding all       8       A. Yes.
    9   these events would not be parsimonious.          9       Q. Have you tried running your
   10       Q. I think I heard you a minute             10   model removing promotion and just having
   11   ago say that you rejected Model C in favor of   11   price in the model?
   12   Model B in part because of the hydrocodone      12       A. I have not.
   13   rescheduling. Is there anything else that       13       Q. If it showed negative MMEs,
   14   led you to make the decision that Model B was   14   what would that mean for your model?
   15   preferred?                                      15       A. If we're removing promotion
   16       A. It adds almost nothing.                  16   and -- I mean, I guess as we talked about in
   17       Q. So it's really a function of             17   looking at Model A, it would suggest that
   18   almost essentially the same R-squared and you   18   there was something that's missing from the
   19   get this wonky result with hydrocodone's        19   model. When we looked at the but-for MMEs as
   20   rescheduling that leads you to prefer           20   negative, that clearly it is not doing a good
   21   Model B?                                        21   job of predicting the real world in which
   22            MR. SOBOL: Objection, asked            22   there were positive MMEs.
   23       and answered.                               23       Q. What is overfitting?
   24       A. That's -- yes, that is in                24       A. Overfitting is when you include
   25   effect correct. I look at the two models, I     25   factors in the model such that you perfectly

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    1   predict the dependent variable, that you've      1       A. Well, as we were talking
    2   saturated the model, which is why I don't add    2   before, he was looking at the correlation
    3   more events to this model, where it's already    3   over time of the errors in the model.
    4   high. Having an adjusted R-squared as high       4       Q. And did you see the results of
    5   as we do in this case in a time series model     5   his work?
    6   is quite common.                                 6       A. I did not see the results
    7       Q. How do you tell to see if a               7   specifically, no.
    8   model is overfit?                                8       Q. Is your direct model a linear
    9       A. I don't actually, as I sit                9   model or a nonlinear model?
   10   here, recall the specific test for              10       A. Well, it's nonlinear because of
   11   overfitting, but usually it's about             11   the depreciation rate. It is effectively run
   12   predicting out of sample and looking at how     12   using ordinary linear -- ordinary least
   13   well the model forecasts.                       13   squares, but it's nonlinear because of the
   14       Q. How does the R-squared of your           14   interaction of the depreciation rate.
   15   model in this case compare to R-squareds you    15       Q. Is R-squared an appropriate
   16   have from other models you've done of           16   measure for nonlinear models in econometrics?
   17   promotion against sales?                        17       A. The adjusted R-squared that we
   18       A. I don't recall specifically,             18   report here is appropriate for this model.
   19   but I think we probably have a few in front     19       Q. Okay. Let me mark as
   20   of us that we could look at.                    20   Exhibit 18 an article from Spiess and
   21       Q. Yeah. I mean, does 99.36                 21   Neumeyer, An evaluation of R-squared as an
   22   strike you as one of the higher R-squareds      22   inadequate measure for nonlinear models in
   23   you've had or are all of your models perfect    23   pharmacological and biochemical research.
   24   in their predictions --                         24            (Whereupon, Deposition Exhibit
   25       A. Model A has an R-squared of              25       Rosenthal-18, 2010 Spiess and Neumeyer
                                             Page 391                                             Page 393
    1   88 -- well, 87.99, the adjusted R-squared.       1       Publication, was marked for
    2   So we have a range here. Again, time series      2       identification.)
    3   models do typically have very high               3   BY MR. ROTH:
    4   R-squareds. I don't know what they've been       4       Q. Do you see that?
    5   in other models.                                 5       A. I do.
    6            As we talked about before, this         6       Q. The title sounds pretty
    7   is unlike the model, for example, that we did    7   relevant.
    8   in the Kaiser Family Foundation report where     8            Were you aware of this paper?
    9   we're looking at a couple of years for about     9       A. Not specifically.
   10   25 drugs and exploiting both time series and    10       Q. Okay. So this is a 2010 paper
   11   cross-sectional variation.                      11   in BMC Pharmacology. It looks like Spiess
   12        Q. You understand from the                 12   and -- is from the Department of Andrology at
   13   literature that a very high R-squared in the    13   the University Hospital Hamburg-Eppendorf in
   14   presence of substantial unmodeled               14   Germany.
   15   autocorrelation can be an issue?                15            Do you see that?
   16        A. I think we've already talked            16       A. I don't actually see where the
   17   about the error structure here, and my          17   authors --
   18   understanding is that my team looked at that    18       Q. I'm looking at the footnote.
   19   early on and concluded that it was not a        19       A. Uh-huh, yeah.
   20   problem here.                                   20       Q. Okay. So at page 1, at the
   21        Q. Who from your team did that             21   very bottom of the first column under
   22   work?                                           22   Background, it says: Although it is known
   23        A. That would be Forrest McCluer.          23   now for some time that R-squared is an
   24        Q. And what specifically did               24   inadequate measure for nonlinear regression,
   25   Mr. McCluer do to test for autocorrelation?     25   many scientifics and also reviewers insist on

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    1           Do you see that?                         1       Objection.
    2       A. Yes.                                      2       A. Well, you can see it rounded
    3       Q. Which is zero percent of the              3   here to two decimal places. The share of
    4   contacts because it's obviously lower than       4   contacts is obviously de minimis.
    5   one-hundredth of a decimal place of the          5   BY MR. ROTH:
    6   contacts?                                        6       Q. But in terms of the way the
    7       A. Yes.                                      7   shares work in your Table 3, are you looking
    8       Q. And still there's                         8   at percent contacts to come up with that
    9   MMEs that are associated with oxycodone.         9   number? You're not; you're doing a revised
   10           Do you see that?                        10   but-for analysis.
   11       A. Yes. It's --                             11            MR. SOBOL: Objection.
   12       Q. Go ahead.                                12       A. Yes, but the two things are not
   13           MR. SOBOL: There's no question          13   disconnected. So the way I construct
   14       before you.                                 14   Table 3, as I mentioned before, is not
   15       A. Yes.                                     15   allocating on the basis of MMEs. It's about
   16   BY MR. ROTH:                                    16   rerunning the but-for model and altering the
   17       Q. Well, and then we can see like           17   inputs in terms of detailing.
   18   in Kadian, you've got          contacts which   18            So the contacts for Actavis
   19   is     , and that's associated with             19   are backed out when I back Actavis out of the
   20              MMEs, right?                         20   model in Table 3, so that all of the contacts
   21       A. Yes.                                     21   that you see here associated with Actavis,
   22       Q. And you're not drawing any               22   that is what gets backed out of the model.
   23   conclusion about the effect of this extremely   23   BY MR. ROTH:
   24   small percentage of promotion and the number    24       Q. So the           of promotional
   25   of MMEs prescribed for those drugs, are you?    25   contacts?
                                             Page 431                                             Page 433
    1       A. I think I've been extremely               1        A.            yes.
    2   clear that my analysis is an aggregate           2        Q. So how is that resulting in an
    3   analysis of the entire opioid class.             3   overall allocation in Table 3 of
    4       Q. So where it says                          4             MR. SOBOL: Objection.
    5   MMEs for oxycodone, what is that number? Is      5        A.         -- well, I'm sorry. I'm
    6   that all generic oxycodone from 1993 to 2018?    6   afraid you misunderstand Table 3. So let me
    7       A. Sold by Actavis.                          7   go back and explain Table 3 again.
    8       Q. Okay. So all oxycodone sold by            8             So Table 3 starts out with the
    9   Actavis based on counsel and Mr. McCluer's       9   same aggregate impact measure that I
   10   assignment of drugs is in the MME column, and   10   calculate in Table 2, right, so that's the --
   11   there's    promotional contacts in the data?    11   if all defendant promotion did not occur,
   12             MR. SOBOL: Objection.                 12   here's what percent of units would not have
   13       A. Well, again, instruction from            13   been sold.
   14   counsel identified the defendants. You can      14             And then in Table 3, then I
   15   see here that oxycodone is -- the               15   say, okay, well, what if, in fact, the
   16   manufacturer is just Actavis. It seems          16   of detailing that Actavis was responsible for
   17   uncontroversial to me. But yes, there are       17   according to my analysis -- what if that's
   18               MMEs of oxycodone that Actavis      18   actually -- that doesn't get affected. That
   19   sold between 1993 and 2018.                     19   stays in the model. Then I run another
   20   BY MR. ROTH:                                    20   prediction. These are econometric
   21       Q. So can you tell without digging          21   predictions based on Model B, and so the
   22   into the guts of the model what share Actavis   22   whatever percent,            now that's the
   23   is being allocated for its   oxycodone          23   aggregate percent of all MMEs if Actavis'
   24   contacts in your model?                         24   conduct is no longer subject to recovery.
   25             MR. SOBOL: Objection.                 25             ///
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    1   BY MR. ROTH:                                     1   between defendants or non-defendants, it was
    2        Q. So to figure out what                    2   Mr. McCluer with instruction from counsel
    3   percentage of causation each manufacturer's      3   reviewing the sort of documents we just
    4   having, you actually have to subtract the        4   reviewed here today?
    5   percentage that you come up with from that       5            MR. SOBOL: Objection. What's
    6   analysis from the baseline?                      6       the question?
    7            MR. SOBOL: Objection,                   7       A. The --
    8        mischaracterizes the testimony.             8            MR. SOBOL: No, I don't know
    9        A. If you wanted to know how                9       what the question is. Is there a
   10   much -- how many MMEs Actavis' conduct          10       question? Or you want to just say
   11   specifically caused in the market overall,      11       "correct" at the end?
   12   you would subtract those two numbers.           12            MR. ROTH: I mean, come on.
   13   BY MR. ROTH:                                    13       All right.
   14        Q. So you would get            which is    14   BY MR. ROTH:
   15   close to the       of promotional contacts?     15       Q. I asked you questions about how
   16            MR. SOBOL: Objection.                  16   detailing contacts were allocated. Is the
   17        A. That's correct.                         17   process you described the same whether we're
   18   BY MR. ROTH:                                    18   talking about allocating among the defendants
   19        Q. So essentially -- and we can do         19   or between the defendants and non-defendants?
   20   this defendant by defendant, but it looks       20       A. The process of identifying
   21   like your allocations are just mirroring how    21   what -- in effect, what contacts should be
   22   much each of these defendants promoted?         22   assigned to defendants was with counsel, and
   23            MR. SOBOL: Objection.                  23   it was ultimately counsel's advice.
   24        A. Well, they are not, but -- but          24   Mr. McCluer assisted because he had the
   25   it should be obvious that because the           25   granular data, but ultimately, the
                                             Page 435                                            Page 437
    1   challenged conduct is promotion, that if we      1   identification -- I mean, I'm not sure why
    2   look at taking defendants out of the impact      2   it's different to say the identification of
    3   analysis, that the results would be              3   what pieces of -- what products belong with
    4   proportional to promotion, because that's the    4   what defendants and what products belong to
    5   thing that's being challenged.                   5   non-defendants. That's all one process.
    6   BY MR. ROTH:                                     6        Q. Okay. How does your model
    7       Q. So whoever has the most                   7   allocate generic drugs?
    8   detailing contacts in the IPS data is going      8             MR. SOBOL: Objection.
    9   to get the highest share under your Table 3?     9   BY MR. ROTH:
   10            MR. SOBOL: Objection.                  10        Q. The same way as we just
   11       A. Well, again, Table 3 is not              11   discussed?
   12   framed or interpreted as telling you how to     12             MR. SOBOL: Objection.
   13   allocate damages. It is intended for the        13        A. I don't know what you mean by
   14   court to see, A, that it's possible to move     14   allocate. My model measures the aggregate
   15   defendants in and out of the analysis, and,     15   impact of the challenged --
   16   B, what those effects would be.                 16   BY MR. ROTH:
   17            Whether or not damages are             17        Q. I should say it differently.
   18   allocated on the same basis, that is            18   How does Table C identify and associate
   19   something about which I know nothing.           19   generic drugs with manufacturers?
   20   BY MR. ROTH:                                    20             MR. SOBOL: Objection.
   21       Q. Okay. So we talked about                 21        A. Table C, I mean, the process
   22   allocating the detailing contacts, and I        22   for identifying the manufacturers and the
   23   assume the questions I asked you about the      23   drugs is the same for generics as it is for
   24   process for doing that would be true whether    24   brand name drugs. Those generic
   25   we're talking about between defendants or       25   manufacturers are identified in the IPS --
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    1   sorry, in both the IPS and the NPA data.         1   promotion; it does not disaggregate that
    2   BY MR. ROTH:                                     2   across sales.
    3       Q. And then looking back on                  3   BY MR. ROTH:
    4   Exhibit 19, you reference that the marketers     4       Q. And I think you said earlier,
    5   were associated with entities pursuant to        5   for that you would have to do a disaggregated
    6   marketing arrangements. What did you review      6   model, and that's not something you were
    7   on that score?                                   7   asked to do, nor something you did?
    8       A. I relied on counsel for that              8            MR. SOBOL: Objection, form,
    9   information.                                     9       mischaracterizes the prior testimony.
   10            MR. ROTH: I tell you what, why         10            MR. ROTH: Okay. Let me try it
   11       don't we take five more minutes,            11       again.
   12       because I think it would benefit for        12   BY MR. ROTH:
   13       streamlining.                               13       Q. In order to analyze the effect
   14            THE WITNESS: Okay.                     14   of a specific defendant's promotion, you
   15            THE VIDEOGRAPHER: The time is          15   would need to look at a defendant-specific
   16       4:57 p.m. We're now off the record.         16   model to correlate its promotion to MMEs?
   17            (Recess taken, 4:57 p.m. to            17            MR. SOBOL: Objection,
   18       5:15 p.m.)                                  18       mischaracterizes prior testimony.
   19            THE VIDEOGRAPHER: The time is          19       A. Well, I don't think so. What I
   20       5:15 p.m. We're back on the record.         20   have done, as you know, in the aggregate is
   21   BY MR. ROTH:                                    21   to look at all promotion and the extent to
   22       Q. To close the loop on this,               22   which it impacted all sales.
   23   Professor Rosenthal, Table 3 is the output of   23            And then in Table 3, the only
   24   Appendix C and the way that promotional         24   thing I'm trying to do is to identify if we
   25   visits and MMEs are affiliated with the         25   moved some set of promotion from the okay
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    1   defendants or non-defendants; is that right?     1   column -- from the not okay column back into
    2            MR. SOBOL: Objection.                   2   the okay column, how that would affect my
    3       A. I guess I wouldn't say that               3   aggregate impact.
    4   exactly. Table C reflects the underlying         4            So I am looking discretely at
    5   data structure that allows us to parse           5   defendants' promotion. But because I'm
    6   defendants individually and collectively from    6   interested in impact, whether or not it was
    7   non-defendants in the promotional data.          7   increasing my sales or increasing your sales,
    8            Table 3 then relies on that             8   I have, appropriate to my assignment,
    9   structure to produce alternative but-for         9   included both of those things in that impact
   10   percentages.                                    10   analysis. I have not been asked anywhere to
   11   BY MR. ROTH:                                    11   calculate the effect only on own sales.
   12       Q. The purpose of putting Table C           12   BY MR. ROTH:
   13   together was to create Table 3?                 13       Q. Table 3 allows you to assess
   14            MR. SOBOL: Objection.                  14   the impact of an individual defendant's
   15       A. I'm not sure that was its sole           15   promotional contacts on the aggregate
   16   purpose. It was to be transparent about how     16   promotion and aggregate MMEs?
   17   we are allocating drugs and their associated    17            MR. SOBOL: Objection, asked
   18   promotion to defendants.                        18       and answered.
   19   BY MR. ROTH:                                    19       A. Yes, that's correct. And just
   20       Q. Table 3 does not allow for a             20   to be clear, as we talked about before, the
   21   defendant-specific breakdown of the effect of   21   purpose of Table 3 is not to allocate to
   22   that defendant's promotion, correct?            22   defendants. I don't know how damages
   23            MR. SOBOL: Objection.                  23   ultimately will be allocated, but to
   24       A. Table 3 provides an aggregate            24   demonstrate that I could remove the conduct
   25   measure of impact associated with defendants'   25   of one of the defendants and still calculate
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    1   aggregate impact.                                1   and -- and then I alter a set of underlying
    2   BY MR. ROTH:                                     2   assumptions about what is in and what is out.
    3       Q. And, in fact, Table 3 does not            3            But it comes out of -- out of
    4   even allow you to isolate the impact of an       4   this econometric model. It doesn't -- it's
    5   individual defendant's promotion alone on the    5   not simply a market share analysis.
    6   aggregate; it simply shows you the proportion    6   BY MR. ROTH:
    7   of that individual defendant's promotion to      7       Q. If you took all of the
    8   the aggregate?                                   8   defendants out of the model except for one,
    9            MR. SOBOL: Objection, form,             9   what would the result of your table be?
   10       asked and answered.                         10            MR. SOBOL: Objection.
   11       A. I don't think that's correct.            11       A. Another number. I haven't done
   12   As we talked about before, this is not the      12   that.
   13   purpose of the table. But if you were to        13   BY MR. ROTH:
   14   look at the but-for percentage including        14       Q. I mean, would that defendant
   15   Purdue versus the but-for percentage            15   not just get the entire       or would there
   16   excluding Purdue, you would see the increment   16   be some other...
   17   that is due to Purdue's conduct.                17       A. No, that's not the way the
   18   BY MR. ROTH:                                    18   model works.
   19       Q. And that's essentially based on          19            MR. SOBOL: Objection.
   20   Purdue's share of the promotional contacts in   20   BY MR. ROTH:
   21   the data?                                       21       Q. Okay. But it wouldn't be --
   22            MR. SOBOL: Objection, asked            22   that would not be a defendant-specific model;
   23       and answered.                               23   that would just be isolating how your
   24       A. That is the way the aggregate            24   aggregate model works when you just consider
   25   model works, yes. It looks at all detailing     25   one defendant's promotion?
                                             Page 443                                             Page 445
    1   and their effect on all sales.                   1        A. Well, again, the aggregate
    2   BY MR. ROTH:                                     2   model would be the same, and if we said that
    3        Q. It's akin to a market share              3   all the defendants were no longer going to be
    4   analysis on the promotional data and the         4   subject to recovery except one, then we would
    5   number of contacts a given defendant has?        5   be left with the -- whatever the effect of
    6             MR. SOBOL: Objection, form,            6   that defendant's promotion on sales was.
    7        asked and answered.                         7        Q. Have you compared the results
    8        A. Well, it's not strictly                  8   of altering your aggregate model using
    9   speaking because the model has this time         9   Table 3 on a defendant-by-defendant basis
   10   series structure that marketing that occurs     10   with each defendant's share of promotional
   11   at one point in time is not the same as         11   contacts in the data?
   12   marketing that occurs at a different point in   12            MR. SOBOL: Objection, asked
   13   time. So it's not, strictly speaking,           13        and answered.
   14   proportional.                                   14        A. Well, I think when you and I
   15   BY MR. ROTH:                                    15   were talking before the break, you made some
   16        Q. But it is essentially a market          16   observation, but I have not, no.
   17   share analysis of each defendant's share of     17   BY MR. ROTH:
   18   contacts as modified by the time series         18        Q. Okay. When were you retained
   19   structure that you've imposed that we talked    19   by the plaintiffs in this case?
   20   about earlier today?                            20        A. In the summer. I'm not sure
   21             MR. SOBOL: Objection.                 21   the date on the letter, but in the summer of
   22        A. I just can't agree with that            22   2018, sorry, to be clear.
   23   statement. It's not a market share analysis.    23        Q. Who was it that retained you?
   24   It is the result, the output of a time series   24        A. I was retained by co-counsel.
   25   analysis of the effect of marketing on sales,   25   There are two Pauls and Joe Rice, and one of

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    1   them is a Hanly, but I can't remember all        1   may have been five.
    2   their names.                                     2       Q. And in addition to the four to
    3       Q. Okay. Did you personally draft            3   five face-to-face meetings, did you speak
    4   your expert report?                              4   with Professors Cutler, Gruber or McGuire
    5       A. I did.                                    5   about either your work or their work on this
    6       Q. And did anyone else assist you            6   case?
    7   in the drafting of the report?                   7       A. We had conference calls with
    8       A. I had some assistance from my             8   that group and with counsel for a period that
    9   staff, yes.                                      9   were weekly.
   10       Q. And you've mentioned your                10       Q. And do you recall how long the
   11   staff. We said that was Greylock. Can you       11   in-person meetings were?
   12   just give us the names of all the people who    12       A. Those in-person meetings I
   13   were on your staff?                             13   think were -- they were largely half day
   14       A. Sure. Yes, of course. Forrest            14   meetings.
   15   McCluer, who is the senior economist they       15       Q. And during those meetings, did
   16   mentioned earlier, particularly around the      16   you present your analyses to each other on
   17   technical aspects of the report. I believe I    17   slides or were they just conversations? How
   18   would have had some assistance, for example,    18   did those meetings work?
   19   in summarizing the complaint from Renee         19            MR. SOBOL: Just generally,
   20   Rushnawitz.                                     20       without the content.
   21       Q. Can you spell that?                      21       A. Generally there were high-level
   22       A. Yes, R -- well, Renee, is                22   presentations and discussions.
   23   R-E-N-E-E, and then Rushnawitz,                 23   BY MR. ROTH:
   24   R-U-S-H-N-A-W-I-T-Z.                            24       Q. And did you discuss with them
   25       Q. Okay. Anyone else?                       25   in general terms the analyses that ultimately
                                            Page 447                                               Page 449
    1        A. Not that I know of, but there            1   became the output of your expert report?
    2   are -- there are junior staff, for example,      2       A. Yes.
    3   who work with Forrest and Renee, so I think      3       Q. And the models you would run
    4   if you looked, you might see that there were     4   and the approaches you would take?
    5   junior staff pulling articles, doing that        5       A. Yes.
    6   kind of thing, but not involved in drafting.     6       Q. And I assume they shared their
    7        Q. So I understand from earlier             7   approaches and models and general report
    8   today and attending their depositions that       8   structures with you too?
    9   there was some amount of coordination you did    9       A. Yes.
   10   with Professors Cutler, Gruber and McGuire      10       Q. Did you review drafts of any of
   11   filing these reports; is that right?            11   their reports and did they review drafts of
   12        A. Yes.                                    12   your reports?
   13        Q. Did you meet with each of the           13       A. I -- what was the question.
   14   three other professors about your reports in    14            MR. SOBOL: With or without
   15   person before March 25th?                       15       counsel?
   16        A. Yes, we had meetings with               16       A. Review drafts with or without
   17   counsel.                                        17   counsel?
   18        Q. Do you recall how many meetings         18            MR. SOBOL: Well --
   19   you had with one or more of the Professor       19   BY MR. ROTH:
   20   Cutler group or McGuire try up frustrate        20       Q. Were there drafts reviewed? I
   21   prior to March 25th with or without counsel     21   know I'm not going to get the drafts. I just
   22   present?                                        22   want to know if you reviewed each other's
   23        A. I believe there were perhaps            23   drafts?
   24   four face-to-face meetings from the time I      24            MR. SOBOL: Sure.
   25   was retained to the filing of the report. It    25            MR. ROTH: And did the realtime
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    1       Q. And then the bureau of labor              1       of the conversation.
    2   statistics that's also used in the indirect      2   BY MR. ROTH:
    3   model?                                           3       Q. Are you aware that you've sells
    4       A. Yes.                                      4   data beyond those three datasets that were
    5       Q. The ARCOS data is in the                  5   purchased?
    6   indirect model. What is this health              6       A. Yes. I am aware they sell
    7   resources services administration Area Health    7   other datasets.
    8   Resource File?                                   8       Q. Okay. Did you sign any
    9       A. The Area Health Resource File             9   protective orders to get access to the ARCOS
   10   is sort of a metadata file. It includes data    10   data?
   11   from other sources to describe various          11       A. I did not, no.
   12   dimensions of county-level health systems,      12       Q. And have you signed any data
   13   health measures. So we also used that in the    13   use agreements related to any of the data you
   14   indirect model, and I actually have to look     14   looked at?
   15   to see if we used in the Section X.             15       A. No, but I don't know to what
   16       Q. And then what about the CDC              16   extent, for example, the people who actually
   17   surveillance epidemiology and end result        17   have the data have signed those data use
   18   dataset?                                        18   agreements so I don't touch the data.
   19       A. Those data track cancer, cancer          19       Q. I didn't see any depositions
   20   epidemiology.                                   20   from any of the Cuyahoga or Summit County
   21       Q. How did you get access to the            21   witnesses on Attachment B, so I assume you
   22   electronic data that you list in                22   didn't review those?
   23   Attachment B?                                   23       A. I did not.
   24       A. Attachment B includes some               24       Q. Did you interview any of the
   25   publicly available data that anyone can         25   employees with other Summit or Cuyahoga
                                            Page 463                                              Page 465
    1   obtain through the Internet, so that would       1   County?
    2   cover the ARC data, the ASEC data, the SEER      2       A. My analysis is a national
    3   results, because we're not getting the SEER      3   analysis of the effect of detailing on sales,
    4   microdata; they're aggregated. And certainly     4   so interviewing people in the bellwether
    5   the morphine milligram equivalence from the      5   counties would if the really not make sense
    6   CDC is publicly available data, the Area         6   as part of what I'm trying to do.
    7   Health Resource File is publicly available       7       Q. And you didn't rely beyond the
    8   data.                                            8   seven depositions you list any other
    9             The ARCOS data we obtained             9   depositions in this case related to
   10   through compass lexicon, the IQVIA data         10   defendants' marketing efforts?
   11   counsel purchased on our behalf. They won't     11       A. Again, I -- I don't find those
   12   sell it to us directly for litigation           12   to be relevant to the main affect the here,
   13   purposes. They will sell to counsel.            13   which is a quantitative analysis, and as I
   14       Q. And the --                               14   noted in my report, economists generally
   15       A. And the INCB are public.                 15   proceed using data to tell what people have
   16       Q. And did you discuss with                 16   done in response to a stimulus rather than by
   17   counsel purchasing any additional IQVIA data    17   asking them to talk about it.
   18   than the three set that you analyzed, IPS,      18       Q. What did you do to prepare for
   19   NPA or NSP?                                     19   your deposition today?
   20             MR. SOBOL: I instruct her not         20       A. I reviewed my report, the
   21       to answer.                                  21   documents I rely on, including the articles,
   22             MR. ROTH: I asked her if she          22   basically everything in this Attachment B,
   23       talked about it.                            23   and I had conversations with counsel.
   24             MR. SOBOL: Well, it would             24       Q. Okay. Turning back to page 10
   25       carry the implication of the content        25   of your report, which is the handy summary
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    1   chart?                                           1   this analysis, but this serves to give some
    2       A. Yes.                                      2   justification for the theory that I'm
    3       Q. Do you do this for every                  3   pursuing that promotion affects sales and
    4   report?                                          4   that there are multiple mechanisms involved.
    5       A. I -- it's -- I like a handy               5            So I review them, I would say
    6   summary table. It's something that is --         6   in Section VII with that purpose in mind, not
    7   that we do often in writing federal grants.      7   with the purpose of being exhaustive.
    8       Q. I will tell you this is                   8       Q. Yeah. And I think you said
    9   excellent and I'm going to start forcing some    9   earlier you're not marketing expert, right?
   10   of the experts that we have to start doing      10            MR. SOBOL: Objection.
   11   this?                                           11       A. I am not here to offer an
   12            MR. SOBOL: It's the only thing         12   expert opinion on marketing. I think
   13       I understand in the whole report.           13   Dr. Perri does that.
   14            MR. ROTH: It's nice, it's a            14   BY MR. ROTH:
   15       one-pager.                                  15       Q. Okay. And to the extent that
   16   BY MR. ROTH:                                    16   you're offering comments in Section VII.B of
   17       Q. So recognizing there's a lot of          17   your report from paragraphs 43 to 48 related
   18   nuance here, and we've already been through     18   to defendants' marketing documents, that's
   19   your direct model fairly exhaustively and       19   really did you know with an eye toward
   20   we'll do the same for the indirect and the      20   corroborating what the economic literature
   21   Section X analysis tomorrow?                    21   shows in -- as you analyze in Section VI
   22       A. Yes.                                     22   about the relationship between promotion and
   23       Q. I want to touch briefly on               23   sales?
   24   Section VII for a minute?                       24       A. Again, this was not intended to
   25       A. Okay.                                    25   be an exhaustive analysis, but to show that
                                             Page 467                                            Page 469
    1       Q. Okay. So Section VII, you                 1   the documents provide examples both of the
    2   reviewed literature on the marketing of          2   economic idea that promotion is intended to
    3   opioids and shared examples from discovery       3   grow sales and of the multiple marketing
    4   that corroborate the economic theory and         4   mechanisms that defendants use, so it
    5   evidence on pharmaceutical marketing. That's     5   corroborates other -- other ways that I have
    6   what you said, right?                            6   described the mechanism of interest here.
    7       A. Yes.                                      7        Q. Beyond reading the documents
    8       Q. And we've talked about some of            8   themselves, what other analytical approach
    9   that literature here today?                      9   did you take to assessing defendants'
   10       A. We have. We haven't gone into            10   materials regarding the effects of promotion?
   11   detail on the transfers of value literature     11        A. Well, as I just said, I don't
   12   related to opioids, but we can.                 12   use this analysis as an input in a
   13       Q. It's a tomorrow topic, unless            13   quantitative way to my subsequent analysis.
   14   you want to stay late?                          14   It is relate intended as you would see in any
   15       A. No, that's fine.                         15   economic paper as a review of the
   16       Q. But then on the discovery                16   institutional landscape that justifies the
   17   materials, you know, you said you had very      17   particular model and sets up the empirical
   18   specific requests for what you looked at.       18   analysis in a more qualitative way.
   19             Are those the documents you           19        Q. It's not really a separate
   20   looked at to come to the conclusions you do     20   opinion as you bulleted it out. It's more
   21   in Section VII of your report?                  21   context for the opinions that follow; is that
   22       A. Yes. The documents that I cite           22   fair?
   23   in Section VII -- and again can you tell that   23             MR. SOBOL: Objection.
   24   my quantification of the effect of promotion    24        A. Again, I think an institutional
   25   on sales doesn't rely on some measure from      25   analysis is a part of most -- most reports
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     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
     7
     8
     9                              __ __ __
    10                        Sunday, May 5, 2019
                                    __ __ __
    11
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                  CONFIDENTIALITY REVIEW
                               __ __ __
    13
    14
    15
    16            Videotaped Deposition of MEREDITH B.
            ROSENTHAL, Ph.D., VOLUME 2, held at Robins
    17      Kaplan LLP, 800 Boylston Street, Suite 2500,
            Boston, Massachusetts, commencing at
    18      8:04 a.m., on the above date, before
            Michael E. Miller, Fellow of the Academy of
    19      Professional Reporters, Registered Diplomate
            Reporter, Certified Realtime Reporter and
    20      Notary Public.
    21
    22
    23                            __ __ __
    24                   GOLKOW LITIGATION SERVICES
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    25                        deps@golkow.com

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    1   is not actually an industrywide model, is it?    1   appear in the output of my model because it's
    2       A. Again, industrywide for the               2   not relevant to my assignment. So by taking
    3   opioid industry?                                 3   out all of the -- actually, technically, it's
    4       Q. Well, except you take out all             4   sort of a double negative. I actually leave
    5   of the non-defendants from your model?           5   in all of the non-defendant promotion in the
    6       A. Well, that's not true. The                6   but-for scenario because it would have
    7   model is all of the -- all of the opioids.       7   happened regardless of whether the
    8   The but-for scenario takes -- leaves the         8   allegations are true or not.
    9   non-defendants as they were, but the model       9             By leaving that in, if it has
   10   concludes all of them.                          10   rivalrous components to it, if it has market
   11       Q. Right. So in the but-for                 11   expanding components to it, whatever that is
   12   scenario where you take out the                 12   will show up in my predictions.
   13   non-defendants, what did you do to compare      13   BY MR. ROTH:
   14   their promotional activities to the             14       Q. Yeah. What I'm trying to
   15   defendants' promotional activities?             15   understand is I think we agree that when you
   16            MR. SOBOL: Objection.                  16   look at an individual manufacturer there
   17       A. Well, such a comparison is not           17   could be endogeneity issues in the form of
   18   part of the overall analysis. Again, we've      18   price or in the form of detailing physicians
   19   talked about the Table C, which presents the    19   who are predisposed to prescribe their
   20   marketing by defendants and non-defendants,     20   product?
   21   so the data are in there.                       21       A. If we were looking at an
   22            The model itself includes              22   individual manufacturer, we could have some
   23   marketing for all opioids, and the but-for      23   of those endogeneity concerns, but I do not
   24   scenario simply disaggregates and identifies    24   look at an individual manufacturer.
   25   as a part of that process the marketing of      25       Q. I understand that.
                                             Page 491                                             Page 493
    1   non-defendants, but it does so only to           1            Even if we look at a group of
    2   generate different predictions of what sales     2   manufacturers, we would still have
    3   would have been, so there -- I did not make a    3   endogeneity concerns to a degree?
    4   statistical comparison between non-defendant     4            MR. SOBOL: Objection. Excuse
    5   and defendant promotion.                         5       me. Asked and answered.
    6   BY MR. ROTH:                                     6       A. It's my opinion that in this --
    7       Q. When you removed the                      7   when we're looking at the level of the entire
    8   non-defendants, what did you do to confirm       8   opioid industry, that the conceptual basis
    9   that that did not take out, for example, the     9   for such endogeneity concerns is really not
   10   non-rivalrous marketing and leave you with a    10   there, and even -- even if at the second
   11   set of just the rivalrous marketing?            11   stage of my analysis I parse out some subset
   12            MR. SOBOL: Objection.                  12   of defendant, of manufacturers, sorry,
   13       A. What I'm examining in my                 13   non-defendants, in particular, that in and of
   14   aggregate model is the net effect, rivalrous    14   itself doesn't raise a new endogeneity
   15   market expanding of promotion, and so the       15   concern. The model is estimated on the
   16   model calculates that average market            16   marketwide effects.
   17   expansion effect and essentially all of the     17   BY MR. ROTH:
   18   rivalrous marketing, it nets out by             18       Q. I'm trying to figure out where
   19   definition because to the extent that we're     19   the line is though. So like how many
   20   talking about rivalrous marketing as defined    20   manufacturers need to be included for all of
   21   as moving market shares from one drug to the    21   the endogeneity and rivalrous marketing
   22   other, which is basically the definition of     22   issues to just net out and show market
   23   rivalrous marketing, all the pluses have to     23   expansion as opposed to the effects of just
   24   net out with the minuses.                       24   the subset you're looking at?
   25            And so that -- that does not           25            MR. SOBOL: Objection to the
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    1        form.                                        1   regression model. It is not -- the second
    2            You can answer.                          2   stage of my analysis is simply employing
    3        A. The rivalrous marketing will              3   those parameters to predict a different
    4   always net out. Again, it's just                  4   scenario, and so endogeneity, it's -- it's
    5   mathematically true that by definition,           5   not a relevant construct for that prediction
    6   marketing that only moves market share, it        6   piece.
    7   has to net out. So that's just an identity.       7   BY MR. ROTH:
    8            That will always be true when            8       Q. If you look at Exhibit 14, this
    9   we look at any subgroup of products that          9   was the article you prepared for the Kaiser
   10   we -- that the rivalrous piece will net out.     10   Family Foundation in 2003, and if you look at
   11   It just has to.                                  11   page 2, the last paragraph on the page, you
   12   BY MR. ROTH:                                     12   say: In this paper, we examine the effects
   13        Q. What about endogeneity?                  13   of two types of promotional spending for
   14        A. The endogeneity issue in my              14   brands in five therapeutic classes of drugs,
   15   opinion is where we have the entire opioid       15   using monthly aggregate data from August 1996
   16   class in the analysis. It does not make          16   through December 1999.
   17   sense to think about this month-to-month         17            Do you see that?
   18   reverse causality for marketing as a whole       18       A. I do.
   19   for the industry, relative to sales as a         19       Q. So you actually looked at five
   20   whole for the industry. It's not how             20   different classes of drugs. Do you recall
   21   individual companies set their marketing         21   what drugs they were?
   22   budgets.                                         22       A. Antidepressants, nasal sprays,
   23            It just doesn't make economic           23   nonsedating antihistamines, PPI's, which are
   24   sense to me, so for the analysis at hand,        24   proton pump inhibitors, and number 5, let me
   25   looking at the entire opioid industry, I do      25   just look at -- there are some tables that
                                              Page 495                                             Page 497
    1   not believe that there's a conceptual basis       1   are probably the easiest place. I'm blanking
    2   for the same endogeneity concerns that we         2   on the fifth one. Cholesterol,
    3   might have with an individual drug or an          3   anticholesterol drugs.
    4   individual company.                               4       Q. Turn to page 14, please.
    5       Q. Your analysis compares your                5       A. Okay.
    6   industrywide but-for scenario against a           6       Q. And on page 14 you say: We
    7   scenario with just the defendant                  7   take account of the possibility that spending
    8   manufacturers, correct?                           8   on direct-to-consumer advertising and
    9            MR. SOBOL: Objection.                    9   physician promotion and product sales are
   10       A. So my analysis ultimately                 10   jointly determined by estimating instrumental
   11   compares the predicted -- the actual             11   variables, IV, models where all three
   12   predicted sales, so that's leaving everything    12   variables are assumed to be endogenous.
   13   the same with a world in which we pull out       13             Do you see that?
   14   some subset of the marketing.                    14       A. Yes.
   15   BY MR. ROTH:                                     15       Q. And I think you said yesterday
   16       Q. So what I'm trying to                     16   this article only solved for endogeneity at
   17   understand is I understand your position on      17   the product level?
   18   the big but-for scenario with the whole          18       A. I believe so, yes.
   19   industry, but why is endogeneity not a           19       Q. Okay. And if you look at the
   20   concern for the pulled-out set of                20   bottom of page 9, in the last paragraph it
   21   manufacturers?                                   21   says: At the top level of the tree, which
   22            MR. SOBOL: Objection.                   22   represents the therapeutic class of drugs, we
   23       A. There's no estimation that's              23   estimate the impact of DTCA spending and
   24   going on there, so endogeneity is a concern      24   detailing in the context of a Cobb-Douglas
   25   when we're estimating parameters using a         25   demand specification, double logarithmic. In
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    1   the analysis of competition at the individual    1        A. Unlike the research question in
    2   product level within each class we specify       2   this paper, my assignment asks me to compute
    3   and estimate three alternative models: 1, an     3   the impact of the alleged misconduct at the
    4   AIDS-type specification; 2, a logit model        4   level of the class, the industry, opioid
    5   with log of quantity share divided by, one       5   industry as a whole. And so it was not
    6   minus quantity share, on the left-hand side,     6   appropriate for me to look at individual drug
    7   and prices and promotional spending on the       7   level analyses.
    8   right-hand side; and 3, a Cobb-Douglas model     8            I maintain that at that class
    9   in log levels.                                   9   level, industry level, these endogeneity
   10            Do you see that?                       10   questions do not pertain.
   11       A. Yes, I do.                               11        Q. Did you test that hypothesis by
   12       Q. And then on page 15, under               12   looking at an individual defendant or two to
   13   Econometric Results, it says: We begin by       13   see how the issues there compare to how your
   14   presenting results in Table 3 for the top of    14   model handles endogeneity?
   15   the tree structure in Figure 2, the class       15        A. Since my assignment was an
   16   level quantity equations.                       16   aggregate assignment, I have conducted my
   17            Do you see that?                       17   analysis at the aggregate level. I have not
   18       A. I do.                                    18   conducted my analysis at the level of an
   19       Q. And then if you look at                  19   individual defendant.
   20   Table 3, which is on page 25, the top two       20        Q. And, in fact, to confirm,
   21   lines say: Class DTC and Class Detail, and      21   you've not reviewed any individual
   22   they have an asterisk that says Endogenous,     22   defendant's marketing materials for any drug
   23   IV Estimated.                                   23   at issue in this case?
   24            Do you see that?                       24            MR. SOBOL: Objection, asked
   25       A. Yes, I do. Actually, I can               25        and answered.
                                             Page 499                                             Page 501
    1   keep reading, but I think essentially the        1       A. I'm not sure what you mean by
    2   class level estimates are the sum of the         2   that exactly. I reviewed the documents that
    3   individual product level estimates. So           3   you see I relied on in my report. I would
    4   again, the instrumentation was at a product      4   consider those to be marketing materials.
    5   level.                                           5   BY MR. ROTH:
    6       Q. And then applied to the class             6       Q. You've not reviewed any
    7   level through aggregation?                       7   manufacturer's marketing plan for any drug at
    8       A. That's right.                             8   issue in this case?
    9       Q. Okay. And if you had                      9            MR. SOBOL: Objection.
   10   disaggregated individual drugs or               10       A. Again, I'm not sure that that's
   11   manufacturers in this case, you could have      11   entirely correct. I do cite to what I would
   12   applied an instrumental variables method to     12   consider to be marketing plans.
   13   each and aggregated them similarly here?        13   BY MR. ROTH:
   14            MR. SOBOL: This case, the              14       Q. Okay. Aside from the documents
   15       opioids case, not this?                     15   reflected in Attachment B or cited in your
   16            MR. ROTH: Correct, so let me           16   report, you've not reviewed any marketing
   17       reask it.                                   17   materials for any drugs at issue in this
   18            MR. SOBOL: Yeah.                       18   case?
   19   BY MR. ROTH:                                    19       A. Aside from materials cited in
   20       Q. If you had used disaggregated            20   my report, I've certainly not relied on any
   21   individual drugs or manufacturers in the        21   of those marketing materials.
   22   opioids case we're talking about now, you       22       Q. And aside from the depositions
   23   could have applied an instrumental variables    23   reflected in Attachment B, you've not
   24   model to each individual drug and then          24   reviewed any depositions from any
   25   aggregated them as you did in this article?     25   manufacturer's sales representatives?
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    1        A. Aside from the depositions that          1   for the purpose of your analysis?
    2   I cite in my report, I'm not relying on any      2            MR. SOBOL: Objection, form.
    3   other deposition testimony, no.                  3       A. Again, in my report I cite
    4        Q. You've not reviewed any                  4   certain documents that have data in them
    5   testimony or other direct evidence from          5   related to marketing. I do not use those
    6   doctors about how they were affected by a        6   data in my calculations.
    7   given manufacturer's promotion?                  7   BY MR. ROTH:
    8             MR. SOBOL: Objection.                  8       Q. And I think you said yesterday,
    9        A. As I note in my report, as an            9   you made a very specific request to look for
   10   economist, asked to examine the impact of the   10   such data. Do you remember that?
   11   alleged marketing misconduct, interviewing      11       A. I did, yes.
   12   physicians would not be a scientifically        12       Q. And why did you ask for that?
   13   appropriate methodology to ascertain impact.    13       A. When I started my work, I
   14             We know that self-report is           14   wanted to know about what all the possible
   15   unreliable, particularly when it comes to       15   data sources that would be available were.
   16   behavior that may be socially unacceptable.     16       Q. And if you had a more robust
   17   BY MR. ROTH:                                    17   source of disaggregated marketing data across
   18        Q. So if doctors from Summit or            18   defendants, would you have used that to model
   19   Cuyahoga County testified at trial that they    19   promotion instead of the IQVIA data that you
   20   were detailed but it didn't affect them, as     20   used?
   21   an economist, you would dismiss that            21            MR. SOBOL: Objection.
   22   testimony?                                      22       A. I can't say for sure, but I
   23             MR. SOBOL: Objection.                 23   wanted to find all the data that I could
   24        A. As an economist, I would rely           24   from -- from discovery.
   25   on the evidence about what people do and not    25            ///
                                             Page 503                                             Page 505
    1   what people say. It's been demonstrated in       1   BY MR. ROTH:
    2   the literature, literature that I cite in my     2       Q. You did not review any
    3   report, that again, that self-report is not a    3   manufacturer's detailing call notes?
    4   reliable basis for ascertaining impact, so I     4       A. I did not review any detailing
    5   would not rely on physician self-report.         5   call notes, no.
    6   BY MR. ROTH:                                     6       Q. And I think you said this
    7       Q. If defendants presented                   7   yesterday, but just to confirm, you did not
    8   testimony from 15 doctors at trial who all       8   comprehensively review all of any given
    9   said their prescribing practices were            9   manufacturer's marketing budgets for a
   10   unaffected by opioids promotion, would your     10   specific drug in this case?
   11   position be different?                          11            MR. SOBOL: Objection, asked
   12       A. I do not believe that numeracy           12       and answered.
   13   overcomes bias. There's no scientific basis     13       A. I did not systematically review
   14   for such a conclusion, so no, I do not          14   those marketing budgets, no.
   15   believe that physician self-report is           15   BY MR. ROTH:
   16   reliable, even if there are 15 physicians.      16       Q. And so when you calculate the
   17       Q. So in your view as an                    17   percentages in Table 3 of your report, as we
   18   economist, the testimony of any number of       18   discussed, that's just a comparison of
   19   doctors regarding how they viewed the effect    19   removing each defendant's promotional
   20   of defendants' promotion has no relevance?      20   contacts in the data from the aggregate
   21       A. I would not draw any conclusion          21   model?
   22   from such testimony for the purposes that my    22            MR. SOBOL: Objection, asked
   23   report has been set forth.                      23       and answered.
   24       Q. You did not review any                   24       A. Table 3 presents alternative
   25   manufacturer's disaggregated marketing data     25   simulations of but-for scenarios in effect,
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    1   grow is not conceptually inconsistent.           1       A. I think we're getting a little
    2   BY MR. ROTH:                                     2   too far out of my expertise and into clinical
    3       Q. We agree that all detailing is            3   questions.
    4   not equally effective?                           4       Q. Do you believe that promotion
    5             MR. SOBOL: Objection.                  5   has a greater impact on the very first
    6       A. I -- here I am trying to                  6   prescription a physician writes for a therapy
    7   estimate -- I am estimating the average          7   like opioids or for subsequent prescriptions
    8   effect of detailing. There may be some           8   the physician may write for the same drug?
    9   variation in that effect, but I'm interested     9            MR. SOBOL: Objection.
   10   in the aggregate impact.                        10       A. I'm not sure it makes
   11             And so the fact that my               11   conceptual sense to distinguish that. I
   12   analysis averages across some -- some           12   think that there is a -- there is an inherent
   13   variation is not mathematically a problem.      13   connection that happens when someone starts
   14   It will still lead me to the right answer in    14   on a medicine. They have a higher
   15   terms of the aggregate impact.                  15   probability of being on that medicine next
   16   BY MR. ROTH:                                    16   month than someone who didn't start, right,
   17       Q. I assume you agree based on the          17   so that -- that would be a natural underlying
   18   way you've constructed Model B that the         18   connection between the two things.
   19   effectiveness of detailing changes over time?   19            It may be that promotion also
   20       A. That is what Model B captures.           20   has a reminder effect, and so that would be
   21       Q. Right. Detailing that may have           21   an increment in addition to the fact of that
   22   been effective earlier in time may become       22   patients once on a drug may be likely to stay
   23   less effective over time as new information     23   on a drug.
   24   comes to light?                                 24            I have not tried to distinguish
   25       A. Well, I think the premise                25   those factors.
                                             Page 519                                             Page 521
    1   you're suggesting there is, again, it ignores    1   BY MR. ROTH:
    2   the addictive nature of the product, so once     2       Q. Is that an issue that you have
    3   a patient is using opioids and has increasing    3   studied or seen economic literature on,
    4   needs for higher doses; whether or not the       4   whether promotion is more effective at
    5   specific messages are still in the mind of       5   getting doctors to initiate a therapy versus
    6   their physician, they are nonetheless            6   maintain a therapy they've already used in
    7   addicted to the product or tolerant of the       7   the past?
    8   product and requiring higher and higher doses    8       A. Again, for the purposes of my
    9   which will show up in my data as higher and      9   analysis, I had no need or wish to
   10   higher MMEs.                                    10   distinguish between those things. I can't
   11            So I can't quite agree with the        11   point to a paper right now, but I believe
   12   premise and its relevance to the analysis.      12   that maybe someone has done that.
   13       Q. Based on your last answer, I             13       Q. I assume you're aware there are
   14   assume you'd agree that when a patient          14   different classes of opioids, correct?
   15   receives higher doses of opioids, that may be   15       A. There are different molecules,
   16   a sign of tolerance as opposed to addiction?    16   like oxycodone and hydrocodone, is that what
   17       A. Yes, higher doses may be                 17   you're referring to when you say classes?
   18   tolerance and not necessarily addiction.        18       Q. Well, there are different
   19   Again, I'm not a clinical expert, so I want     19   molecules, that's one thing.
   20   to be careful not to go too far with that.      20       A. Yes.
   21       Q. In fact, a patient who is being          21       Q. There are different
   22   successfully treated with opioids for chronic   22   formulations, right?
   23   pain may become tolerant and need a higher      23       A. Yes.
   24   dose to achieve the same pain deterrent         24       Q. There are different methods of
   25   effect?                                         25   administration?
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    1       A. Yes.                                     1   form of a memo from Mr. McCluer to you and
    2       Q. There's a patch, right?                  2   Mr. Sobol?
    3       A. Yes.                                     3       A. I'm not sure I can answer that
    4       Q. There's that sublingual spray?           4   question.
    5       A. Yes.                                     5       Q. But it sounds like the errors
    6       Q. And then there's pills and               6   were identified some by you and some by the
    7   injectables, for example?                       7   staff?
    8       A. Yes.                                     8       A. Yes, that's correct.
    9           MR. SOBOL: Film.                        9       Q. Do you know who caught the
   10   BY MR. ROTH:                                   10   Table 3 error?
   11       Q. Film?                                   11       A. That was me.
   12       A. Yes, I'm aware that there are           12       Q. I feel bad for the staff on
   13   different formulations.                        13   that one. And what about the --
   14       Q. And there's also                        14       A. I'm not the yelling type.
   15   immediate-release opioids and                  15       Q. And what about the statistical
   16   extended-release opioids, correct?             16   significance error, was that you or the
   17       A. Yes, that's correct.                    17   staff?
   18       Q. And for the purpose of your             18       A. That was the staff.
   19   models, apart from the injectables, all of     19       Q. Let's turn to your indirect
   20   those various forms of opioids are included?   20   model.
   21       A. Yes, that's correct.                    21       A. Okay.
   22       Q. Did the manufacturers'                  22       Q. So you talk about your indirect
   23   marketing budgets that you reviewed show       23   model beginning at paragraph 78 of your
   24   increased marketing spending over time?        24   report.
   25       A. As I sit here, I don't recall.          25            And I guess just taking a step
                                            Page 523                                             Page 525
    1       Q. Would you agree that if the              1   back before we get into specifics: Do you
    2   depreciation rate augments the stock of         2   have a preference for your direct over your
    3   detailing over time, it would be irrational     3   indirect model in this case?
    4   to keep spending money on promotion?            4       A. I believe they have strengths.
    5            MR. SOBOL: Objection.                  5   Each of them has strengths, so in my
    6       A. No, I don't think that that              6   opinions, I have not favored one over the
    7   would be a conclusion that I would agree        7   other.
    8   with.                                           8       Q. In general when you perform
    9   BY MR. ROTH:                                    9   regression analysis, do you have any
   10       Q. And why not?                            10   preference for a direct approach versus an
   11       A. The more effective your                 11   indirect approach?
   12   marketing is, the more you want to spend on    12       A. No preference. I think these
   13   it.                                            13   kinds of models are really context specific.
   14            MR. SOBOL: An answer I                14       Q. And if you look at page 53,
   15       understood.                                15   paragraph 78, you start by saying: As noted
   16   BY MR. ROTH:                                   16   earlier, the direct method of estimation is
   17       Q. We spoke briefly about your             17   limited in part by the extent to which we can
   18   errata yesterday. Can you just tell me how     18   measure and include in the models all of the
   19   did that errata come about?                    19   tactics allegedly employed by defendants,
   20       A. That came about from review             20   including manipulation of various
   21   partly, my very careful review as I was        21   professional societies and accrediting
   22   preparing for this deposition, and the staff   22   bodies.
   23   doing the same.                                23             Did I read that correctly?
   24       Q. Got it.                                 24       A. Yes, you did.
   25            And then why did it come in the       25       Q. And that's based on the
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    1   allegations that you reviewed?                   1        of this somewhere?
    2       A. That's correct.                           2             THE WITNESS: Not in my report.
    3       Q. Would you agree that if a                 3             MR. ROTH: Just for you. I
    4   defendant did not engage in promotion other      4        don't think we've seen that. I would
    5   than the detailing measured by the IPS data,     5        love to see it.
    6   the direct model would be a more appropriate     6   BY MR. ROTH:
    7   measure of that particular defendant's impact    7        Q. So looking at the two tables
    8   on the aggregate MMEs?                           8   next to each other, I guess just first taking
    9       A. My assignment was to calculate            9   the bottom line, in Table 2, the direct Model
   10   aggregate impact, so I have not considered      10   B estimates that          of MMEs are
   11   how to calculate impact for a single            11   attributable to defendants' detailing.
   12   defendant.                                      12             Do you see that?
   13            As we talked about yesterday, I        13        A. Yes.
   14   think there are some complicated questions      14        Q. And in Table 5, the indirect
   15   about how to deal with the spillover effect,    15   method suggests that          of MME shipments are
   16   so I have not undertaken to do that.            16   attributable to defendants' detailing; is
   17       Q. As we've discussed fairly                17   that right?
   18   exhaustively, your direct Model B explains      18        A. That's correct.
   19   over 99% of the variation in MME sales based    19        Q. So that's a         delta -- well,
   20   on the detailing data in IQVIA.                 20   that's a bad question because that's not how
   21       A. Yes, it does.                            21   math works.
   22       Q. Does that not suggest that the           22             MR. SOBOL: Right.
   23   effect of all of these other types of           23   BY MR. ROTH:
   24   promotion is negligible at best?                24        Q. It's         higher -- well, the
   25       A. It may well be the case that             25   numbers are what they are, but it's
                                             Page 527                                                 Page 529
    1   the amount of variation that is picked up by     1   and        -- it's actually     higher, I think,
    2   a broader measure of promotion would not be      2   if I'm doing the math right.
    3   so much more. The indirect model is              3        A. It is        percentage points or
    4   conceptually quite different, however.           4   about         higher than the direct estimate.
    5       Q. So if you compare Table 5,                5        Q. You said it better than I
    6   which is on page 61 -- let's take a step         6   could.
    7   back, lay some foundation.                       7            How is that possible given that
    8       A. Sure.                                     8   you had a 99% R-squared in the direct model
    9       Q. So Table 5 on page 61 is the              9   that your indirect model could estimate twice
   10   output of your indirect model, correct?         10   as much impact by defendants' promotion?
   11       A. It is.                                   11        A. As I mentioned, they are
   12       Q. Okay. We talked yesterday                12   conceptually very different kinds of
   13   about Table 2, which is the output of your      13   analyses, so whether or not detailing
   14   direct model and appears on page --             14   explains the vast majority of the variation
   15       A. Should I bend the corner so we           15   in sales, it does not account for -- it
   16   can go back and forth?                          16   accounts for a smaller percentage of total
   17       Q. Yes, good idea.                          17   sales, so the magnitude of effect is not the
   18           So I want to compare the direct         18   same thing as the amount of variation
   19   output in Table 5 on page 61 -- sorry, strike   19   explained, right?
   20   that.                                           20            And the indirect model takes
   21           I want to compare the indirect          21   the position that there are these long run
   22   model output in Table 5 on page 61 with the     22   factors that may -- that we can see are
   23   direct model output in Table 2 on page 51.      23   relevant to demand in -- across areas, and if
   24       A. Okay.                                    24   we extend those forward, looking at the
   25           MR. SOBOL: Do we have a graph           25   growth in MMEs only as a result of those
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    1   factors, that's another version of what the      1   of MMEs.
    2   world would have been like.                      2        Q. And you chose that because that
    3            It assumes, again, that the             3   was the earliest year available in ARCOS?
    4   drivers of the massive growth we saw were        4        A. Yes, that's correct.
    5   only related to defendant promotion, and so      5        Q. How did you construct the
    6   it allows defendant promotion to affect sales    6   explanatory variables you used in the
    7   in a broader way than the direct model does.     7   indirect model?
    8        Q. In the direct model, I believe           8        A. The explanatory variables come
    9   you went through 2018; is that right?            9   from a variety of sources that I think we
   10        A. Yes. There were differences in          10   reviewed at a very high level yesterday.
   11   data availability, so yes.                      11   They're county level -- we haven't exactly
   12        Q. Right. So that was what I was           12   talked about. So this is a county level
   13   going to ask you.                               13   cross-sectional analysis and we bring in data
   14            Direct goes through 2018,              14   from a variety of government economic sources
   15   indirect only goes through 2016?                15   and other sources to capture county-level
   16        A. Yes. And as I'm sure we'll get          16   information.
   17   to also, because the ARCOS data start in        17        Q. And we spoke about this a
   18   1997, I do, I backcast for '95 and '96, but     18   little yesterday with respect to Professor
   19   really I'm starting in 1997.                    19   Cutler.
   20        Q. Got it. So direct, you go '95           20        A. Yes.
   21   to 2018; indirect, you go from '97 to 2016.     21        Q. But the same question for you:
   22        A. That's correct.                         22   Why did you decide to use national data and
   23        Q. Okay. And that's just because           23   do a national model for direct regression,
   24   of just data limitations?                       24   but then do your indirect regression analysis
   25        A. That's correct.                         25   based on county-level data?
                                             Page 531                                            Page 533
    1       Q. If you had the other years, you           1             MR. SOBOL: Objection, asked
    2   would use them in the indirect model?            2       and answered.
    3       A. That's correct.                           3       A. Sure. The time series analysis
    4       Q. If you look at paragraph 82 of            4   that I did is appropriately done at the
    5   your report, you describe your indirect model    5   national level. We're trying to calculate
    6   as a form of residual analysis.                  6   national aggregate impact and the factors
    7            Do you see that?                        7   that drive sales over time make sense to do
    8       A. Yes.                                      8   in -- at a national level there. We don't
    9       Q. And can you explain what a                9   have promotional data at a county level, so
   10   residual analysis is?                           10   it would not be possible to do a direct model
   11       A. Well, a residual is the                  11   at this level.
   12   leftover part, and so a residual analysis is    12             On the other hand, and this is
   13   an analysis that draws inferences not from      13   why the indirect model complements the direct
   14   something included, but something excluded.     14   model, we can look cross-sectionally at
   15       Q. Sort of like in accounting,              15   variation in these socioeconomic and
   16   when you depreciate something, what's left      16   demographic variables because there's a fair
   17   after you've depreciated it is the residual?    17   amount of cross-sectional variation, and get
   18       A. Is it? Yeah, perhaps.                    18   reasonably precise estimates of the effect of
   19       Q. Except if the depreciation               19   those factors on MMEs.
   20   somehow appreciates, but we won't go there      20             And so the cross-sectional
   21   again.                                          21   model works at the county level, and then
   22            What is the baseline of your           22   rather than having to estimate the effects of
   23   indirect model?                                 23   those variables over time, we can trend them
   24       A. The baseline for the indirect            24   forward based on the cross-sectional
   25   model as I just mentioned is the 1997 level     25   analysis.

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    1   BY MR. ROTH:                                     1        A. Yes.
    2       Q. That's right. So let's look at            2        Q. Then also on page 12, we'll get
    3   Exhibit 22, which is the data appendix that I    3   to this later, but it shows the DEA drug
    4   believe you shared with Professors Cutler and    4   codes and names in the ARCOS data which are
    5   Gruber?                                          5   at the molecule level.
    6       A. That's right. As I mentioned,             6        A. That's right.
    7   the ARCOS data for me come through Compass       7        Q. And that was why you couldn't
    8   Lexecon.                                         8   separate out the Schedule IIIs, as we
    9       Q. Okay. So we spoke yesterday               9   discussed?
   10   about who helped you with your report, and it   10        A. That's correct.
   11   was Greylock McKinnon. Other than giving you    11        Q. And then if you turn to
   12   the ARCOS data, did Compass Lexecon have any    12   page 13, the next page.
   13   role in the preparation of your expert          13        A. Yeah.
   14   report?                                         14        Q. Sorry, it's actually on
   15       A. No role in the preparation of            15   page 14. That's my errata.
   16   my expert report, no.                           16             Do you see the section mapping
   17       Q. And did you speak with anyone            17   shipments from three-digit ZIP codes to
   18   from Compass Lexecon directly?                  18   counties?
   19       A. Yes, we talked about those               19        A. Yes, I do.
   20   meetings, and perhaps some of the calls,        20        Q. It says: As noted above, the
   21   there were people from Compass Lexecon on       21   most detailed geographic area reported in the
   22   those.                                          22   public ARCOS reports is the three-digit ZIP
   23       Q. But in terms of your regression          23   code. Three-digit ZIP codes are based on the
   24   analyses and running the Wald statistical       24   first three digits of standard U.S. postal
   25   tests, that was all Greylock and yourself;      25   ZIP codes. These areas typically, but not
                                             Page 555                                             Page 557
    1   that was not Compass Lexecon?                    1   exclusively, span across more than one county
    2       A. Yes, that's correct, my staff             2   and thus are not directly comparable to the
    3   ran these.                                       3   county level of data available for mortality,
    4       Q. Okay. So if we look at                    4   crime and geographic -- I'm sorry, crime and
    5   Exhibit 22, turn to page 11, and it's a          5   demographic and economic statistics.
    6   section on the ARCOS prescription shipment       6            Do you see that?
    7   data.                                            7       A. I do.
    8            Do you see that?                        8       Q. And were you aware of that
    9       A. Yes.                                      9   issue?
   10       Q. Do you know who prepared this            10       A. I was at one level. I had
   11   document?                                       11   forgotten that there was a cross-walk from
   12       A. I do not, no.                            12   three-digit ZIPs, which themselves, again,
   13       Q. It was not you or your staff as          13   are geographic areas that vary in terms of
   14   far as you know?                                14   how big they are.
   15       A. It was not me or my -- it                15       Q. Do you know how Cuyahoga County
   16   certainly was not me. I do not believe it       16   compares to the three-digit ZIPs that are
   17   was my staff.                                   17   reflected in the ARCOS data for that area?
   18       Q. So on the top of page 12, it             18       A. I'm sorry, I do not.
   19   says: The Drug Enforcement Agency, DEA,         19       Q. Do you know how Summit County
   20   provides data on shipments of prescription      20   compares to the three-digit ZIPs for that
   21   opioids over time and across geographies.       21   part of Ohio?
   22   This appendix describes the source of these     22       A. No, I did not.
   23   data and the steps taken to process and set     23       Q. And if you look at page 15, it
   24   up the data for analysis.                       24   says: In order to link the ARCOS shipments
   25            Do you see that?                       25   data to the other county data, we have

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    1   allocated shipments based on the weighted                1        Q. Okay. And you would agree that
    2   average population of census block centroids,            2   just because a product is shipped to certain
    3   center points that fall within each county               3   counties does not mean it's consumed there?
    4   that a three-digit ZIP code crosses. And                 4             MR. SOBOL: Objection, asked
    5   then this means that when a three-digit ZIP              5        and answered.
    6   code crosses county boundaries, we use the               6        A. I think as explained in -- in
    7   population at the census block level to                  7   the Cutler report, and Gruber may have said
    8   estimate the share of population across                  8   it also, to the extent that shipments are
    9   counties for the three-digit ZIP.                        9   moving from one county to another, this
   10            Do you see that?                               10   regression methodology will -- it will just
   11       A. I do.                                            11   contribute to noise essentially in the
   12       Q. An underlying assumption to                      12   regression.
   13   this approach is that the shipments per                 13             So it's -- that -- the fact
   14   capita within a three-digit ZIP code are the            14   that there may be understatement of shipments
   15   same across census blocks.                              15   in Ohio -- I think that's the premise here --
   16            Do you see that?                               16   because there's overstatement somewhere else
   17       A. Yes.                                             17   because they moved from one place to another,
   18       Q. And when it says "we have                        18   that itself won't bias this analysis. It may
   19   allocated," do you know who did that work?              19   create some noise.
   20       A. Compass Lexecon, but I don't                     20   BY MR. ROTH:
   21   know who in particular.                                 21        Q. What is your basis for thinking
   22       Q. And did you do anything to test                  22   there's an understatement of shipments to
   23   Compass Lexecon or whomever's underlying                23   Ohio in the ARCOS data?
   24   assumption that shipments per capita within a           24        A. Well, again, it's really
   25   three-digit ZIP code are the same across                25   reading Cutler and Gruber's reports and the
                                                     Page 559                                             Page 561
    1   census blocks?                                           1   notion of the -- I guess it was the
    2        A. I did not, no. I don't think                     2   Oxy Express, so the shipments go to Florida,
    3   it's possible to do that with these data                 3   but they ultimately end up in Ohio and
    4   because there aren't census block level data             4   Kentucky and places like that.
    5   in ARCOS.                                                5       Q. And have you done any analysis
    6        Q. And then they explain their                      6   as to how the Oxy Express influenced
    7   methodology below with the mathematical                  7   consumption of prescription opioids in Ohio?
    8   formula of how they allocated ARCOS drug                 8       A. No, I have not.
    9   shipment totals to the counties based on                 9       Q. Do you agree that the census
   10   population share?                                       10   data on population is not necessarily
   11        A. That's right.                                   11   connected to where opioids are consumed?
   12        Q. And that's not an analysis                      12       A. Allocating shipments based on
   13   you've seen before?                                     13   population is a reasonable approach, and I
   14        A. I'm sorry, what do you mean?                    14   think, you know, as they say in footnote 24,
   15   I've seen this data appendix.                           15   this is -- it's very common that we make such
   16        Q. Have you seen the analysis for                  16   geographic cross-walks just because the way
   17   how Compass Lexecon allocated ARCOS shipments           17   data are presented. It's a reasonable basis
   18   to the counties?                                        18   for allocating shipments in my opinion.
   19        A. I guess I don't know what you                   19       Q. I understand you think it's a
   20   mean by "seen." I understand that they                  20   reasonable basis. I'm not asking that.
   21   allocated based on population using this                21             I'm just asking the factual
   22   formula, so have I seen the individual                  22   question. Where the population is shown in
   23   calculations, is that what you're asking?               23   the census data is not necessarily correlated
   24        Q. Correct.                                        24   to where the shipments are consumed?
   25        A. No, I have not.                                 25             MR. SOBOL: Objection.
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    1      A.      Well, it almost --                    1   factor you included is the percent of the
    2            MR. SOBOL: Asked and answered.          2   population that is white, black and
    3       A. It almost certainly is                    3   Hispanic --
    4   correlated because you need peoples -- people    4       A. Yes.
    5   to have consumption, but exactly what the        5       Q. -- so race.
    6   relationship is, I can't say for sure. But       6            And then the share of the
    7   again, it almost surely is a major factor in     7   population in four different education
    8   determining where the consumption is. It may     8   groups, correct?
    9   not be perfectly correlated.                     9       A. Yes.
   10   BY MR. ROTH:                                    10       Q. And the percent of the county
   11       Q. And people don't necessarily             11   identified as urban, correct?
   12   consume prescription opioids in their homes,    12       A. That's right.
   13   right?                                          13       Q. And are all of those census
   14            MR. SOBOL: Objection.                  14   categories?
   15       A. Well, I don't think that that's          15       A. I believe so, yes. I think
   16   the -- that's the relevant question for my      16   they all come from the ASEC that we talked
   17   analysis. Again, I'm really looking at what     17   about.
   18   factors predict shipments here, so wherever     18       Q. Okay. And then in the second
   19   people consume them.                            19   category, economic variables, you included
   20   BY MR. ROTH:                                    20   the unemployment rate?
   21       Q. But you understand that your             21       A. Yes.
   22   analysis is feeding into Professor Cutler's     22       Q. You included
   23   analysis and Professor McGuire's analysis who   23   employment-to-population ratio?
   24   are trying to compute harms and damages         24       A. Yes.
   25   occurring within Summit and Cuyahoga County?    25       Q. You included the distribution
                                             Page 563                                            Page 565
    1       A. It's true, but the way my                 1   of employment by major industry sector?
    2   indirect analysis feeds into Professor           2       A. Yes.
    3   Cutler's analysis is in the aggregate.           3       Q. You included median household
    4       Q. If you turn to paragraph 84,              4   income?
    5   that lists, I believe, all the variables you     5       A. Yes.
    6   include in the indirect model; is that           6       Q. You included the poverty rate?
    7   correct?                                         7       A. Yes.
    8       A. Yes.                                      8       Q. And you included the county's
    9       Q. So you've got three categories,           9   population?
   10   demographic, economic and healthcare            10       A. Yes.
   11   variables.                                      11       Q. And then for healthcare, you
   12       A. That's right.                            12   only included two variables, correct?
   13       Q. Let's take those one at a time.          13           MR. SOBOL: Objection.
   14             So the demographic variables          14           You can answer.
   15   you include are essentially gender, male        15       A. Yes, I included two healthcare
   16   versus female?                                  16   variables.
   17       A. Yes.                                     17   BY MR. ROTH:
   18       Q. The percent in different age             18       Q. And one was the percentage of
   19   groups set out in your report as to how you     19   the population without insurance, correct?
   20   divided them, it looks like into five           20       A. That's correct.
   21   different age -- six different age group --     21       Q. And the second variable is the
   22   five different age groups?                      22   number of cancer deaths, correct?
   23       A. Sure. Sorry, these are just              23       A. That's correct.
   24   standard census categories.                     24       Q. Why did you include a variable
   25       Q. Okay. Another demographic                25   to account for the percentage of the
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    1   population without insurance?                    1       A. Yeah.
    2        A. I included that variable                 2       Q. -- cannot be disaggregated, but
    3   because I thought that there might be            3   I thought in your last section you have a
    4   relatively widespread coverage differences       4   disaggregation of potentially appropriate
    5   across counties and that that might explain,     5   MMEs for Summit and Cuyahoga that includes
    6   as I think we talked a little bit about          6   trauma and surgery.
    7   yesterday, the extent to which people go to      7       A. Yeah, the HCUP data, those data
    8   the doctor and therefore get a prescription,     8   are not at the county level. The other data
    9   and also, their likelihood of filling a          9   are at the county level, the Area Health
   10   prescription.                                   10   Resources File. So I was distinguishing
   11        Q. Insurance coverage, though, is          11   between those two.
   12   not a variable you included in your direct      12            And in general, you can see,
   13   model?                                          13   when we get to the appropriate uses, that
   14        A. That's correct. And I'm sure            14   the -- those trend downwards, and so even if
   15   we'll continue to come back to this, but the    15   we were to include those in the model and
   16   cross-sectional variation, insurance coverage   16   they had a cross-sectional relationship, it
   17   is a lot more substantial across counties       17   would not cause the indirect estimate to be
   18   than it is over time.                           18   increasing.
   19        Q. In your -- what I'll call               19       Q. But you didn't actually include
   20   thought experiment, which we'll talk about in   20   those in the model?
   21   a minute, you include as potentially            21       A. I didn't, no.
   22   medically allowable prescriptions, surgery      22       Q. Did you consider any other
   23   and trauma; is that right?                      23   variables to include in any of the three
   24        A. Yes. I guess we'll discuss the          24   categories, demographic, economic or
   25   right words to describe that, but yes, so as    25   healthcare, in your indirect model, aside
                                            Page 567                                             Page 569
    1   the potentially appropriate uses, something      1   from the ones we've discussed?
    2   like that I think is what I say, that            2        A. No, these are the variables --
    3   surgical and trauma conditions, yes.             3   these variables are based on previous
    4       Q. But in your indirect model you            4   literature, all of those demographic and
    5   don't have any variables for either surgery      5   socioeconomic variables come from an
    6   or trauma?                                       6   assessment of what has been shown to be
    7       A. I do not, no.                             7   associated with opioid use.
    8       Q. And why is that?                          8        Q. And what literature assessing
    9       A. Well, the data from the                   9   the variables associated with opioid use are
   10   healthcare utilization project that we          10   you relying on?
   11   will -- we'll talk about later, those cannot    11        A. Well, I don't think I have a
   12   be disaggregated. There are some state-level    12   citation in here, so I don't know a specific
   13   data, but they're considered to not be          13   paper as I sit here. Again, these are --
   14   reliable for that purpose, so those are         14   these are variables that economists studying
   15   national data only.                             15   opioid use have used from the census data.
   16            And ultimately, the trends in          16             This is the source of data that
   17   those -- sorry, wrong question, I was           17   have been used by researchers. I think most
   18   answering the direct model.                     18   of that literature is cited in Professor
   19            And ultimately, those factors,         19   Cutler's report.
   20   the numbers there, I don't believe that we      20        Q. Okay. And is -- was the list
   21   have reliable estimates across counties over    21   of variables you would use in your indirect
   22   the entire time period.                         22   model a subject of discussion between
   23       Q. I'm a little confused because            23   yourself and Professor Cutler?
   24   you just said the surgery and trauma            24        A. I can answer that if counsel
   25   figures --                                      25   were present?
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    1            MR. SOBOL: Well, yes or no.             1   variables that were interpolated?
    2       A. Yes.                                      2       A. I do not know the specific
    3   BY MR. ROTH:                                     3   individual. These were constructed by
    4       Q. So if you look --                         4   Compass Lexecon.
    5            MR. SOBOL: You got so used to           5       Q. Did you consider picking a year
    6       just running on that you forgot you          6   where you did not need to do interpolation,
    7       could answer yes or no.                      7   such as the year 2000, as your baseline?
    8   BY MR. ROTH:                                     8       A. No, I did not consider that.
    9       Q. If you look at page 25 of                 9       Q. Are you using interpolated
   10   Exhibit 22.                                     10   values for these variables in your 1997
   11       A. Okay. This is the data                   11   baseline?
   12   appendix?                                       12       A. Yes, I am.
   13       Q. Yes.                                     13       Q. Is it possible the interpolated
   14       A. Yeah. The Table 2?                       14   variables affect the baseline estimated
   15       Q. Yes.                                     15   relationship between the explanatory
   16            So this is a table that                16   variables and shipments per capita per day?
   17   reflects economic and demographic variables     17            MR. SOBOL: Objection to form.
   18   with data sources and years reported.           18       A. These socioeconomic and
   19       A. Uh-huh.                                  19   demographic variables change very slowly, and
   20       Q. And this is the shared                   20   I believe the linear interpolation method is
   21   appendix, but I assume these are the            21   entirely appropriate.
   22   variables we've been discussing that you used   22            I do not believe that they are
   23   in your indirect regression?                    23   likely to cause any impact on my analysis,
   24       A. Yes, they are.                           24   but if any, they would be a source of
   25       Q. Okay. So if you look at                  25   mismeasurement, which would dampen -- which
                                             Page 571                                             Page 573
    1   several of the rows, there's a shaded gray       1   would basically cause noise, but not bias.
    2   bar that says Interpolated.                      2   BY MR. ROTH:
    3            Do you see that?                        3       Q. Have you studied the linear
    4       A. Yes, that's right.                        4   interpolation that was done and how it might
    5       Q. And what does that mean?                  5   impact your analysis?
    6       A. Well, some of the variables               6       A. Well, I'm not exactly sure how
    7   come only from the decennial census, so we       7   one would study such a thing. Again, we
    8   have them for every ten years, so a linear       8   undertake the interpolation because those
    9   interpolation was used between those ten-year    9   data were not captured in those years, so
   10   points.                                         10   there's not a gold standard to compare the
   11       Q. And how do you know it was a             11   linear interpolation to.
   12   linear interpolation?                           12       Q. But what you could do is pick a
   13       A. Well, I should read more                 13   year where no interpolation were needed and
   14   closely. I believe it is a linear               14   compare the results from that year, say 2000,
   15   interpretation, but my memory is not to be      15   against '97 with the interpolation?
   16   trusted.                                        16            MR. SOBOL: Objection.
   17       Q. You know what, you're right.             17       A. Well, as we discussed earlier,
   18   Actually, it says that at the bottom of the     18   my effort was to undertake the
   19   chart. Interpolated values are a linear         19   cross-sectional analysis in a year that was
   20   interpolation between the preceding and         20   unaffected by the alleged misconduct, and
   21   following measured value.                       21   1997, while imperfect, is a bit closer to
   22       A. Someone should do something              22   that.
   23   about that font size.                           23            2000 would be a time period in
   24       Q. Who performed the linear                 24   which the alleged misconduct was well under
   25   interpolation on the census data for the        25   way, so I did not consider such an analysis.
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    1        A. Sure.                                    1       A. There is another one. Let me
    2        Q. And what papers would I read to          2   see if -- I just need to figure out what year
    3   describe how to conduct a proper simulation      3   it was.
    4   in economics?                                    4             Article 34.
    5             MR. SOBOL: This one.                   5       Q. It's helpful that you number
    6        A. Simulations are used in a whole          6   things, by the way.
    7   variety of settings. In general, the             7             So that's State and Federal
    8   cost-effectiveness literature uses simulation    8   approaches to health reform: What works for
    9   as a primary methodology.                        9   the working poor?
   10   BY MR. ROTH:                                    10       A. That's correct.
   11        Q. Okay. As you sit here now, can          11       Q. Okay. Anything beyond those
   12   you think of a specific economics               12   two?
   13   peer-reviewed paper that uses a simulation      13       A. I think that -- well, actually,
   14   approach akin to the approach you take in       14   I mention cost-effective analysis, and the
   15   Section X of your expert report?                15   article 115 is a cost-effectiveness analysis
   16        A. As I sit here, I couldn't come          16   that uses a microsimulation model.
   17   up with a citation for you. My -- my recall     17       Q. Cost-effectiveness of Financial
   18   for article names is not that good, but this    18   Incentives for Patients and Physicians to
   19   is -- this is a pretty common approach,         19   Manage Low-Density Lipoprotein Cholesterol
   20   particularly when it comes to looking at the    20   Levels?
   21   effects of policies, proposed policies.         21       A. That's correct.
   22        Q. Have you published any research         22       Q. Okay. So now we have three.
   23   yourself that utilizes the same type of         23   Any others?
   24   simulation approach that you outlined in        24       A. As far as I know, those are the
   25   Section X of your expert report?                25   relevant articles on my CV. Again, a
                                             Page 623                                             Page 625
    1       A. I have a recent paper that                1   simulation is commonly used as either a whole
    2   simulates a policy proposal that would, in       2   analysis or as part of an analysis.
    3   effect, tax companies that raise their           3   Sometimes researchers will take parameters
    4   prescription drug prices above either the CPI    4   that they estimate and then use them to
    5   or some other particular threshold, so that      5   simulate a policy change.
    6   uses a simulation approach.                      6        Q. And you've said a couple of
    7       Q. And if we look at Attachment A,           7   times now, it's used to simulate a policy
    8   which is your CV, can you show me which paper    8   change.
    9   you're talking about?                            9            Can you explain what you mean
   10       A. Yeah, let me just see. It was            10   by that?
   11   just published this year, but I think it        11        A. Well, in the case of the last
   12   should be on there. Sorry, that's my other      12   article that we just talked about that we
   13   documents.                                      13   undertook a randomized control trial of
   14            It's article 119.                      14   financial incentives for doctors and patients
   15       Q. Article 119. Generic                     15   to control cholesterol better, and we took
   16   prescription drug price increases, which        16   what we learned in that randomized control
   17   products will be affected by proposed           17   trial and said what would happen basically if
   18   anti-gouging legislation?                       18   employers were to adopt this widely or if
   19       A. That's correct.                          19   health insurance companies were to adopt this
   20       Q. Beyond that article in -- 119            20   widely, what would happen to cholesterol
   21   that you just identified, can you think of      21   control and downstream healthcare
   22   any other peer-reviewed publications you've     22   expenditures that would result.
   23   authored that utilize the same type of          23        Q. And to do that, you used a
   24   approach you outline in Section X of your       24   simulation similar to the one you used in
   25   report?                                         25   Section X of your report?

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    1       A. Yes, it's based on the same               1   single methodological paper that would apply
    2   premise. We have some epidemiologic data and     2   here.
    3   then some information about the relevant         3       Q. Okay. So back to
    4   behaviors, and in this case, the treatment       4   paragraph 91 --
    5   patterns for the patients.                       5       A. Okay.
    6       Q. And you call this analysis a              6       Q. -- you say at the end of the
    7   simulation study or is there some other term     7   paragraph: In this section, I use
    8   I should be using?                               8   epidemiological data and a simple simulation
    9       A. I call it a simulation, and as            9   approach.
   10   you can see, I then call it a thought           10            We talked about that.
   11   experiment.                                     11            And then the rest of the
   12       Q. Yeah. And it's simple                    12   sentence says: To approximate the portion of
   13   simulation and a thought experiment, so I       13   the increased prescribing caused by the
   14   wasn't sure which is best. We may use both      14   allegedly unlawful promotion -- I think you
   15   interchangeably, if that's okay.                15   meant "that could possibly be associated."
   16       A. Sure.                                    16       A. Yes.
   17       Q. What is the appropriate                  17       Q. Okay. So when you say
   18   methodology in economics for conducting a       18   promotion that could possibly be associated
   19   simulation study such as the one that you       19   with using opioids, as we discussed, you're
   20   have in paragraph 10 of your report?            20   not a medical doctor, right?
   21       A. Well, again, as I mentioned, a           21       A. That's correct.
   22   simulation generally involves some relevant     22       Q. So you're relying on
   23   population and then some behavioral             23   plaintiffs' medical experts to tell you what
   24   parameters. And, I mean, the context will       24   those parameters should be?
   25   vary.                                           25       A. That's correct, in part, yes.
                                             Page 627                                             Page 629
    1            In other contexts, we're                1       Q. You did not make any
    2   looking at patients and their health             2   independent assumptions about the type of
    3   behaviors. Simulations are frequently done       3   patients that could have benefited medically
    4   around tax policy, so the relevant behaviors     4   from using opioids?
    5   have to do with labor supply, for example.       5            MR. SOBOL: Objection.
    6            And I do call this a simple             6       A. I -- as you can see and will
    7   simulation here because the only parameters      7   note I talk about, I cite to a number of
    8   I'm looking at are treatment patterns.           8   guidelines and articles, and I rely on
    9       Q. If I wanted to find some                  9   plaintiffs' clinical experts to validate my
   10   peer-reviewed treatise or article that told     10   assumptions.
   11   me what the appropriate methodology is for a    11   BY MR. ROTH:
   12   simple simulation such as the one you conduct   12       Q. Right, but since you're not a
   13   in Section X of your report, where would I      13   doctor, when you read the guidelines and
   14   look?                                           14   articles, I take it you took direction from
   15       A. I am not sure that there would           15   either a doctor or from counsel about what to
   16   be a single treatise. I think to the extent     16   take out of those articles?
   17   that there are methodological frameworks, I     17            MR. SOBOL: Objection.
   18   think they're likely context specific.          18       A. Yes, that's correct.
   19       Q. So to figure out what the                19   BY MR. ROTH:
   20   appropriate generally accepted economic         20       Q. Okay. And you don't have any
   21   methodology is for a simulation, I would have   21   medical expertise that you would need to make
   22   to review a bunch of articles that run          22   your own independent assumptions about the
   23   simulations and determine the best approach     23   type of patients that could benefit from
   24   myself?                                         24   using opioids?
   25       A. I don't know if there's a                25       A. I am not a medical expert.

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    1       Q. I want to look at paragraph 94.           1   you made from plaintiffs' experts'
    2   So towards the bottom of that paragraph, you     2   explanation of appropriate uses as opposed to
    3   say: Note that because I am not documenting      3   a factual assessment of which prescriptions
    4   the diagnoses and dosing associated with         4   were medically necessary?
    5   actual uses of opioids, I am not able to         5        A. Yes. I mean, it is based on a
    6   calculate how much of the increased use of       6   set of facts, but it does not compute the
    7   opioids during the period in which the           7   share of prescriptions that were actually
    8   alleged misconduct occurred was in fact for      8   used for these indications.
    9   clinically appropriate indications, dosages      9        Q. So let's look at kind of the
   10   and durations.                                  10   foundational assumptions you've got in
   11            Did I read that correctly?             11   paragraph 92.
   12       A. You did.                                 12        A. Okay.
   13       Q. And that's similar to what we            13        Q. You say first: I conduct a
   14   discussed yesterday. None of your analyses      14   thought experiment that allows me to
   15   attempt to parse out whether the excess MMEs    15   calculate, in scare quotes, upper bound of
   16   you identified were for medically appropriate   16   how much of the growth in MMEs could be
   17   uses?                                           17   attributable to more intensive pain
   18       A. Yes. Again, here I'm trying to           18   management for patient groups that according
   19   calculate this maximum, just say let's just     19   to plaintiffs' experts could have benefit
   20   assume that, in fact, some portion of this      20   from treatment of -- with opioids.
   21   growth is driven by better treating cancer      21            Do you see that?
   22   patients, how much could that possibly be?      22        A. Yes.
   23   But I have not been -- I do not have            23        Q. And then you say: All of the
   24   diagnosis codes that would allow me to          24   underlying assumptions in this section have
   25   precisely capture that in the data.             25   been developed in reference to the opinions
                                             Page 631                                            Page 633
    1        Q. Do you know whether data with            1   of the plaintiffs' clinical experts,
    2   diagnosis codes for Cuyahoga and Summit          2   including Dr. Schumacher and Dr. Parran.
    3   County exists that you could use to do an        3            Do you see that?
    4   actual analysis?                                 4       A. Yes.
    5        A. I don't know about whether data          5       Q. Are there any plaintiffs'
    6   are available for Cuyahoga and Summit            6   clinical experts who you rely on that are not
    7   Counties specifically, no.                       7   Dr. Schumacher and Dr. Parran?
    8        Q. And I read the sentence that I           8       A. Not specifically that I rely
    9   just took from paragraph 94 which you have       9   on, no.
   10   emphasized a few times with italics as a        10       Q. Okay. I just was confused,
   11   limitation on your analysis, correct?           11   because you say including, but you only named
   12        A. It's a kind of a limitation.            12   two of them, so I didn't know if there was
   13   It's just a really important clarification      13   someone else that's missing here.
   14   because I would not want someone reading my     14       A. I understand that there are
   15   report to interpret the numbers that I've       15   other clinical experts. These are the
   16   simulated to be actually representative of      16   clinical experts that I rely on.
   17   how prescriptions were -- you know, according   17       Q. Did you review or rely on
   18   to what diagnoses prescriptions were written.   18   Dr. Ballantyne's report?
   19             So it's not really a                  19       A. I did not, no.
   20   limitation. The purpose of my analysis is to    20       Q. Are you aware that plaintiffs
   21   do something different, but it should not be    21   have withdrawn Dr. Parran's expert report?
   22   interpreted as showing how much was actually    22       A. I was not aware of that, no.
   23   used to address cancer pain.                    23       Q. Do you know which of the
   24        Q. Your simulation is a                    24   assumptions you made based on Dr. Parran's
   25   hypothetical analysis based on assumptions      25   report in this section of yours?

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    1       A. I don't believe any of the                1   or post-herpetic neuralgia, which comprise a
    2   assumptions were solely based on Dr. Parran.     2   small percentage of chronic pain patients and
    3             MR. ROTH: And so the record is         3   for which opioids may be considered a
    4       clear for the reporter, we're actually       4   third-line therapy?
    5       talking about Parran, P-A-R-R-A-N, who       5            Do you see that?
    6       is actually different than Perri,            6       A. I do.
    7       P-E-R-R-I. And Schumacher is                 7       Q. And actually, really, the only
    8       S-C-H-U-M-A-C-H-E-R.                         8   ones you include in your thought experiment
    9   BY MR. ROTH:                                     9   are Romanette (i), which are trauma or
   10       Q. Okay. So based on the opinions           10   postsurgical pain and cancer pain?
   11   of Dr. Schumacher and Dr. Parran, you next      11       A. Yes, just -- I was going to
   12   set forth the assumptions you make about what   12   just clarify. In this section in
   13   could possibly have been an appropriate         13   paragraph 92, I'm summarizing what I
   14   medical use in paragraph 92?                    14   understand the opinions of the clinical
   15             MR. SOBOL: Objection.                 15   experts have put forward in terms of
   16       A. Yes, I put forth those three             16   appropriate uses broadly, and you're correct
   17   categories of conditions that I understand      17   that when I go to implement my analysis, I'm
   18   have clear benefit from opioids.                18   focusing really on section (i), and I try to
   19   BY MR. ROTH:                                    19   explain why.
   20       Q. Okay. So the first category is           20       Q. Okay. And we'll get there.
   21   short-term treatment of severe acute pain,      21       A. Yeah.
   22   e.g., trauma or postsurgical pain,              22       Q. So when you read plaintiffs'
   23   end-of-life pain/hospice care and cancer pain   23   medical experts' reports, what you gleaned
   24   from active malignant disease.                  24   from those reports was that the only
   25       A. That's right.                            25   conditions they believed opioids are
                                            Page 635                                              Page 637
    1       Q. The second category you list              1   indicated properly to treat are those
    2   based on Dr. Parran and Dr. Schumacher is        2   conditions listed in paragraph 92?
    3   actually sort of a noncategory, right?           3            MR. SOBOL: Objection.
    4       A. Yes.                                      4        A. When I read those reports, I
    5       Q. Which --                                  5   gleaned everything that I said in that -- in
    6       A. Again, I'm sorry to interrupt             6   that extremely long sentence, which is a
    7   you. Please finish.                              7   little more nuanced than I think what you
    8       Q. What you say in (ii) is:                  8   just said.
    9   Chronic opioid therapy is not recommended for    9   BY MR. ROTH:
   10   most common chronic pain conditions, defined    10        Q. Do you know whether plaintiffs'
   11   as moderate to severe pain lasting beyond 60    11   medical experts' positions regarding the
   12   to 90 days, including low back pain,            12   proper indication of opioids today were the
   13   centralized pain such as fibromyalgia and       13   prevailing medical guidelines for use of
   14   headache pain.                                  14   opioids from 1995 to the present?
   15            Do you see that?                       15            MR. SOBOL: Objection.
   16       A. I do.                                    16        A. I am probably not the person to
   17       Q. And we'll talk about this in a           17   best characterize that, but I have looked at
   18   minute, but you actually exclude that from      18   some of those guidelines, and I also have
   19   your thought experiment?                        19   read the complaint, and I know that
   20       A. That's correct.                          20   plaintiffs intend to prove that part of the
   21       Q. And then the third category              21   misconduct influenced guidelines that were
   22   which is included is less common chronic pain   22   broader than these opinions.
   23   conditions such as pain from advanced           23            So I believe by extension it
   24   multiple sclerosis, sickle cell disease, pain   24   must be true that there are guidelines from
   25   following spinal cord injury and paraplegia     25   that period that suggest that it is safe to
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    1   use opioids for things like chronic pain.        1   of prescription?
    2   BY MR. ROTH:                                     2            MR. SOBOL: Objection, asked
    3       Q. And you also understand that              3       and answered.
    4   medical guidelines are not static, correct?      4       A. Those clinical standards are
    5       A. I understand that medical                 5   influenced by the misconduct.
    6   guidelines are not static.                       6   BY MR. ROTH:
    7       Q. I mean, as a healthcare                   7       Q. So that goes back to my
    8   economist, I'm sure you've studied lots of       8   question.
    9   drugs where indications and warnings and         9            An underlying assumption of
   10   appropriate uses change over time?              10   Section X, your simulation analysis, is that
   11       A. Well, more specifically, I know          11   plaintiffs can prove that defendants'
   12   in this case that there were updated            12   misconduct influenced the extant clinical
   13   guidelines issued.                              13   standards from 1995 until the present?
   14       Q. But in your thought experiment,          14            MR. SOBOL: Objection, asked
   15   you're imposing plaintiffs' experts' 2019       15       and answered.
   16   framework on opioid use from the entire         16       A. Again, I think that you're --
   17   period from 1995 to the present?                17   you're putting a sort of liability
   18       A. I think you mistake the purpose          18   interpretation on this that -- that -- this
   19   of my thought experiment. It is not to say      19   is not a but-for analysis. You sound like
   20   what would happen if we imposed 2019 beliefs    20   you're describing it as a but-for analysis.
   21   by these clinical experts, but rather to say    21            It's a thought experiment that
   22   in a world in which there was no misconduct,    22   says what if we use opioids to perfectly
   23   to what extent might the appropriate -- sort    23   treat the patients that we know can be safely
   24   of appropriate efforts to address               24   and effectively treated, what would that look
   25   undertreated pain have led to similar           25   like in comparison to the growth that we
                                            Page 639                                              Page 641
    1   patterns.                                        1   actually saw.
    2       Q. So if I understand you then,              2   BY MR. ROTH:
    3   your simulation is predicated on plaintiffs      3       Q. It's a thought experiment that
    4   proving that the existing medical guidelines     4   says if the plaintiffs' experts are right
    5   between 1995 and today were wrong as a result    5   about what opioids can be used for, then this
    6   of defendants' misconduct?                       6   shows how prescriptions compare to what they
    7       A. Well, I think that you're                 7   say opioids should be used for?
    8   giving a legal interpretation to my analysis     8            MR. SOBOL: Objection.
    9   that I'm not really in a good position to        9       A. The thought experiment does
   10   judge.                                          10   depend on the assumptions about which groups
   11            What -- the purpose of my              11   could be appropriately treated. That is
   12   analysis is to examine whether there might      12   correct.
   13   have been legitimate clinical drivers of the    13   BY MR. ROTH:
   14   increase in opioids that could have explained   14       Q. Put another way, your thought
   15   a similar pattern of growth.                    15   experiment does not measure opioid usage
   16            Again, as I understand it,             16   against the existing clinical standards in
   17   defendants in related matters have said, you    17   place at any point in time?
   18   know, physicians began using opioids more       18            MR. SOBOL: Objection.
   19   heavily in the 1990s because of the             19       A. The thought experiment measures
   20   recognition that pain was undertreated, so      20   the level of opioid use that would have
   21   I'm simply examining that premise.              21   occurred -- sort of the highest level of
   22       Q. But if your premise is to try            22   opioid use that would have occurred according
   23   to understand whether there were legitimate     23   to what I believe plaintiffs' experts intend
   24   clinical drivers, why would you not use the     24   to prove is appropriate.
   25   clinical standards in existence at the time     25            It is not based on any

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    1   Professional organizations, states and           1   CDC is saying?
    2   federal agencies, e.g., the American Pain        2            MR. SOBOL: Objection, scope.
    3   Society/American Academy of Pain Medicine,       3        A. I think what the CDC is saying
    4   the Washington Agency Medical Directors Group    4   is that both across professional
    5   and the U.S. Department of Veteran               5   organizations -- I think it's a little
    6   Affairs/Department of Defense have developed     6   broader than the medical community, since
    7   guidelines for opioid prescribing.               7   we're talking about agencies, that guidelines
    8            Do you see that?                        8   vary.
    9        A. I do.                                    9   BY MR. ROTH:
   10        Q. And why do you think the                10        Q. And I assume, based on your
   11   Department of Veteran Affairs and Department    11   testimony throughout the last two days and
   12   of Defense has their own guidelines for         12   this sort of contagion effect that Dr. Perri
   13   opioid prescribing?                             13   coined, your view would be that those medical
   14            MR. SOBOL: Objection, scope.           14   associations are influenced by the effect of
   15        A. Because they provide medical            15   manufacturers' promotion as well?
   16   care or reimburse medical care for active       16        A. I believe that plaintiffs
   17   duty -- what is the general word -- military,   17   specifically point to those influences in the
   18   active duty military as well as veterans.       18   complaint, and so, of course, that is --
   19   BY MR. ROTH:                                    19   between that and Dr. Perri's report is where
   20        Q. And then it says: Existing              20   I get my information. I have not made an
   21   guidelines share some common elements,          21   individual assessment of this.
   22   including dosing thresholds, cautious           22        Q. Again I ask, if promotion is
   23   titration and risk mitigation strategies such   23   this unifying thing that influences all
   24   as using risk assessment tools, treatment       24   physicians equally, why is there a
   25   agreements and urine drug testing. However,     25   variability in the guidelines that
                                             Page 667                                             Page 669
    1   there is considerable variability in the         1   professional organizations come out with for
    2   specific recommendations, e.g., range of         2   the prescription and use of opioids?
    3   dosing thresholds of 90 morphine milligram       3             MR. SOBOL: Objection,
    4   equivalents a day to 200 morphine milligram      4       mischaracterizes prior testimony.
    5   equivalents a day, audience, e.g., primary       5       A. As I noted earlier, promotion
    6   care physicians versus specialists, use of       6   will have effects that are different for
    7   evidence, e.g., systematic review, grading of    7   different physicians, no doubt different
    8   evidence and recommendations and role of         8   professional organizations.
    9   expert opinion, and rigor of methods for         9             Because it has the same
   10   addressing conflict of interest.                10   direction of effect doesn't mean they all
   11            Do you see that?                       11   start in the same place or end in the same
   12       A. I do.                                    12   place, and so guidelines vary across a number
   13       Q. And then it says: Most                   13   of seemingly well-accepted clinical areas.
   14   guidelines, especially those that are not       14   BY MR. ROTH:
   15   based on evidence from scientific studies       15       Q. And the effect that promotion
   16   published in 2010 or later, also do not         16   has, if any, on those guidelines will also
   17   reflect the most recent scientific evidence     17   vary?
   18   about risks related to opioid dosage.           18       A. The effect of promotion on
   19            So not only is there regional          19   those guidelines may also vary.
   20   variation, but actually in the medical          20       Q. And neither your direct nor
   21   community, there's variation in prescribing     21   indirect regression models do anything to
   22   standards for opioids?                          22   measure the effect of medical guidelines on
   23            MR. SOBOL: Objection, scope.           23   the prescription and use of opioids?
   24   BY MR. ROTH:                                    24             MR. SOBOL: Objection, asked
   25       Q. Do you agree that's what the             25       and answered, mischaracterizes prior
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    1       testimony.                                   1   it looks like.
    2       A. The direct model, Model C,                2        Q. Good clarification.
    3   includes events for guideline dissemination,     3             So page 17 is the start of a
    4   and -- and the guidelines are not included in    4   long discussion of 12 bolded points that
    5   the indirect model.                              5   clinicians should consider when prescribing
    6   BY MR. ROTH:                                     6   opioids for chronic pain.
    7       Q. In Model C you've got the five            7             Do you see that?
    8   events -- I don't remember all of them from      8        A. I see -- let's see.
    9   memory. I probably will soon. I think one        9        Q. There are headings in
   10   was the joint consensus statement, which was    10   between --
   11   a guideline; is that right?                     11        A. Yes.
   12       A. Yes, that's correct.                     12        Q. -- so it's hard to track,
   13       Q. Were any of the others                   13   but --
   14   guidelines?                                     14        A. I see 12, yes.
   15       A. The JCAHO standards are similar          15        Q. Okay. And again, this is not
   16   to guidelines in they set expectations for      16   consistent with the view that no patients
   17   hospitals.                                      17   should ever receive opioid for chronic pain;
   18       Q. Okay. And beyond those two, I            18   it just highlights thing clinicians should
   19   don't think the other three events were         19   consider before prescribing opioids for
   20   guideline related.                              20   chronic pain?
   21       A. Federation of State Medical              21             MR. SOBOL: Objection, scope.
   22   Boards, those, I believe, are focused really    22        A. I don't believe anywhere in my
   23   on liability issues.                            23   report I summarize a clinician's opinion that
   24       Q. Did you consider using, for              24   no patients should receive opioids for
   25   example, the CDC guidelines or other            25   chronic pain.
                                             Page 671                                             Page 673
    1   guidelines to test how your model would          1   BY MR. ROTH:
    2   respond in Model C?                              2       Q. I don't want to go through all
    3            MR. SOBOL: Objection.                   3   12, but I do want to ask about a couple.
    4       A. The CDC guidelines come out in            4       A. Okay.
    5   2016, which is at the tail end of my data,       5       Q. So if you look at page 21.
    6   and as we talked about before, it was            6       A. Sure.
    7   apparent to me when I included five events       7       Q. Number 4 in the section Opioid
    8   that simply adding more effects was not going    8   Selection, Dosage, Duration, Follow-Up and
    9   to improve the performance of the model.         9   Discontinuation.
   10   BY MR. ROTH:                                    10            Do you see that?
   11       Q. It wouldn't improve the                  11       A. I do.
   12   performance of the model, but it might show     12       Q. It says: When starting opioid
   13   that the performance of the model didn't        13   therapy for chronic pain, clinicians should
   14   stand up once you added multiple events?        14   prescribe immediate-release opioids instead
   15            MR. SOBOL: Objection, asked            15   of extended-release/long-acting, ER/LA,
   16       and answered.                               16   opioids, recommendation category A, evidence
   17       A. Well, the fact that a model              17   type, 4.
   18   with more events did not look good doesn't      18            Do you see that?
   19   mean the model that I chose with no events      19       A. I do.
   20   was unreliable.                                 20       Q. So the CDC is making some
   21   BY MR. ROTH:                                    21   distinction between immediate-release and
   22       Q. If you look at page 17 of the            22   extended-release long-acting opioids.
   23   CDC guidelines --                               23            Do you agree with that?
   24       A. Incidentally by the way, I               24       A. Yes, this recommendation
   25   didn't try that model, so I don't know what     25   specifically applies to immediate-release

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    1   opioids, yes.                                    1   that the number of MMEs is what is clinically
    2       Q. And your models don't                     2   relevant when it comes to ultimately the
    3   distinguish between immediate-release or         3   harms that Professor Cutler looks at.
    4   extended-release opioids or any other            4            And so I do, in fact, capture
    5   distinguishing characteristics of opioids        5   MMEs in my model.
    6   other than calibrating them based on MMEs?       6        Q. Okay. So we had an extended
    7            MR. SOBOL: Objection.                   7   conversation yesterday about the depreciation
    8       A. In order to accurately capture            8   factor, and you said it was justified because
    9   the impact of the alleged misconduct, I          9   opioids are addictive and patients need to
   10   include all forms of opioids, including         10   titrate up.
   11   short- and long-acting.                         11            Do you remember that?
   12            My model is intended to capture        12        A. Yes.
   13   any spillover effects, and to the extent that   13        Q. How does that assumption hold
   14   marketing of one product affects use of         14   in light of the CDC's clinical guidelines
   15   another, it appropriately captures those        15   suggesting that physicians should maintain
   16   spillover effects.                              16   patients on lower doses?
   17            To the extent that marketing           17            MR. SOBOL: Objection, form.
   18   does not have spillover effects, they won't     18            You can answer.
   19   be detected inappropriately.                    19        A. Are you suggesting that because
   20   BY MR. ROTH:                                    20   the 2016 guidelines warn physicians on not
   21       Q. Number 5 says -- it's on                 21   increasing doses that none of that happened
   22   page 22 -- when opioids are started,            22   during the period of my analysis, 1995 to
   23   clinicians should prescribe the lowest          23   2018?
   24   effective dosage. Clinicians should use         24   BY MR. ROTH:
   25   caution when prescribing opioids of any         25        Q. Well, I'm asking the questions,
                                             Page 675                                            Page 677
    1   dosage, should carefully reassess evidence of    1   but I'm just suggesting that you didn't
    2   individual benefits and risks when               2   account for it in your analysis, including
    3   considering increasing dosage to greater than    3   after 2016 when these guidelines were
    4   or equal to 50 MME per day, and should avoid     4   published.
    5   increasing dosage to greater than or equal to    5            MR. SOBOL: Objection.
    6   90 MME per day, or carefully justify a           6            You can answer.
    7   decision to titrate dosage to greater than or    7       A. I would respectfully disagree
    8   equal to 90 MME per day.                         8   with that characterization. My analysis
    9            Do you see that?                        9   incorporates exactly that, and yesterday we
   10       A. I do.                                    10   had a brief conversation about a chart that
   11       Q. So the CDC seems to be making a          11   shows the increasing MMEs per prescription
   12   distinction in terms of potency with respect    12   that demonstrate that doctors were clearly
   13   to the clinical guidelines.                     13   not following this guideline.
   14            MR. SOBOL: Objection.                  14            This is precisely the concern
   15       A. Okay.                                    15   with the opioid epidemic is that dosing has
   16            MR. SOBOL: Scope.                      16   continued to ramp up, and, you know, whether
   17       A. So they're talking about                 17   or not this guideline has influenced
   18   effective dosing.                               18   physicians to date, there's certainly plenty
   19   BY MR. ROTH:                                    19   of evidence that there were increased dosing
   20       Q. And again, that's not something          20   patterns over time for patients who were on
   21   you control for in your regression models?      21   opioids.
   22       A. That doesn't make any sense as           22            MR. ROTH: Okay. Why don't we
   23   something to control for. Again, I              23       stop for a minute. I don't know if
   24   appropriately used the number of MMEs as the    24       lunch is here, but this would not be a
   25   dependent variable, so that is recognizing      25       bad time to break since it's around

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    1       Q. Okay. So in this analysis, you            1       Acute Pain Management in the Emergency
    2   include all of the IDC-9 trauma codes except     2       Department, was marked for
    3   for the one specified on page D9?                3       identification.)
    4       A. That's correct.                           4   BY MR. ROTH:
    5       Q. And apart from what you told me           5       Q. And this is the white paper you
    6   that the clinicians stated these would not be    6   rely on as support for using 30 milligrams
    7   appropriate uses of opioids, you did not have    7   for three to seven days for trauma patients.
    8   any other basis for excluding them from your     8       A. You've printed it very small,
    9   trauma numbers?                                  9   so --
   10       A. Well, I'm not a clinical                 10       Q. I did not, but someone did, and
   11   expert, but I would say, on the face of it,     11   I apologize.
   12   the notion that opioids would be appropriate    12       A. That's okay.
   13   for adverse effects of medical care or drugs    13       Q. Do we need a magnifying glass?
   14   or poisoning is not something I would expect    14       A. I'm not bothering your glasses.
   15   to be true, but I'm not a clinical expert, so   15   I'm going to hold it two feet in front of me.
   16   I certainly use my judgment as a starting       16       Q. Well, then my next question is
   17   point.                                          17   going to be particularly hard for you to
   18       Q. And certain opioids like                 18   answer.
   19   Suboxone or naloxone might be, but are those    19            MR. SOBOL: Is there a footnote
   20   taken out of this simulation as well?           20       on this?
   21       A. They are not in my analysis.             21   BY MR. ROTH:
   22       Q. Okay. So back to paragraph 98.           22       Q. I was going to ask where you
   23       A. Yeah, way back.                          23   see the 30 milligrams of an immediate-release
   24       Q. So essentially, to measure the           24   opioid such as hydrocodone, because I didn't,
   25   incidence of trauma, you use the data with      25   but you may not be able to see even the text,
                                            Page 703                                             Page 705
    1   the codes removed as specified in                1   so that might be a bigger problem.
    2   Attachment D?                                    2       A. Yeah, I'm -- I believe the
    3        A. That's correct.                          3   guidelines -- some of the guidelines say
    4        Q. And you assume that a hundred            4   start at the lowest possible dose. I'm not
    5   percent of those patients are treated with       5   sure the 30 milligrams is in this guideline.
    6   opioids?                                         6             I believe that they all say use
    7        A. That's correct.                          7   immediate release. Here, the second bullet
    8        Q. And then you assume, according           8   under Upon Discharge From the ED: Emergency
    9   to paragraph 98, that each of these patients     9   medicine clinicians should prescribe only
   10   is treated with 30 MMEs of immediate-release    10   immediate-release formulations at the lowest
   11   opioids for three to seven days?                11   effective dose and for the shortest course,
   12        A. Correct.                                12   generally two to three days' supply.
   13        Q. And for that statement, it              13             I think the CDC guidelines say
   14   looks like you are relying on a white paper     14   three to seven.
   15   from the American Academy of Emergency          15   BY MR. ROTH:
   16   Medicine, and then the CDC guidelines that we   16       Q. And is the 30 also in the CDC
   17   reviewed earlier. Or is it just from the        17   guidelines or is that somewhere else?
   18   AAEM white paper?                               18       A. I don't think it actually is,
   19        A. I think they agree on these             19   and when I referred clinicians to this
   20   points.                                         20   language, around the lowest effective dose, I
   21        Q. Okay. So let's look at the              21   believe that the 30 milligrams comes from
   22   AAEM white paper, which I'll mark as            22   getting a translation from clinical experts
   23   Exhibit 26.                                     23   of what that lowest effective dose is.
   24            (Whereupon, Deposition Exhibit         24       Q. Okay. So that's clear now.
   25        Rosenthal-26, AAEM White Paper on          25             So now as I understand it, your

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    1   assumption for 30 morphine milligram             1        Q. And according to studies
    2   equivalents for trauma patients comes from       2   published around the time of the alleged
    3   Dr. Parran and Dr. Schumacher telling you        3   misconduct, 41% -- sorry. Let me reread
    4   that's what you should use?                      4   that.
    5            MR. SOBOL: Objection.                   5            According to studies published
    6       A. There's some other guidelines             6   around the time the alleged misconduct began,
    7   that we'll get to around surgery that have       7   41% of postsurgical inpatients experienced
    8   some more specific doses, where I had those      8   moderate to severe pain.
    9   numbers to say, you know, should I use one of    9            Did I read that correctly?
   10   these. But they're not in this document.        10        A. Yes, you did.
   11   We'll get to them in the next section.          11        Q. What do you mean by the time
   12   BY MR. ROTH:                                    12   the alleged misconduct began?
   13       Q. So for trauma, your dosage               13        A. Again, where I reference
   14   assumption comes from plaintiffs' experts?      14   literature on undertreatment -- well, it's
   15       A. It is -- yes. The -- the                 15   upset, so now I have to go back. I was
   16   assumption, again, I did -- I used the          16   looking for literature that predated the
   17   guidelines to have that qualitative             17   alleged misconduct, so that -- I just have to
   18   assumption, and I required assistance from      18   see where I first cite the Marks and Sachar
   19   clinical experts to make sure that I            19   paper in that footnote 117. So those are the
   20   understood how to translate that.               20   studies that we talked about at the very
   21            But there were other guidelines        21   beginning of this analysis.
   22   that had some quantitative starting points,     22        Q. Is there any allegation that
   23   but not in these ones.                          23   you're aware of that the alleged misconduct
   24       Q. And when you say clinical                24   influenced the prescribing of opioids for
   25   experts, that's Drs. Schumacher and Parran?     25   surgical patients?
                                             Page 707                                             Page 709
    1       A. That's correct.                           1            MR. SOBOL: Objection.
    2       Q. So for one patient receiving              2       A. I -- as I understand the
    3   treatment for trauma in an emergency room        3   misconduct, the misinformation would affect
    4   setting, you assume 210 MMEs, which is 30        4   the treatment of patients being discharged
    5   times the 7?                                     5   from surgery like any other patients, yes.
    6       A. And which we do without a                 6   BY MR. ROTH:
    7   calculator, yes.                                 7       Q. So in your view, discharging
    8       Q. That's true.                              8   patients from surgery with opioid
    9            And so to calculate the total           9   prescriptions beyond those prescriptions that
   10   number of MMEs for all patients who visited     10   you classify as potentially acceptable would
   11   an emergency room for trauma, you multiplied    11   be something that plaintiffs are trying to
   12   the patients in the data times 210?             12   recover for?
   13       A. The patients in the data times           13            MR. SOBOL: Objection.
   14   210, yes.                                       14       A. Well, it sounds like there's
   15       Q. With the patients in the data            15   both a clinical and nonclinical opinion
   16   being the page D9 description of which          16   there, but again, remember this analysis is
   17   patients you looked at for trauma?              17   not decomposing actual use but trying to
   18       A. That's correct.                          18   build up to a set of uses that according to
   19       Q. Okay. So now let's talk about            19   clinical experts could have reasonably
   20   surgery, which is paragraph 99. So to           20   consumed opioid quantities over this period.
   21   identify patients treated with opioids          21            So again, we're not -- we're
   22   related to surgery, you say the universe is     22   not sort of looking at what was done and
   23   patients who underwent surgery on either an     23   parsing between appropriate and
   24   inpatient or an outpatient basis.               24   inappropriate. Just say, okay, well, there's
   25       A. That's correct.                          25   going to be a set of people with surgery, and
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    1   those people surely will have opioid use for    1       A. That's right.
    2   some period of time. What would it look like    2       Q. And it identifies different
    3   if they all got treated.                        3   types of pain and the recommended treatment
    4   BY MR. ROTH:                                    4   options.
    5        Q. So in paragraph 99, you again           5       A. Yes.
    6   come up with 30 MMEs and seven days for         6       Q. So if you look at page 5,
    7   surgery.                                        7   Appendix A describes the pain score, and it
    8        A. Yes, that's correct.                    8   may or may not have highlighting on it.
    9        Q. So same as trauma?                      9       A. It does. I appreciate the
   10        A. Yes, the guidelines are quite          10   highlighting.
   11   similar.                                       11       Q. Now you can see where we're
   12        Q. And for that conclusion that 30        12   going.
   13   MMEs each day is appropriate, you cite the     13       A. That's great.
   14   MD Anderson Cancer Center Postoperative Pain   14       Q. So if you look at page 5 in
   15   Management Guidelines.                         15   Appendix A, it says no pain is zero, mild is
   16        A. That's right. So that's the --         16   1 to 3, moderate is 4 to 6 and severe is 7 to
   17   the document that I mentioned did have some    17   10.
   18   quantitative benchmarks in it.                 18            Do you see that?
   19            (Whereupon, Deposition Exhibit        19       A. I do.
   20        Rosenthal-27, MD Anderson Cancer          20       Q. And then if you go back to
   21        Center Postoperative Pain Management      21   page 3.
   22        Guidelines, was marked for                22       A. To page 3, okay.
   23        identification.)                          23       Q. So for patients with a pain
   24   BY MR. ROTH:                                   24   score of less than 3 who are not currently
   25        Q. So let me mark as Exhibit 27           25   taking opioids, they recommend using
                                            Page 711                                             Page 713
    1   the MD Anderson Cancer Center Postoperative     1   nonopioids or weak opioids.
    2   Pain Management Guidelines.                     2            Do you see that?
    3            And is this the document you           3       A. Yes.
    4   were citing in your report?                     4       Q. And then for opioid treatment
    5       A. It is.                                   5   they refer to Appendix E, which is page 10,
    6       Q. So it looks like this was                6   which we'll talk about in a minute.
    7   approved, if you look at the bottom of the      7       A. Okay.
    8   page, on October 30th, 2018.                    8       Q. Correct?
    9       A. Yes, that's correct.                     9       A. Yep.
   10       Q. And are you aware that the              10       Q. For patients with a pain score
   11   algorithm used by MD Anderson to evaluate      11   less than 3 who are currently taking opioids,
   12   doses of pain management is what was used to   12   MD Anderson recommends continuing the use of
   13   come up with the dosage number? Strike that.   13   opioids and again refers to Appendix E.
   14   That's not a good question. Let's just turn    14       A. Yes.
   15   to page 3.                                     15       Q. For patients with a pain score
   16       A. Okay. At some point, I would            16   greater to or equal than 4 and who are not
   17   direct you to page 10, but we can go to        17   taking opioids, MD Anderson recommends
   18   page 3 first.                                  18   short-acting opioids.
   19       Q. Okay. We will get to page 10,           19            Do you see that?
   20   I promise. It's in here.                       20       A. I do.
   21       A. Okay. Good.                             21       Q. And again refers to Appendix E,
   22       Q. So it looks like they have sort         22   correct?
   23   of like a decision tree flow as to how         23       A. Yes.
   24   they're going to come up with dosing for       24       Q. And then for patients with a
   25   surgical patients, based on pain score.        25   pain score greater than or equal to 4 who are

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    1   currently taking -- who are not currently        1        Q. It's the average.
    2   taking opioids, MD Anderson recommends           2        A. It's the midpoint, it's the
    3   short-acting opioids -- we just did that one.    3   average. Yes.
    4   Okay. Strike that. I'm getting tired.            4        Q. But then if you look at
    5            For patients with a pain score          5   morphine, which is on the next page, that's
    6   greater than or equal to 4 who are currently     6   also a short-acting opioid?
    7   taking opioids, MD Anderson recommends           7        A. Yes.
    8   increasing the scheduled opioid dose.            8        Q. And it's 5 to 10 milligrams
    9       A. Yes.                                      9   every four hours, which by math would get you
   10       Q. All right. So now let's go to            10   30 to 60.
   11   Appendix E on page 10. And we've                11        A. Yes.
   12   conveniently highlighted this for you.          12        Q. So I guess what I'm trying to
   13            So if you look at                      13   understand is how you get to 30 when one
   14   hydrocodone --                                  14   range is 20 to 40 and the other range is
   15       A. Yes.                                     15   all -- is 30 to 60.
   16       Q. -- it recommends 30 milligrams           16        A. Sure. Again, that's why --
   17   a day, right, 5 to 10 milligrams every six      17   because the guidelines don't give one number,
   18   hours?                                          18   I referred this question to the clinical
   19       A. Yes. So 5 would be 20, right?            19   experts through counsel, and -- and was
   20       Q. Sorry, let me back up the                20   advised to focus on hydrocodone and was told
   21   truck. Okay. This is wrong.                     21   that 30 milligrams was a reasonable baseline.
   22       A. Yes.                                     22             Again, assuming that there's
   23       Q. So first we need to look at              23   some patients who will only get 20, some
   24   codeine, which is on the top of the page. So    24   patients who will get more.
   25   for codeine, it recommends 30 to                25        Q. So again, like with trauma for
                                             Page 715                                            Page 717
    1   60 milligrams.                                   1   surgical pain, your decision to take 30
    2            Do you see that?                        2   morphine milligram equivalents per day was
    3       A. Yes. I did not consider                   3   driven by plaintiffs' experts' advice?
    4   codeine in the simulation per se, but go         4        A. And it's grounded in these
    5   ahead.                                           5   guidelines. And again, while the other
    6       Q. Okay. And now if we look at               6   guidelines that we looked at are qualitative
    7   hydrocodone, it says for short-acting            7   in nature, as I understand the notion of
    8   opioids, it's 5 to 10 milligrams every six       8   starting with the lowest dose, that seems
    9   hours.                                           9   quite consistent with choosing 30.
   10       A. Correct.                                 10        Q. And so like with trauma, 30
   11       Q. Which if we do the math on that          11   times seven is 210, and then you multiply 210
   12   would be between 20 to 40 a day.                12   for surgery with the number of surgical
   13       A. Yes. And 30 is right in the              13   patients in the data?
   14   middle.                                         14        A. That's correct.
   15       Q. Okay. And for long-acting                15        Q. And then we should maybe just
   16   opioids, 20 milligrams a day of Hysingla or     16   close the loop on this. So if we go back to
   17   10 milligrams every ten hours.                  17   the Attachment D.
   18       A. I think in the flowchart we              18        A. Sure.
   19   just looked at -- and again, according to       19        Q. Just to understand what data
   20   clinical experts in this case, long-acting      20   you're looking at for surgery.
   21   opioids are not recommended.                    21        A. Yeah.
   22       Q. Right. So it's 20 to 40 for              22        Q. So it looks like page D10.
   23   immediate-release hydrocodone?                  23        A. Oh, you're in -- it's page D14.
   24       A. That's right, and 30 is in the           24   I think we're on the same page. Aren't we?
   25   middle of that.                                 25        Q. Page D10 talks about surgery.
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     1       A. Oh.                                         1   clinically justifiable with the 50% increase?
     2       Q. Page D14 is surgery in Cuyahoga             2        A. Yes.
     3   and Summit.                                        3        Q. And that's actually higher than
     4       A. I see. I was ahead of you.                  4   the actual MMEs sold in that year?
     5   We'll get to that, I'm sure.                       5        A. That's correct. So that first
     6       Q. Yes.                                        6   number should be a negative.
     7       A. Yes. Yes. So Table D(b),                    7        Q. The first number should be a
     8   which is also terrible labeling.                   8   negative? I'm not sure I follow.
     9       Q. Yes, so Table D(b) explains how             9        A. Well, of the total plus 50%, I
    10   you identified surgical procedures, and it        10   guess the first -- the percentage there is of
    11   says they're identified from the Area Health      11   the -- of the unadjusted one, so it's
    12   Resource File and the Health Resources &          12   correct, but --
    13   Services Administration data.                     13        Q. Yeah, it's correct. And
    14            Do you see that?                         14   what --
    15       A. Yes, that's correct.                       15        A. It actually would be negative
    16       Q. But then data was only                     16   if you did the plus 50%.
    17   available for 2005, 2010 and 2014?                17        Q. Right. Okay. Thank you for
    18       A. That's correct.                            18   that clarification.
    19       Q. And so you had to linearly                 19        A. It shows up in the chart more
    20   interpolate all the other values.                 20   clearly.
    21       A. Yes, and as you can see, they              21        Q. And actually, if we just look
    22   barely change.                                    22   at '95 alone, even under your methodology,
    23       Q. But in any event, you only had             23   75% of the actual MMEs sold -- or nearly 75%,
    24   data for three years, and so the rest of it       24   would be potentially clinically justifiable?
    25   was interpolated with the data that you had?      25        A. Could have been accounted for
                                               Page 719                                                     Page 721
     1       A. I did interpolate.                          1   justifiable use by -- by justifiable uses,
     2       Q. Okay. And so if you go back to              2   right? So again, just to be clear that I'm
     3   the body of your report, Table 6, which is at      3   not saying that 75% of actual uses were --
     4   page 70, essentially presents the math             4   were delivered in that way, but they could
     5   exercise we've been talking about, correct?        5   have been.
     6       A. That's correct.                             6            The level of use was reasonably
     7       Q. It has kind of the cancer,                  7   explained by this measure of need, if you
     8   trauma and surgical MMEs by year from 1995 to      8   would allow me to use that shorthand.
     9   2018 based on the inputs and assumptions           9        Q. And so if you use your
    10   we've been discussing.                            10   potentially justifiable use methodology,
    11       A. Yes.                                       11   including your 50% sensitivity analysis, it's
    12       Q. And so according to Table 6,               12   not until 1997 that you start seeing more
    13   just looking at 1995, for example, there were     13   than a small departure from the actual MMEs
    14                     MMEs potentially clinically     14   sold?
    15   justifiable?                                      15        A. Right. So in 1997, the actual
    16       A. Yes.                                       16   is about       higher than the -- those
    17       Q. And then the next column is                17   justified by need.
    18   your sensitivity where you just multiply that     18        Q. And then where is this actual
    19   number by 50%?                                    19   MMEs sold number coming from? The IQVIA data
    20       A. Correct.                                   20   it looks like? It says: Actual MMEs
    21       Q. And so for 1995, your                      21   nationally from IQVIA, NPA, ARCOS, CDC.
    22   sensitivity shows           -- sorry,             22            (Clarification requested by the
    23                -- start over.                       23   reporter.)
    24            For 1995, your sensitivity               24            MR. ROTH: Okay. Sorry.
    25   shows                     MMEs were potentially   25   BY MR. ROTH:

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     1   promotion of prescription opioids since 1995     1   prescriber?
     2   was a substantial contributing factor to the     2            MR. SOBOL: Objection, asked
     3   increase in the use of prescription opioids      3        and answered.
     4   in the bellwether communities.                   4        A. I think what you're suggesting
     5            Did I read that correctly?              5   is that detailing may involve an interaction
     6       A. You did.                                  6   with someone else in the office? Is that
     7       Q. And that is based largely on              7   what you're referring to?
     8   the econometric models?                          8            And, yes, as I understand the
     9       A. It's based on all the                     9   matter at hand, that the entire promotional
    10   foregoing.                                      10   enterprise is what is at issue here, and so I
    11       Q. Okay. And I noticed the way              11   have appropriately captured all detailing in
    12   you worded that sentence was that the           12   my econometric model.
    13   promotion was a substantial contributing        13   BY MR. ROTH:
    14   factor; is that right?                          14        Q. Your analysis includes all
    15       A. That's right.                            15   promotion by defendants even if that
    16       Q. Not that the unlawful promotion          16   promotion did not result in any change in the
    17   was a substantial contributing factor,          17   prescriber's behavior after they were
    18   because as we've discussed, you have no         18   detailed?
    19   opinion on whether defendants' promotion was    19        A. Well --
    20   unlawful or not; you're relying on counsel's    20            MR. SOBOL: Objection.
    21   assumption.                                     21        A. -- actually, I would
    22            MR. SOBOL: Objection, asked            22   respectfully disagree with that. My analysis
    23       and answered.                               23   only attributes impact where promotion
    24       A. Again, I -- perhaps I should             24   resulted in an increase in sales.
    25   have repeated the unlawful promotion, if        25            ///
                                             Page 735                                              Page 737
     1   proven. So as you say, I demonstrate that        1   BY MR. ROTH:
     2   promotion caused sales, and I assume that        2        Q. But you include in your
     3   plaintiffs will prove that all promotion was     3   analysis details that may have had no effect
     4   unlawful.                                        4   on the particular prescriber's behavior?
     5            MR. SOBOL: By the defendants.           5            MR. SOBOL: Objection, asked
     6        A. All promotion by the defendants          6        and answered.
     7   was unlawful.                                    7        A. And if that is the case, then
     8   BY MR. ROTH:                                     8   it reduces the incremental effectiveness of
     9        Q. And because you assumed that             9   promotion that I observe, and therefore, the
    10   all promotion by the defendants was unlawful,   10   calculated impact. The possibility that some
    11   that assumption would include promotion even    11   details did not produce change is
    12   if a sales representative only dropped off      12   incorporated into the estimates.
    13   peer-reviewed literature at a doctor's          13   BY MR. ROTH:
    14   office?                                         14        Q. You include in your analysis
    15            MR. SOBOL: Objection, asked            15   detailing where the prescriber's rate of
    16        and answered.                              16   prescription may have actually decreased
    17        A. My analysis includes all                17   after the detail?
    18   promotion by defendants. When I calculate       18            MR. SOBOL: Objection, asked
    19   the but-for scenario, I remove that             19        and answered.
    20   regardless if some of that promotion used       20        A. My analysis will incorporate
    21   materials that were FDA approved.               21   the effects, negative or positive. Obviously
    22   BY MR. ROTH:                                    22   on average they're positive. If there are
    23        Q. Your analysis also includes             23   some negative changes after a detail for some
    24   promotion by defendants even if the sales       24   reason, those again will reduce the measure
    25   representative had no interaction with the      25   of impact.
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     1   BY MR. ROTH:                                     1   the alleged misconduct. Regardless of how
     2       Q. You include in your analysis              2   those opioid prescriptions were used in
     3   detailing even if the prescriber never           3   practice, as I understand, is appropriate to
     4   prescribed the medicine he or she was            4   my assignment.
     5   detailed on?                                     5       Q. Stated differently, your
     6             MR. SOBOL: Objection.                  6   analysis includes any detailing in the data
     7       A. Yes. Again, just like the --              7   regardless of to whom it was -- let me start
     8   any detailing that has no effect or a lower      8   over.
     9   effect, I guess that would be a version of no    9            Stated differently, your
    10   effect, if the individual detailed never        10   analysis -- can we just get a clean question
    11   prescribed. And again, that will reduce the     11   and answer. Say something.
    12   impact of detailing in my model.                12       A. Yes. What was the question? I
    13   BY MR. ROTH:                                    13   don't know what the question is.
    14       Q. You include in your analysis             14       Q. Stated differently, your
    15   detailing to prescribers who were already the   15   analysis includes any detail in the data,
    16   lead authors of journal articles on the         16   regardless of who was detailed, what was said
    17   addiction risk of opioids at the time they      17   or what behavior changed or did not after the
    18   were detailed?                                  18   detail?
    19             MR. SOBOL: Objection.                 19       A. So my analysis is consistent
    20       A. If there is such detailing in            20   with my assignment in that I examine and
    21   my data, again, my estimates will               21   quantify the aggregate market expansion that
    22   appropriately reflect a reduced effectiveness   22   occurred as a result of defendants' promotion
    23   of promotion for those details.                 23   during the period from 1995 to the end of my
    24   BY MR. ROTH:                                    24   data in 2018. I do not disentangle the types
    25       Q. Your analysis includes                   25   of detailing; however, to the extent there
                                              Page 739                                            Page 741
     1   detailing to oncologists prescribing for         1   are differential effects of detailing across
     2   end-of-life cancer pain?                         2   groups, those will be incorporated into the
     3       A. Again, to the extent that my              3   estimates.
     4   analysis does not grow the size -- sorry, to     4             MR. ROTH: Our time may be
     5   the extent that promotion does not grow the      5        done. Let's take a quick break. And
     6   size of the market by expanding the use of       6        I may have more questions or someone
     7   opioids, detailing, for example, to              7        else may.
     8   oncologists who may already have been            8             THE WITNESS: Okay.
     9   prescribing opioids will not result in           9             THE VIDEOGRAPHER: The time is
    10   impact.                                         10        1:35 p.m. We're now off the record.
    11       Q. Your analysis includes                   11             (Recess taken, 1:35 p.m. to
    12   detailing to prescribers who are hospice        12        1:51 p.m.)
    13   specialists for end-of-life pain.               13             THE VIDEOGRAPHER: The time is
    14       A. To the extent that there is              14        1:51 p.m. We're back on the record.
    15   detailing to hospice providers in my data and   15   BY MR. ROTH:
    16   those uses would have occurred regardless of    16        Q. Professor Rosenthal, in Table 2
    17   the promotion, my analysis will appropriately   17   you calculate the total percent of MMEs
    18   capture those effects.                          18   attributable to defendants' promotion to be
    19       Q. Your analysis includes                   19           of MMEs; is that right?
    20   detailing to prescribers who may be             20        A. That's right.
    21   performing surgery or trauma intervention in    21        Q. To what do we owe the other
    22   the emergency room?                             22           of MMEs?
    23       A. Again, to the extent that                23        A. The other -- excuse me
    24   those -- my analysis will calculate the uses    24   percent of MMEs are owed to the promotion
    25   that occurred in this market as a result of     25   that is not excluded in the but-for scenario,
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     1   so again, because I start my data as early as       1   similar kinds of diagrams.
     2   I can in '93, there's a stock of promotion          2       Q. And if we look at your diagram,
     3   that builds up, and then there's                    3   you have the ecosystem of promotion in all of
     4   non-defendant promotion. So all those things        4   the lines between the various constituencies,
     5   are left in the model.                              5   and in the box in the middle, there's
     6       Q. So it's promotion prior to '95               6   detailing, professional journals, samples,
     7   by anyone and non-defendant promotion               7   and meetings and events.
     8   thereafter?                                         8            Do you see that?
     9       A. That's correct.                              9       A. Yes.
    10       Q. And that explains             of the        10       Q. And as we discussed, your model
    11   MMEs with the remainder being explained by         11   only accounts for detailing promotion, not
    12   defendants' promotion from 1995 to 2018?           12   for any of the other items in the box or any
    13       A. That's generally correct. You               13   of the other boxes on Figure 1?
    14   know, there's a constant in the model, which       14            MR. SOBOL: Objection,
    15   I think we could go to Table 1 and in              15       mischaracterizes the testimony, asked
    16   Model B, so there's a baseline level of            16       and answered.
    17                 MMEs.                                17       A. The direct model includes the
    18        Q. Okay.                                      18   measure of detailing only. The indirect
    19        A. So that's in there as well.                19   model is intended to capture all of these
    20        Q. And then the same question for             20   kinds of marketing tools.
    21   the indirect model, you calculate        of MMEs   21   BY MR. ROTH:
    22   due to excess shipments, so is it fair to say      22       Q. And then Table 3, which we've
    23   based on your approach that the other         is   23   been round and around on, to the extent that
    24   due to the demographic and socioeconomic and       24   you used Table 3 to assess the delta between
    25   other factors you model for?                       25   a defendant's promotion percentage and the
                                                Page 743                                              Page 745
     1            MR. SOBOL: Objection.                      1   baseline percentage, that delta is capturing
     2       A. That would be due to the                     2   how that defendant's promotion relates to the
     3   changes in all of those factors. Again,             3   aggregate average; is that right?
     4   price actually has a negative effect, but the       4              MR. SOBOL: Objection, asked
     5   trend which is intended to proxy for                5        and answered.
     6   non-defendant promotion and those other             6        A. As we discussed earlier, I
     7   demographic, socioeconomic and healthcare           7   don't use the table in that way. I'm using
     8   variables.                                          8   it to narrow the aggregate by excluding
     9   BY MR. ROTH:                                        9   individual defendants.
    10       Q. Okay. And then if you look                  10              And when I do that, for
    11   back at page 19 of your report, Figure 1.          11   example, to exclude Aventis, just as an
    12       A. Sorry, excuse me. I should                  12   alphabetically first choice, I am excluding
    13   just say again, in the indirect model as in        13   ultimately the effect that I observe in the
    14   the direct model there's also a baseline,          14   econometric model of Aventis' marketing,
    15   right, so we're projecting growth from '95         15   whether that generates sales for its product
    16   forward. So there's a baseline level.              16   or someone else's product.
    17       Q. Got it.                                     17              MR. ROTH: Okay. I think with
    18            So if you look on Figure 1 on             18        that I am done for the time being.
    19   page 19, we haven't actually talked about          19        It's been a pleasure. I believe
    20   this diagram yet.                                  20        Mr. Metz has some questions, so I will
    21       A. Okay. Page 19. Yes.                         21        be passing the microphone to him. And
    22       Q. And is this a diagram you've                22        I can't promise I won't come back,
    23   used in other expert reports before?               23        depending on what else happens, but
    24       A. I tailored this one                         24        thank you so much.
    25   specifically for this report, but I have used      25              THE WITNESS: Okay. Thank you.
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                                                                              Review
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     1            THE VIDEOGRAPHER: The time is           1       A. In this paragraph in
     2       1:56 p.m. We're now off record.              2   particular, I'm talking about the defendants
     3            (Recess taken, 1:56 p.m. to             3   who have detailing that I'm measuring in my
     4       1:58 p.m.)                                   4   data, so those would be the marketing
     5            THE VIDEOGRAPHER: The time is           5   defendants.
     6       1:58 p.m. We're back on the record.          6   BY MR. METZ:
     7              EXAMINATION                           7       Q. Okay. And by marketing
     8   BY MR. METZ:                                     8   defendants, you're not including any of the
     9       Q. Good afternoon, Professor                 9   distributor defendants, correct?
    10   Rosenthal.                                      10       A. I don't believe that they have
    11       A. Good afternoon.                          11   marketing data in my data, so there may be
    12       Q. My name is Carl Metz. I                  12   places in my report where I refer to
    13   represent Cardinal Health, which is one of      13   defendants where it's appropriate to talk
    14   the distributor defendants in this case.        14   about them more generally, for example, when
    15       A. I apologize for forgetting the           15   I'm summarizing the complaint, but here I
    16   name of your employer as it were.               16   intend to describe the defendants who have
    17       Q. That's all right. You're                 17   detailing that is measured in the IQVIA data.
    18   referring to testimony yesterday where you      18       Q. Okay. So just to be clear,
    19   were asked about the distributor defendants,    19   not -- as you believe it, not -- that does
    20   you named two companies, and the third name,    20   not include the distributor defendants,
    21   Cardinal, eluded you. Yes?                      21   correct?
    22       A. Exactly, yes.                            22            MR. SOBOL: Objection, asked
    23       Q. Okay. At various places in               23       and answered.
    24   your report, you refer to marketing             24       A. I believe that is true.
    25   defendants, correct?                            25            ///
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     1       A. Yes, I do.                                1   BY MR. METZ:
     2       Q. And then in other places, and             2        Q. Okay. And it also does not
     3   I'm sure this is not by design, you refer to     3   include the pharmacy defendants, correct?
     4   the word "defendants" without                    4             MR. SOBOL: Objection, asked
     5   differentiation.                                 5        and answered.
     6           MR. SOBOL: Objection to the              6        A. Yes, that is correct.
     7       form.                                        7   BY MR. METZ:
     8           You can answer.                          8        Q. So we take another example,
     9       A. Yes, I believe I use that term.           9   paragraph 78, where you say, quote: An
    10   We could look to see how I use it.              10   alternative method of identifying the impact
    11   BY MR. METZ:                                    11   of the defendants', possessive, misconduct,
    12       Q. For example, in paragraph 64,            12   is to use an indirect method.
    13   which you're welcome to look at, and I'll       13             Do you see that?
    14   quote this just partially. You say, quote:      14        A. Yes.
    15   A causal relationship between the               15        Q. And there again, you're using
    16   defendants', possessive, promotion and          16   the term "defendants," but how we should
    17   prescriptions of opioids.                       17   understand that is the marketing defendants,
    18           Do you see that?                        18   correct?
    19       A. Yes.                                     19        A. Well, the -- in -- excuse me,
    20       Q. And do I understand based on             20   the indirect approach -- it is getting to be
    21   your testimony over the last two days that      21   late -- is, as you know, a residual approach,
    22   despite using the singular term "defendants,"   22   so it inherently is looking at all of these
    23   we should not read that as referring to all     23   demographic, socioeconomic and healthcare
    24   defendants, correct?                            24   factors that could have driven higher opioid
    25           MR. SOBOL: Objection.                   25   use and attributes that which is left to the
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